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Attorney for Plaintiffs Laura A. Gaddy,
Lyle D. Small and Leanne R. Harris


                            UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH


     LAURA A. GADDY, LYLE D. SMALL                      SECOND AMENDED CLASS
     and LEANNE R. HARRIS, individually                   ACTION COMPLAINT
     and on behalf of all others similarly situated,
                                                        (DEMAND FOR JURY TRIAL)
           Plaintiffs,
               v.                                      Case Number: 2:19-cv-00554-RJS-DBP

     CORPORATION of THE PRESIDENT      Chief Judge: Robert J. Shelby
     OF THE CHURCH OF JESUS CHRIST
     OF LATTER-DAY SAINTS, a Utah
                                     Chief Magistrate Judge: Dustin B. Pead
     corporation sole, and DOES 1-50

          Defendant.


                                       I NATURE OF THE CASE

1.     Plaintiffs LAURA GADDY (“GADDY”), LYLE SMALL (“SMALL”) and LEANNE

HARRIS (“HARRIS”), bring this case on behalf of hundreds of thousands of Mormons who

have resigned from the Mormon aka “LDS” Church, against [the] Corporation of the President

of the Church of Jesus Christ of Latter-day Saints (“COP”). The Church of Jesus Christ of

Latter-day Saints™ (“COJCOLDS”), is a COP-owned a trademark. 1


1
  According to some, the Book of Mormon was so named because its founder Joseph Smith, Jr.,
(“Smith”) created it as one of his schemes in a life-long series of confidence games. He had
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2.      The case does not require the adjudication of the truth or falsity of religious beliefs.

Neither does it challenge normative statements by Defendant and/or its agents.

3.      The case concerns COP’s half-century long scheme whereby it concealed seer stones,

artifacts, original manuscripts, documents, and other information that a reasonable person would

consider material to Mormon origins, and to the character of Mormonism’s founder, Joseph

Smith, from at least 1961 onward, during the lives of Plaintiffs and all potential class members,

while requiring 10% of their income, ostensibly used for religious purposes, but also used to

expand the commercial holdings of the Mormon Corporate Empire (“MCE”).

4. The COP through its agents, the Brethren, conceived and carried out this scheme while

preaching to its followers principles of honesty, including full disclosure, and individual free

agency, as important religious principles that all LDS should live by and that are unique to the

purportedly divine authority of the COJCOLDS. 2 Furthermore, despite perjured testimony

offered by LDS leaders with regard to secretly entering into and performing polygamous

marriages that occurred post 1890 Manifesto during Senate confirmation hearings in the early




hoped the Book of Mormon would bring him “MORe-MONey,” though prior Mormon leaders
claimed the word means “more good.” Despite the 2011-2013 “I’m a Mormon” advertisement
campaign, in 2019 LDS President Russell M. Nelson announced it was no longer acceptable to refer to
the Church as “Mormon,” its members as Mormons or LDS; the preferred term is now the Church of
Jesus Christ of Latter-day Saints. Since then, COP has changed its official domain and other identifiers to
comply with Nelson’s mandate. For brevity, this complaint will ordinarily use LDS, or COJCOLDS but
will use Mormon and/or Mormonism at times, especially when referencing 19th Century Mormon
historical events. It has been reported that since this lawsuit was filed in August 2019, the Corporation of
the Presiding Bishopric (CPB) an asset owning subsidiary of the COP, changed its name to the Church of
Jesus Christ of Latter-day Saints and subsequently the COP merged with the COJCOLDS.
2
  The Brethren are the president/prophet and his two counselors (combined, they are the First Presidency)
and the Quorum of the Twelve Apostles (Q12) are the fifteen men who have final decision making power
over all official doctrine, including the history of the Church, which is published and promulgated to the
members and potential members of the COJCOLDS. Official doctrine is known as correlated material.
                                                     2
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20th Century, since the mid-20th Century Defendant has publicly disavowed a sincerely held

religious exercise of “Lying for the Lord.”

5.      Furthermore, after instituting a program of correlation whereby all written, spoken, and

artistic expressions in paintings, photos and film had to be approved by top LDS leaders,

Defendant’s commissioned and widely promulgated artwork was used as propaganda to induce

commitment to the LDS Church.

6.      It also knowingly and willfully concealed the existence of seer stones used by Smith to

attempt to seek buried treasure, and from which he dictated the Book of Mormon manuscript,

original manuscripts demonstrating Smith’s ignorance of Egyptian hieratics, primary source

journals and affidavits of women documenting Smith’s 19th Century adultery, that was

characterized as polygamy years later, a printing plate that exposes the abject fraud of the Book

of Abraham facsimile No. 3, and other documents, affidavits and statements, artifacts, and other

important information (hereinafter “material objects and information”) in open behavioral

contradiction to the Church’s doctrinal beliefs on the subjects of honesty, full disclosure, and free

agency, thus demonstrating the Church did not have a sincere religious belief in censorship. 3

7.      Propaganda used to baptize adult members through proselytizing or to induce children of

parent members who were baptized at age eight, based on an historical narrative that ignored

unfavorable material objects and information that Defendant had concealed, continued to be

taught in order to elicit tithing donations to expand its commercial empire, without disclosing

that a substantial portion of the tithing, upon information and belief as much as 15-20%, was


3
  In the June 2009 issue of Defendant’s Ensign magazine, it was explained that the word “moral” has
recently been substituted for “free” used in conjunction with the word “agency,” in correlated materials.
While free agency means free to choose and act, moral agency stresses accountability for one’s actions.
                                                     3
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used for commercial purposes. It repeatedly listed only ecclesiastical uses as those that the

tithing was used for. In do so, it lead members to assume that COJCOLDS’ commercial ventures

were financed with profit from the Church’s taxable business enterprises and that such profits

were maintained separately from tithing receipts.

8.     We now know, based on admissions in another U.S. federal court case against COP, that

Defendant corporation has in fact used at least interest (if not principal) on tithing donations to

fund commercial ventures since the early days of Mormonism. Upon information and belief,

tithing was used not merely to invest, but to purchase, develop and manage ongoing businesses

in many states and foreign countries: including over one million acres in the continental U.S. and

Hawaii upon which it runs farms, ranches, orchards, and hunting preserves. It also owns

farmland in Australia, the U.K., Brazil, Canada, Argentina, and Mexico. A 290,000-acre Deseret

Ranch in Florida keeps 44,000 cows and 1,300 bulls. COP’s entire cattle operation includes calf-

cow ranches in the U.S. and Canada, as well as stocker operations in Oklahoma and Texas and a

feedlot in southwest Kansas. Its main operation is the Deseret Ranch of Florida east of Orlando.

It also includes 1,700 acres of citrus trees, as well as timber, sod, and a fossilized-seashell

business. COP’s Hawaii Reserves, runs a water management company, sewage treatment works,

and two cemeteries. Besides owning many residential and commercial properties in Utah cities,

the Church owns multifamily residential units in most major cities in the United States. The

combined value of its real estate and security investment holdings are estimated to be over $417

Billion, more than double the value of any company on the 2020 Forbes Global 2000 list of

wealthiest publicly traded companies.




                                                  4
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        TABLE OF SOME OF DEFENDANT’S REAL ESTATE DEALS SINCE 2014
     DATE       LOCATION              DETAILS                   PRICE/PROFIT       COMMENTS
 Announced      Church College of     The Church has torn       According to       Defendant is
 in September   New Zealand (CCNZ)    down the prior            an individual      repurposing this
 2020,          was a                 church college. Now,      who filed a        land for
 ongoing        private secondary     in conjunction with       complaint with     exclusively
 development.   school in Temple      NZ residential            the New            commercial use
                View, Hamilton, New   construction              Zealand            that was
                Zealand               developer Cambridge       Human Rights       previously used
                                      Homes it is building      Tribunal to be     for religious
                                      residential spec          heard on July      purposes. A
                                      homes for sale.           2022, “[The        church school was
                                      According to one NZ       church is]         demolished and
                                      resident, the [initial]   converting tax     now the land is
                                      “planned new              free tithing       being sold for new
                                      subdivision didn’t        funds from the     spec homes.
                                      come to fruition.”        USA into
                                                                international
                                                                income
                                                                producing
                                                                assets. Empty
                                                                chapels and
                                                                schools are
                                                                demolished
                                                                and the land is
                                                                sold for
                                                                millions in
                                                                profits. [There
                                                                is] zero basis
                                                                in the land
                                                                because it was
                                                                paid for with
                                                                tithing funds in
                                                                1950's and
                                                                appreciated in
                                                                value for 70
                                                                years.”
 2021           Maui, Hawaii          COP’S Property            Nearly $100        Hawaii Reserves,
                                      Reserve bought a          million,           a COP property
                                      Marriott Residence        according to       manager, also
                                      Inn located on the        Pacific            owns the Laie
                                      island of Maui.           Business News.     Courtyard by
                                      Neither of the 2 LDS                         Marriott near the
                                      Hawaiian temples are                         Polynesian
                                      located on Maui.                             Cultural Center



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    DATE             LOCATION                  DETAILS           PRICE/PROFIT          COMMENTS
 2021          Eastern WA state        The Salt Lake             $209 million       The Tribune noted
               farmland. Easterday     Tribune reports that                         that Defendant’s
               ranch properties        LDS-owned                                    vast holdings
               (farmland) in eastern   “Farmland Reserve’s                          “include more than
               Washington State.       AgriNorthwest                                600,000 acres in
                                       outbid a Bill Gates                          Florida, or about
                                       company “12,000                              2% of [its] overall
                                       productive acres                             landmass.”
                                       (potatoes, onions, and
                                       cattle herding)”
                                       including water rights
                                       to the church’s vast
                                       landholdings.
 June, 2020,   Lee's Summit,           Lee's Summit and          Upon               The town of Lee’s
 announced in Missouri                 The Church of Jesus       information        Summit is about a
 the Kansas                            Christ of Latter-day      and belief,        half hour drive
 City Business                         Saints are in talks       there is           from the Kansas
 Journal.                              over what to do with      impending          City LDS Temple.
                                       6.55 square miles the     commercial
                                       church owns within        development
                                       city limits. The          of this land,
                                       acreage is distributed    likely
                                       across a 1,100-acre       purchased
                                       northern property and     decades ago
                                       another 3,100-acre        with tithing.
                                       tract to the south. The   Like the New
                                       COJCOLDS owns             Zealand land,
                                       these two properties      the anticipated
                                       — a 1,100-acre            profit to be
                                       northern tract and a      realized, due to
                                       3,100-acre southern       a zero basis in
                                       one, total 6.55 square    the initial land
                                       miles — in Lee's          purchase, will
                                       Summit, Missouri.         be immense.
                                       Defendant has
                                       partnered with the
                                       city to develop the
                                       parcels.




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 DATE         LOCATION                DETAILS                 PRICE/PROFIT      COMMENTS
 May, 2019    Richardson, Texas, a    Raytheon Corp.'s        $1.5 billion      Richardson is 5-7
              town near Dallas        new office campus,                        miles from Dallas
                                      CityLine Project,                         Temple. Raytheon
                                      sold to the                               is the
                                      Defendant’s Property                      Massachusetts
                                      Reserve, Inc. The                         based high-tech
                                      three-building,                           defense contractor.
                                      500,000-square-foot                       The paper
                                      office complex on                         reporting the sale
                                      Bush Turnpike east                        noted that in In the
                                      of Plano Road cost                        Dallas area, the
                                      almost $100 million                       Property Reserve
                                      to develop in 2016.                       Inc. has
                                      The four-story office                     apartments in Las
                                      campus houses                             Colinas & Plano &
                                      almost 1,700                              industrial bldgs. in
                                      Raytheon Employees.                       Carrollton.
 May 2019     Irving, Texas, a town   Builder JPI sold its    Undisclosed       Irving is 16-17
              near Dallas. Las        new Jefferson Las       purchase price.   miles from the
              Colinas Community,      Colinas, 386 Unit six   Tax               LDS Dallas
                                      acre Apartment          Assessment at     temple.
                                      complex. on Las         $45 Million.
                                      Colinas Blvd., just
                                      north of Northwest
                                      Highway. Purchased
                                      by Defendant’s
                                      Property Reserve
                                      Inc., county deed
                                      records show it was
                                      renamed Fountain
                                      Pointe Las Colinas.
 Dec., 2017   Chandler, Arizona,      Mattamy Homes           $13.64 million    The LDS Church
              about ten miles from    bought thirty-seven                       owns a lot of big
              the Mesa LDS temple,    acres belonging to                        real estate and
              which has recently      Defendant through                         bare land in the
              seen lots of            Property Reserve Inc.                     Phoenix region
              development             The land is at Pecos                      with holdings in
              by COP in the blocks    Road and Hartford                         both the East and
              surrounding the Mesa    Street in Chandler.                       West Valley
              Temple.                 The land, called
                                      Haven, is
                                      undeveloped land is
                                      zoned for 283 single-
                                      family homes.




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 DATE        LOCATION                   DETAILS                  PRICE/PROFIT      COMMENTS
 2017        Deseret Ranches sister     The purchased            $9.9 million      Defendant already
             firm buys 4,200 acres      acreage is about forty                     owns 2% of
             in Osceola County,         miles from the                             Florida’s land
             Florida. The purchase      Orlando LDS temple.                        mass.
             is part of the Harmony
             Master planned
             Community.
 2017        Tract of land in eastern   More than half the       It is unknown     Development
             industrial Orlando         acreage is planned       what the          includes 220,000
             initially purchased by a   for development with     financial         homes, 100
             third party developer in   the original buyer.      consideration     million square feet
             2007 for about $100        Plans are to convert     for the           of commercial and
             million, then assigned     COP owned Deseret        assigned          institutional space
             to Defendant for joint     ranch into a huge        property was,     and almost 25,000
             venture development.       new city by 2080 that    but Def. often    hotel rooms. The
             Long-term                  would house half a       receives in       plan calls for more
             development is for an      million people.          kind donations.   than sixteen
             area of almost 250 sq.                                                communities.
             miles.
 2016        Bay Drive, Lahaina,        COP’s Ensign Peak        At the time of    There is no LDS
             Hawaii. Island of          Investments LLC          the acquisition   temple or other
             Maui.                      recently acquired the    the property      LDS religious
                                        property which has a     was valued at     building on Maui.
                                        1,600-square-foot        $3 million
                                        building on 5.3 acres.   dollars.
 2015        Riverton, Utah             COP’s Suburban           COP owned         The development
                                        Land Reserve (SLR)       the 540 acre      is about six miles
                                        requested city           farmland. The     from the Jordan
                                        approval of a master     development       LDS Temple and
                                        mixed use plan on        would add         about four miles
                                        several large land       3,500 housing     from the LDS
                                        parcels between          units and an      Taylorsville
                                        Bangerter Hiway &        85-acre           temple.
                                        Mtn. View Corridor       shopping
                                        near 13400 South.        center.
 2014        Philadelphia, PA. 1600     Plans are for a mixed    Church            The Mormon
             Vine Street Complex        use development,         officials will    population of
             on the northern border     with a 32-story tower    not reveal how    Greater
             of Philadelphia’s          with 258 apartments,     much the          Philadelphia is
             downtown area.             thirteen rental          project will      estimated at just
                                        townhomes and a          cost, but it is   25,000 to 28,000;
                                        24,000-square-foot       estimated to      it already has 47
                                        mtg. house. It is        run roughly       LDS mtg. houses.
                                        located about half a     $120 million.     Like many LDS
                                        mile from the                              temples, it’s now
                                        Philadelphia LDS                           closed, with access
                                                                                   by appt. only.

                                                 8
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                                        Temple, finished in
                                        2016.
9.     Defendant’s annual tithing receipts was until recently estimated to be $6-8 billion (though

that amount is decreasing due to resignations), $1-2 billion of those receipts were not needed for

ecclesiastical expenses. That $1-2 billion surplus is invested and then used for commercial real

estate and business development. By comparison, and by its own admission, COP donated just

$1.3 billion in humanitarian aid over a 25 year period, from 1985 to 2010.

10.    COP fraudulently induced outsiders’ as well as those who were already members,

especially young peoples’ (who as minors could not consent), faith-based conclusions about the

divinity of the Church by misrepresenting facts about Mormon history, including the origin of its

scriptures, and how tithing is used. Decisions to be baptized, remain a member of the

organization and importantly for most, to further commit to the Church by serving as a full time

mission, and/or qualifying and renewing qualification for temple access and participation, are all

conditioned upon paying a full 10% of one’s income as tithing. Defendant extorted that tithing

not only by promising eternal salvation, and “forever families” but by characterizing payment of

a full tithe as “fire insurance” to ensure safety from apocalyptic burning at the Second Coming of

Jesus Christ.

11.    Defendant’s commissioned and correlated artwork depicted scenes from Mormon history

that the Brethren do not sincerely believe due to the contents of their archives. Most of the items

in their archives have been concealed from the lay members ever since the pioneers trekked to

Salt Lake Valley in 1847. The Brethren, communicating as a body through correlated (official

“pure” doctrine that they approve) speeches, manuals, publications, and artwork (hereinafter




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 “correlated rhetoric”) made statements about Mormon history, Smith’s character and how tithing

 is used, that they don’t sincerely believe.

 12.     The Brethren did not sincerely believe their commissioned artwork depicting the process

 used to create the Book of Mormon (“BOM”). 4 Furthermore, despite arguably having a duty to

 disclose these omitted material items and information due to regular and repeated invitations to

 trust the Brethren, COP omitted material facts about founder Joseph Smith’s (hereinafter

 “Smith”) participation in folk magic, life long criminal and civil fraud history, significant issues

 with Mormonism’s key foundational events, and about the authorship and content of the

 canonized scriptures, the Book of Mormon and the Book of Abraham.

 13.     Since at least 1961, the Brethren have approved all rhetoric promulgated by and through

 COP’s various subsidiaries described below. That rhetoric, often in the form of instruction

 manuals, was given to leaders who teach at local chapels, LDS teachers at secondary and college

 levels, and all LDS missionaries. Defendant warned the Church Educational System (“CES”)

 teachers not to deviate from the COP mandated correlated rhetoric under threat of termination

 from their positions. This material included not only doctrine, but widely distorted historical

 facts (many of which have been recently admitted by Defendant in a serious of essays from late

 November 2013 through at least 2019 and continuing. These essays were intentionally concealed

 on Defendant’s official website and unannounced to its lay members (and only belatedly to its

 local leaders) about Mormonism’s history, the character and activities of its founder, Joseph

 Smith. 5


 4
  The Book of Mormon is the Church’s primary scripture and considered the keystone of the COJCOLDS.
 5
  Doctrine: a belief or set of beliefs, especially political or religious ones, which are taught and accepted
 by a particular group: https://dictionary.cambridge.org/us/dictionary/english/doctrine
                                                      10
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 14. Prior to the mid-1990s and high-speed internet access, most LDS members were progeny of

 Mormon pioneers living in Utah and were geographically and culturally isolated. Occasionally

 some members of the Church would come across damaging information that contradicted

 traditional correlated Mormon history. When questioned about that information, their leaders,

 told them that the information was “Anti-Mormon lies.” In the early 2000s, and expanding into

 the 21st Century, high speed access led to the spread of websites containing a version of Mormon

 history that contradicted COP’s correlated narrative in important ways. When queried, Defendant

 instructed members to avoid the internet for answers to questions about Church History.

 15.     Members had also been taught that LDS leaders and teachers served voluntarily and

 without remuneration. However in 2017 a leaked 1099 issued to Apostle Henry Eyring showed

 that he received an annual low six figure payment for his services.

 16.     Disaffection from the LDS Church is overwhelmingly based upon previously faithful

 members’ discovery of this deceptive scheme perpetrated by Defendant COP.

 17.     Damages suffered by Plaintiffs* are similar to those documented in the LDS Personal

 Faith Crisis [Report] (“LDSPFCR”), a noncommissioned survey of more than 3,000 disaffected

 LDS members by LDS scholars. 6 Aside from the loss of a fraudulently induced significant

 financial contributions, they include the following: existential crises, suicidal ideation,

 destruction of familial relationships, insomnia, anxiety, and depression. 7 (See Exhibit No. One,

 LDSPFCR filed herewith.)



 6
   *The term “Plaintiffs” is used hereinafter as a short-hand designation meant to include both named
 Plaintiffs, GADDY, SMALL and HARRIS and those persons similarly situated, i.e., members of the
 potential or putative Class.
 7
   Exhibit No. 1 filed herewith, is a copy of the LDSPFCR, now readily available on the internet.
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 18.      Yet it was not until after the report was provided to LDS corporate leaders that COP

 began to publish unannounced, incremental, and intentionally hard-to-locate essays with

 admissions that acknowledge some of COP’s half-century long misrepresentations.

 19.      Terryl Givens, professor and LDS writer noted, circa 2012, prior to COP’s admissions:

 “Not since Kirtland (where a mass Mormon exodus occurred after the 1837 Kirtland Bank

 failure, where subsequently Smith was convicted of running an illegal bank), have we seen such

 an exodus of the Church’s best and brightest leaders” 8 He was referring to the thousands of LDS

 members who had become inactive or resigned due to their discovery of Mormon/LDS history

 that contradicted in key aspects what they had been taught in the Church.

 20.      The survey conducted found that 70% of respondents agreed that “I studied church

 history and lost my belief,” as a major factor in their disbelief. Specific issues included: Smith’s

 polygamy and polyandry, Book of Abraham translation, Smith’s use of a peep/seer stone, prior

 treasure digging and participation in folk magic and conflicting versions of the First Vision.

 The Report concludes that: “The gap between the history currently taught and factual history

 is—in certain instances—highly differentiated.” The last few pages of the LDSPFCR advise LDS

 leaders to: “Inoculate current membership and future generations by closing the gap between our

 historical narrative and factual history.

 21.      Additionally, it was not until after nationwide press about the IRS Whistleblower

 complaint and COP’s Ensign Peak Advisor’s (EPA) $128 Billion dollar fund was publicized in

 December 2019 that COP began to change its narrative with respect to how it uses tithing

 donations. Members had been led to believe that tithing was used only for religious purposes,


 8
     LDSPFCR p. 30.

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 and that church owned businesses were funded from LDS owned business profits or non-tithing

 donations from wealthy members and that their tithing was not used to expand the Mormon

 Corporate Empire.

 22.     For the years 2008-2018, Utah was the nationwide leader in affinity fraud. According to

 experts it leads by more than two-thirds ahead of the next state, which was Florida. The majority

 of Utah’s population is Mormon. Attorney Mark Pugsley has worked in affinity fraud for

 decades and identifies that the problem causing this alarming data is that faithful LDS trust their

 leaders.

 23.     Some LDS members concoct Ponzi schemes, duping faithful Mormons out of their life

 savings. They use the same methods used by COP leader-agents in relation to LDS faithful—

 they gain investors’ trust by omitting facts material to the investment, while inviting investors to

 trust them, building a relationship with them and all the while intending to deceive them. 9




 9
   https://rqn.com/blog/utahsecuritiesfraud/finally-its-confirmed-utah-has-more-ponzi-schemes-per-capita-
 than-any-state-in-the-country-by-far/#.XgKY1kdKi71 Note: as of August 16, 2021, the above link
 cannot be found on the RQN website. Instead a 404 Error message displays when linked.


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 24.    Plaintiffs claim easily calculable special damages for payments of cash and the value of

 services rendered to Defendant by former members of the LDS Church. Plaintiffs also claim

 general damages for COP’s non-RICO fraud and reckless infliction of emotional distress.

 II. SPECIFIC ALLEGATIONS OF RELEVANT MORMON/LDS HISTORICAL FACTS

 25.    The LDS Church claims it is the restored gospel of Jesus Christ which had become corrupt

 after Christ’s death. Defendant claims that attempts by Reformation Era leaders such as Luther

 and Calvin to reform Christ’s church were inadequate to restore the gospel. Instead, Joseph

 Smith Jr. (“Smith”), a fourteen-year-old boy from upstate New York, was allegedly chosen to

 restore the one true gospel of Jesus Christ on Earth.

 26.    COP teaches that Smith’s First Vision, the incipient event in Mormon history, in occurred

 in 1820 when he was fourteen. It teaches that in that vision Smith claimed to have seen two

 personages: God the Father and Jesus Christ his Son, who told him that all other religious

 “creeds” were false, and he should join none of them. The First Vision is admittedly the key

 event upon which the COJCOLDS was founded.

 27.    In 1823 Smith claims to have been visited by Angel Moroni (though initially the angel

 was named Nephi), who explained that gold plates buried in a nearby Hill Cumorah contained a

 record of ancient Hebrew prophets who had immigrated to America about 600 BCE. 10 Two

 main tribes emerged from the Hebrew posterity: the Lamanites, and the Nephites. The Nephites

 were “white and delightsome,” lighter skinned, reflecting their superior righteousness. In

 contrast, the Lamanites (who are today’s Native American ancestors) are described as “dark and



 10
    For convenience, the plates are referenced as “gold.” Mormon history refers to both gold plates and
 plates that had the “appearance of gold.”
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 loathsome,” a reflection of their wickedness. The last Nephite leader, Mormon, is purported to

 have abridged and compiled the history of his people on the gold plates, along with teachings

 about the gospel. The language written on the plates was described by Smith as “Reformed

 Egyptian.”

 28.    After his resurrection, the Book of Mormon claims that Jesus Christ appeared among the

 Nephites and taught them.

 29.    Though Smith allegedly found the plates in September 1823, it was not until September

 1827 after several visits from Angel Moroni, that he was allowed to retrieve them. The Book of

 Mormon is marketed as “another testament of Jesus Christ,” a companion to the Bible.

 30.    In October, 1825 Smith and his father join a treasure hunting expedition 135 miles from

 their home in Harmony, Pennsylvania. They find no treasure, but Smith meets Emma Hale

 whom he later marries.

 31.    In 1826, after the angel told him of the plates, but before he obtained them from the Hill

 Cumorah near his home, Smith was charged in Bainbridge, New York with disorderly conduct

 and being an imposter (a 19th Century statute which included what today would be fraudulent

 activities), based upon an unsuccessful attempt to locate buried silver with a brown peep stone.

 According to the docket entry prepared by Presiding Judge Neely, Smith was found guilty. (See

 Exhibit No. 2 to this complaint, a COP created typed version of the original handwritten

 transcript, released in their Joseph Smith Papers (“JSP”) in 2018.) The stone used to search for

 buried treasure is now acknowledged by Defendant as the same stone Smith used to create the

 Book of Mormon.




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 32.    In 1827 Smith married Emma Hale. The couple elope due to her father’s objection to the

 relationship. Isaac Hale describes Smith’s occupation as "seeing" by means of a "stone placed in

 his hat," whereby Smith "pretended to discover minerals and treasure." Hale called the Book of

 Mormon a “silly fabrication.”

 33.   Oliver Cowdery a school teacher and distant relative of Smith appeared on April 5, 1829 to

 assist with the Book of Mormon creation. In early 1830 Smith received a revelation through his

 brown seer stone that he should travel to Canada to sell the copyright. In February 1830 Smith

 sent Cowdery and another colleague to Canada to sell the manuscript for $8,000 but their attempt

 was unsuccessful. Upon their return and query to Smith as to why his earlier revelation failed,

 Smith received another revelation indicating that "[s]ome revelations are of God: some

 revelations are of men; and some revelations are of the devil." Thereafter it is claimed that he

 completed the creation of the Book of Mormon in three months by looking at the brown seer

 stone he had admittedly used to search for silver, placed in his hat. The gold plates were not in

 sight while he dictated. The Book of Mormon was published in March 1830; the “Church of

 Christ” was created on April 6, 183, changed in 1834 to "The Church of the Latter Day Saints,"

 and in 1838, to the Church of Jesus Christ of Latter-day Saints (COJCOLDS.)

 34.     In 1835 the Doctrine and Covenants (“D&C”) is published which contains the Fifth

 Lecture on Faith describing God the Father as a spirit, in contradiction to the 1820 vision where

 Defendant claims Smith said he saw two personages, the Father and Son, who told him all creeds

 were false. Smith is listed as editor of the book. Of Smith’s 138 of revelations in the D&C, 122

 or 86% deal with financial as opposed to spiritual matters.




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 35.       Smith was killed while jailed for treason in Carthage Illinois on June 27, 1844. During

 his life, he committed crimes and civil frauds that necessitated a continual relocation generally

 westward, to escape the laws of the various states and even the federal government, eventually

 leading the Mormons under Smith’s successor Brigham Young to settle in Mexican territory in

 1847.

 36.       The following TABLE of CRIMES and CIVIL FRAUDS lists Smith’s relevant

 encounters with the law, convictions, and escapes (or evidence of the same) in bold. This list is

 not complete; he was charged with at least forty-two crimes, sued civilly dozens more,

 concededly involved in over two hundred legal cases as either defendant, Plaintiff, or judge of

 the Nauvoo, IL theocratic municipality.

    YEAR        PLACE                FACTS              Crime/Civil Fraud                       OUTCOME
  1826        Bainbridge,   Smith attempted to          Disorderly Conduct,        Judge Neely Docket Entry reads:
              New York      find buried silver for J.   Vagrant, and Imposter      “And therefore the Court find
                            Stowell with the use        COP now                    [sic] the defendant guilty.” (Ex.
                            of his brown seer           acknowledges the           NO. 2 to this complaint. ) Before
                            stone.                      statute is essentially a   sentencing Smith took leg bail,
                                                        fraud charge               i.e. he escaped.
  1830        Broome        Smith continued to          Disorderly conduct         Acquitted due to a 2 year statute
              County,       use his stone to search     (what today would be       of limitations defense. But the
              Colesville,   for treasure after the      fraud) and Imposter.       evidence taken was sufficient
              New York      1826 charge, even           The trial lasted 23        that Presiding Judge, Joel King
                            when he purportedly         hours forty-three          Noble concluded that Smith was
                            retrieved the gold          witnesses.                 a “Vagrant idler,” a “Liar,” a
                            plates in 1827.                                        “Deceiver,” and anything but a
                                                                                   good man.”
  1832        Kirtland,     Smith makes a pass a        Her brothers and           Assault against Smith, due to
              Ohio          Nancy Marinda               other men tar, feather     inappropriate sexual advances
                            Johnson, a 15-year-         and consider               with a minor. No known charges
                            old girl at the home        castrating Smith.          brought by Smith.
                            where he is a guest.




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  YEAR         PLACE         FACTS                     Crime/Civil Fraud        OUTCOME
  1833-        From          Smith has intimate        Serial Adultery.         Most all are never charged,
  1843         Kirtland,     relations with over       Smith’s revelation on    though in 1844 Smith’s former
               Ohio to       two dozen women,          polygamy is dictated     counselor, William Law brings
               Nauvoo,       some of whom are          07/12/1843 but           adultery charges that are not
               Illinois.     married, and some of      publicized a decade      litigated due to Smith’s Carthage
                             whom live with Smith      later. Adultery is a     incarceration for treason based
                             in his home as            crime in all states      on his order to destroy the
                             orphans or servants.      where he resided.        Nauvoo Expositor printing press.
  February     Kirtland,     Smith creates the         Violation of Ohio        A Quit Tam action is brought
               Ohio          Kirtland Safety Society banking license statute. against Smith and his conspirators
  10, 1837
                             Antibanking Co. after
                                                       Smith is sued civilly by by Samuel Rounds, individually
                             Ohio denies him a
                             banking license. Warren dozens of investors,       and on behalf of the State of Ohio.
                             Parrish, secretary for    former Mormons, and      They are convicted. Smith’s part
                             Smith and briefly,        others, who participated of the fine is $1,000 plus court
                             Cashier for the bank      in negotiating Kirtland costs. Smith dies without
                             wrote in 1838: “I have notes.                      satisfying the judgment, which is
                             been astonished to hear
                                                                                ultimately satisfied against his
                             him declare that we had
                             $60,000 in specie in our                           estate. Dozens of individual civil
                             vaults and $600,000 at                             claims were not satisfied. Smith had
                             our command, when we                               escaped Kirtland on horseback
                             had not to exceed                                  along with Sidney Rigdon after a
                             $6,000 and could not                               warrant was issued (See below) for
                             command any more.”
                                                                                his arrest. He had no assets from
                             11
                                Smith duped
                             investors by showing                               which to satisfy the judgment
                             boxes in a vault each                              (Smith filed for bankruptcy, but his
                             marked with $1,000                                 petition was denied.)
                             that were actually filled
                             with “…sand, lead, old
                             iron, stone and
                             combustibles.” But
                             each had a top layer of
                             fifty cent coins. 12




 11
    (Letter to Zion's Watchman, published March 24, 1838. Cyrus Smalling also wrote that Joseph had collected only
 $6,000 in specie. See E. G. Lee, The Mormons, or Knavery Exposed, p. 14)
 12
    According to several contemporaneous accounts by former members of the church.

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    YEAR         PLACE              FACTS             Crime/Civil Fraud                     OUTCOME
  January     Ohio          See above                 Warrant issued for        That night Smith and Rigdon
  12, 1838                  description.              Smith's arrest on         fled the court’s jurisdiction,
                                                      charge of banking         escaping from Ohio into
                                                      fraud.                    Missouri.
  Nov. 12,    Daviess       After surrender to        After a hearing on        After several months in the
  1838-39     Co., MO.      MO, Smith, Rigdon, et.    April 11, 1839, a grand   Liberty, Missouri jail on April 16,
              Surrender     al, are charged           jury indicts Smith for    1839, Smith and colleagues
              & Court       with treason, murder,     treason against the       escape custody enroute to Boone
              Martial       arson, burglary,          state of Missouri.        County, MO. Smith flees across
              after LDS     robbery, larceny                                    the border to Illinois. Missouri
              defeated in   & perjury. Court binds                              Extradition efforts fail due to
              Mormon/       Smith and several                                   Nauvoo laws that do not
              Missouri      others for trial on the                             recognize legal process outside
              Wars.         charge of “Overt acts                               its jurisdiction.
                            of Treason.”
  Jan 30 –    Illinois      LDS Church elects         Jan. 1, 1841. New         Smith is denied discharge in
  Feb 1,                    Smith trustee and         individual bankruptcy     bankruptcy (see below).
  1841                      then transfers all its    law that contains a
                            property to him.          fraudulent transfer
                                                      exception: no asset
                                                      transfer to avoid
                                                      paying debts.
  December    Illinois      Joseph transfers          Smith fraudulently        These fraudulent transfers for
  1841 –                    property to he and        transfers assets in       less than fair market value are
  August                    Emma’s children for a     violation of the          made on the eve of Smith filing
  16, 1842                  nominal amount.           Bankruptcy Act.           his Bankruptcy petition.
  April 18,   Carthage,     Smith owes more than      Application for           Application for Petition in
  1842        IL            $73,000 to creditors.     Bankruptcy Petition       Bankruptcy denied due to
                                                      filed.                    aforesaid fraudulent transfers.
  May 6,      Missouri      Attempted                 Smith charged with        July 20, 1942 Boggs issues sworn
  1842                      assassination of          accessory to murder.      statement that he "has good
                            Missouri Governor         Jan. 1943 he is           reason to believe that Joseph
                            Lillian Boggs.            released after a pc       Smith…was accessory before the
                                                      hearing. In 1887,         fact of the intended murder."
                            Two men, one              former Mormon Wm.         Gov. Reynolds requests Smith
                            contemporaneously,        Law reports that          surrender to the IL governor who
                            claim Smith admitted      Smith admitted: "I        issues arrest warrants for Smith &
                            that he had attempted     sent Rockwell to kill     Porter Rockwell. Aug. 8, they are
                            the murder of Boggs.      Boggs, but he missed      arrested by the Adams Co., IL
                                                      him, it was a failure;    sheriff, but then escaped. Smith
                            Smith denies those        he wounded him            fled to Iowa, hiding in various
                            claims.                   instead of sending        places for months. The case is
                                                      him to Hell."             eventually dismissed.
  Aug. 1,     Ohio          Walter Bagbee, tax        Assault (what would       Smith pleads guilty & pays a fine.
  1843                      collector, called Smith   like be criminal
                            a liar. Smith struck      battery today in most
                            him knocking him to       jurisdictions)
                            the ground.

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  YEAR          PLACE        FACTS                    Crime/Civil Fraud         OUTCOME
  1844          Nauvoo       Smith’s former           Smith orders the          The Smith brothers are killed by
                and          counselor, William       Nauvoo Expositor          a mob while jailed awaiting trial
                Carthage,    Law, publishes article   Printing press            for treason at Carthage, Illinois.
                Illinois     in the Nauvoo            destroyed. Smith,         Smith shoots two men in his
                             Expositor describing     et.al. are originally     defense. He is shot and jumps
                             Smith’s sexual           charged with inciting a   from a rear window, dying
                             exploitation of women    riot and then a grand     shortly thereafter. Defendant
                             under pretense of        jury indicts him for      describes Smith’s death as that of
                             God’s command, his       treason. He and his       a martyr and idolizes the man as
                             conceit, and political   brother Hyrum are         second only to Jesus Christ.
                             aspirations.             jailed in Carthage,
                                                      Illinois.


 37.        In 1842, some of Smith’s followers purchase Egyptian papyri from a traveling salesman,

 on the basis of Smith’s representation that he could translate them. Smith allegedly translates the

 papyri into what is now LDS canonized scripture, the Book of Abraham. The book teaches about

 cosmology and the preexistence of souls before Earth life. Claimed to have been written by the

 Hebrew prophet, Abraham, it contains three facsimiles from the papyri which Smith translated as

 depicting Abraham and events in his life. The preface states:


                        THE BOOK OF ABRAHAM
                TRANSLATED FROM THE PAPYRUS, BY JOSEPH SMITH
  A Translation of some ancient Records that have fallen into our hands from the catacombs of
  Egypt. The writings of Abraham while he was in Egypt, called the Book of Abraham, written
                       by his own hand, upon papyrus. [Emphasis added].
 38.       For more than a century, Egyptologists have decried Smith’s alleged translation as

 fraudulent. (See Exhibit. No. 3, to this Complaint, New York Times 1912, filed herewith).

 Defendant has recently admitted in its Book of Abraham essay that the figures do not

 depict Prophet Abraham, nor his life events described in the Book. 13


 13
      https://www.churchofjesuschrist.org/study/scriptures/pgp/abr/1?lang=eng (Viewed 08/02/19)
                                                       20
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     None of the characters on the papyrus fragments mentioned Abraham’s name or any of
     the events recorded in the book of Abraham. Mormon and non-Mormon Egyptologists
        agree that the characters on the fragments do not match the translation given in the
      book of Abraham, though there is not unanimity, even among non-Mormons scholars,
        about the proper interpretations of the vignettes on these fragments. Scholars have
                        identified the papyrus fragments as parts of standard
 funerary texts that were deposited with mummified bodies. These fragments date to between the
 third century B.C.E. and the first century C. E. long after Abraham lived. 14

      39. Facsimile No. 3 from the Book of Abraham is depicted below with translations
          compared.




        Figur   Joseph Smith's explanation[119]                Explanation by Egyptologists
          e


 14
       https://www.churchofjesuschrist.org/manual/gospel-topics-essays/translation-and-historicity-of-the-
 book-of-abraham?lang=eng Unattributed (no author credited) version published and buried on the LDS.org
 website without notice to LDS members in July 2014. Upon information and belief, many of the essays
 have been altered since original publication. (Last Viewed 09/10/2019).


                                                    21
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   General       Abraham is reasoning upon the              "Invocation (text at bottom line belowthe
   Comment    principlesof Astronomy, in the king's                    illustration): O gods of
                              court.                       the necropolis, gods of the caverns, gods of the
                                                          south, north, west, and eastgrant salvation to the
                                                           Osiris Hor, the justified, born by Taikhibit."[120]
                 Abraham sitting upon Pharaoh's
        1      throne, bythe politeness of the king,       "Label for Osiris (text to the right of figure 1 of
                   with a crown upon his head,            Facsimile No. 3): Recitationby Osiris, Foremost of
                 representing the Priesthood, as                           the Westerners,
                    emblematical of the grand
                 Presidency in Heaven; with the          Lord of Abydos(?), the great godforever and
                scepter ofjustice and judgment in                      ever(?)."[120]
                            his hand.

        2      King Pharaoh, whose name is given             "Label for Isis (text to the right of figure 2 of
                in thecharacters above his head.               Facsimile No. 3): Isis the great, thegod's
                                                                              mother."[120]

                Signifies Abraham in Egypt as given      "Altar, with the offering of the deceased,surrounded
        3        also infigure 10 of Facsimile No. 1.       with lotus flowers, signifyingthe offering of the
                                                                              defunct."[79]

                Prince of Pharaoh, King of                   "Label for Maat (text to the left of figure4 of
        4       Egypt, aswritten above the                Facsimile No. 3): Maat, mistress ofthe gods."[120]
                           hand.

                Shulem, one of the king's principal      "Label for Hor the deceased (text in front of figure 5
        5         waiters, as represented by the             of Facsimile No. 3): TheOsiris Hor, justified
                    characters above hishand.                               forever."[120]

                 Olimlah, a slave belonging to the           "Label for Anubis (text in front of figure6 of
        6                      prince.                    Facsimile No. 3): Recitation by Anubis, who makes
                                                           protection(?), foremost of the embalming booth
                                                                                ..."[120]

 40.    July 12, 1843 Smith records revelation on polygamy. D&C 132 is made public a decade

 later (which remains scripture today). It reads that Emma [must] comply, and “cleave” only unto

 Joseph, and to “non else.” “But if she will not abide this commandment she shall be “destroyed.”

 The chart below illustrates the nature and extent of Smith’s polygamist relationships.




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 41.      August 11, 1843 Smith’s journal entry. When William Clayton asks Smith whether he

 was wrong to counsel Margaret to marry him despite the fact that she was in love with another

 man, Clayton wrote that Smith "[A]answered no you have a right to get all you can." In October,

 2014, COJCOLDS admits to Smith’s prolific polygamy in a buried, unannounced, essay, titled

 “Plural Marriage in Kirtland and Nauvoo.” 15 The essay does not include a compilation of easily

 viewed list of the women that he had relationships with but estimates the total number of women

 Smith had polygamous relationships to be “30 to 40.” (FN 24 as of Sept 26, 2021). It estimates

 that the number of women who were already married to be “12 to 14” (FN 30 as of Sept 26,

 2021).

 42.      June 27, 1844. Smith is killed while jailed at Carthage after being charged with a riot

 (based upon his destruction of the Nauvoo printing press for printing an article by his former

 LDS counselor, William Law, who exposes Smith’s profligate adultery and vile character), and

 Smith is subsequently indicted by a grand jury for treason. Thereafter, the Mormon sects,

 including Defendant COJCOLDS describe and idolize Smith as a martyr. 16 “Praise to the Man,”

 a hymn written after Smith’s death, is sung in LDS wards to this day.

 43.      1847 Mormons settle in Mexican Territory. Mormon pioneers, led by Brigham Young

 who had assumed the role of prophet and president after Smith’s death, enter Mexican territory

 in 1847. 17 In 1848 the Treaty of Guadalupe Hidalgo is signed, ending the Mexican American

 War. The land occupied by the Mormons is named Deseret Territory. Young marries




 15
    https://www.churchofjesuschrist.org/study/manual/gospel-topics-essays/plural-marriage-in-kirtland-
 and-nauvoo?lang=eng (last viewed Sept 26, 2021)
 16
    https://www.churchofjesuschrist.org/music/library/hymns/praise-to-the-man?lang=eng&_r=1
 17
    Mormons have always claimed their leader to be "prophet, seer, and revelator," in addition to president.
                                                     24
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 approximately fifty-five wives. COP teaches that Young’s polygamy was a necessary practice

 due to the number of women who outnumbered men in the Mormon Church. 18

 44.     Mormons establish a theocratic kingdom in Deseret. In 1850 the University of Deseret is

 established. In 1851 newly enacted legislation provides public taxation that funds schools largely

 organized and run by the Mormons.

 45.     President Brigham Young boasts of the quality of Mormon liars. He brags that [the

 Church] has “the greatest and smoothest liars in the world.” Journal of Discourses, 4: 77,

 Brigham Young, 1857.

 46.     Deseret Public schools no longer controlled by Mormons. Private educational system

 created. After passage of both the 1877 Edmunds Tucker Act prohibiting religious books in the

 classroom and the Free School Act of 1880, ensuring schools would be "free from sectarian

 control,” the mainstream Mormon Church, now headquartered in Deseret Territory, establishes

 the Church Educational System (“CES”). By then, 20% of the territorial population was not

 affiliated with the Mormon Church.

 47.     1887 LDS historian creates record of dozens of Smith’s “wives.” In 1887 Andrew

 Jenson, paid employee of the LDS Church, compiles a list of dozens of Smith’s “wives”. Jenson:

 “Plural Marriage. ” Historical Record 6 (May 1887): 219-40. The Historical Record was an

 assignment given by Mormon leaders to Jenson. Jenson’s record is in COP’s custody and control

 but upon information and belief, has never been released to LDS lay members en toto, though his

 records has been referenced in footnotes in the 2014 polygamy in Kirtland and Nauvoo essay.



 18
   Late 19th Century statistics do not bear out the preponderance of women to men; rather it was the
 reverse, more men than women.
                                                    25
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 48.     1890s, Temple Lot Affidavits Reveal Sexual Nature of Smith’s Female Relations.

 Protracted real estate litigation was brought by the Reorganized Latter-day Saints (RLDS)

 Church over a large tract of land (Temple Lot). In order to rebut RLDS claims that Joseph had

 not married his polygamous wives in the full sexual sense. Under the direction of 6th LDS

 president Joseph F. Smith, Sr., affidavits were obtained from founder Smith’s wives who were

 still living and other Mormons who were present at the relevant periods. They testified that

 founder Smith had sexual relations with at least thirteen of his plural wives (Upon information

 and belief it was with many more, but those persons who could testify were mostly deceased

 more than 45 years after founder Smith died.) Upon information and belief, the affidavits by

 Smith’s living wives obtained by President Smith were at one point, if not currently, in the

 custody and control of Defendant.

 49.    1890 Mormon Manifesto. In 1890, as a condition of statehood, the Mormon Church

 abandons polygamy via the Mormon Manifesto. However, the practice continues for at least 20

 more years, causing issues in confirmations of Utah politicians running for U.S. congressional

 seats. An underground network of Mormon polygamist leaders had to frequently move within the

 territory to escape the law. Currently it is believed that only fundamentalist Mormons engage in

 Earthly polygamy practice, though the law of “Celestial Marriage” aka polygamy, is an LDS

 principle practiced in the afterlife and remains in its scripture today at D&C ¶132.




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 50.     1912 New York Times Publication Exposes Book of Abraham fraud. The New York

 Times publishes an exposé on Smith’s Book of Abraham translation, quoting an Oxford

 Egyptologist’s opinion that the work is an “impudent fraud.” 19




 51.     Near that time, Franklin Spencer Spalding, reverend for the Salt Lake Episcopal Church,

 sends a letter to the Mormon leaders in Salt Lake City, informing them of the Egyptologists’

 opinion. The notice includes the following: “It is difficult to deal seriously with Joseph Smith’s

 impudent fraud,” wrote Dr. A. H. Sayce of Oxford University. The assistant curator of the New

 York Metropolitan Museum, Dr. Arthur Mace, who had located the papyrus in the museum’s

 files, called the Mormon translations “… a farrago of nonsense.” The Reverend apparently

 received no response. Upon information and belief, Defendant concealed the letter.




 19
   See Exhibit No. 3 filed herewith, “Museum Walls Proclaim Fraud of Mormon Prophet,” The New York
 Times, Magazine Section, Dec. 29, 1912. Article also available in large size to read at this link:
 http://www.utlm.org/onlineresources/nytimes1912papyrus.htm Several years ago COP stealthily
 published its online essay admitting some of what is in this article here: “Translation and Historicity of
 the Book of Abraham,” Gospel Topics Essays (2016 version).
 https://www.churchofjesuschrist.org/manual/gospel-topics-essays/translation-and-historicity-of-the-book-
 of-abraham?lang=eng (Last Viewed 09/26/2021).



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 52.    In January 1922, official Mormon Church historian B. H. Roberts spends days in a

 combined meeting of the First Presidency, apostles, and seventies presidents. He speaks of issues

 with Book of Mormon historicity and origins, suggesting Smith did not write it but that it was a

 collaborative effort among his colleagues, and a plagiarization of other 19th Century manuscripts

 and the Bible. He also points out the lack of archaeological evidence for the items, artifacts,

 minerals, animals, and civilizations described in the Book of Mormon. Roberts recommended

 that the problems he identified should be researched and publicly discussed.

 53.    According to a 2019 master’s thesis by Shannon Caldwell Montez, in April, May, and

 June of 1922, Roberts presents his concerns to another group of highly educated men and women

 outside the Mormon hierarchy, but presumably contacted by Mormon leaders for a meeting at

 the home of LDS member James Moyle an attorney, and his wife Alice. As documented by LDS

 apostle and engineer Richard Lyman, the group includes experts in law, medicine (Roberts’ third

 wife, Doctor Margaret Shipp Roberts), geology, archeology, and speech. Other journal entries

 reference two more physicians. Every member of the group had graduate degrees from

 institutions outside Utah. The “group represented many aspects of Mormon belief, different areas

 of expertise, and varying approaches to dealing with challenging information.” 20

 54.   Montez writes that: “…[t]he information Roberts presented to both leadership and this

 group of Mormon intellectuals remained hidden, denied, and ignored (but not forgotten) for over

 sixty years. It was discovered and published as Studies of the Book of Mormon in 1985,” a




 20
   https://scholarworks.unr.edu/bitstream/handle/11714/6712/Montez_unr_0139M_13054.pdf (Accessed
 Feb. 10, 2021)
                                                  28
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 collection of B. H Roberts writings with editorial commentary that characterizes his struggles as

 revoked on his deathbed or characterizes his writing voice as that of a devil’s advocate.

 55.       Contemporaneous notes from attorney Stephen L. Richards reads: “Closed. First

 Presidency Vault (only first presidency can access).” Richards serves as First Counselor to David

 O. McKay, when he was Church Commissioner of Education. Richards also serves as a member

 of the Quorum of the Twelve Apostles and First Counselor in the First Presidency. According to

 Montez, Richards was also mentor to Gordon B. Hinckley, LDS President from 1995-2008.

 56.       In 1923 the LDS Church incorporates. During the 20th Century, Church leaders sit on the

 boards of approximately nine hundred commercial companies and receive payment for those

 services, though upon information and belief, that practice has been discontinued relatively

 recently.

 57.       1925, COP leader agents discover that a few BYU affiliated members had obtained

 copies of Roberts’ 1925 manuscript detailing issues with Book of Mormon historicity and origins.

 They are ordered by Defendant’s agents to destroy them and to ‘keep your mouths shut.’” 21

 58.       In 1930, Church Historian and Apostle B. H. Roberts Confirms that LDS President

 Joseph Fielding Smith has custody of Smith’s brown peep or seer stone in his office vault.

 59.       In Depression Era 1930s, the LDS Church announces a comprehensive welfare program.

 Federal Dept of Labor and Management, WPA administrative assistant Dean R. Brimhall visits

 Utah in 1936 and writes: “most of the propaganda that has come out about the efforts of the Utah

 church [to provide financial help to its members] is fictitious.” That despite the myths that




 21
      Wesley P. Walters, Origins of the Book of Mormon, p. 124, n. 3.
                                                      29
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 Church welfare had enabled most of its members to avoid public assistance, “Utah as a whole

 had a very heavy federal works program load,” and it was “among the highest in the nation.” 22

 60.     In 1938 J. Reuben Clark, then an apostle and second counselor in the LDS First

 Presidency, gives a classic speech to CES educators. In “The Charted Course,” Clark

 acknowledges that young LDS students are “inquirers seeking after truth.” He then warns CES

 teachers from sowing seeds of doubts as to the truthfulness of the LDS religion or Church,

 stresses the pragmatic success of the Church and calls upon teachers to show “intellectual

 courage” in the face of secular information which would undermine LDS teachings.

 61.     In a 1945 message to be taught to all LDS families, Defendant teaches that “When our

  leaders speak, the thinking has been done.” 23

 62.     1955, LDS apologist, BYU Professor Hugh Nibley writes an article for COP’s

 Improvement Era, documenting the manipulation of history, citing numerous examples. But

 then, quoting Aquinas, he writes: “A subtle and very effective form of censorship is the silent

 treatment. “It is permitted,” writes St. Augustine, “for the purpose of building up religion in

 things pertaining to piety, when necessary, to conceal whatever appears to need concealing; but it

 is not permitted to lie, of course, and so one may not conceal by way of lying.” Nibley then notes

 that: “The distinction is too fine, for silence can be very mendacious." 24 [Emphasis added.]

 According to BYU, “This series [Nibley’s articles on controlling the past by manipulating




 22
    Dean R. Brimhall letter to E.A. Rusk, 20 August 1938. University of Utah archives.
 23
    "Ward Teachers' Message for June.” Improvement Era 48 (June 1945)
 24
    Hugh Nibley, Ph.D., “The Way of the Church Part 1: Controlling the Past -III Censorship”
 Improvement Era 58 (Mar. 1955), 152-4, 166, 168.
                                                   30
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 history] was to have been continued in the correlated Era but was abandoned, later published

 only in an academic journal. 25

 63.    After recovering Smith’s Egyptian papyrus in 1966, COP appoints Nibley to defend

 Smith’s Book of Abraham translation. 26 (See ¶¶73-74, photo of papyrus and resulting Facsimile

 No. 1, below.)

 64.    In the late 1950s based on a seven-million-dollar surplus, Henry D. Moyle a member of

 the Quorum of the Twelve Apostles, starts to purchase large parcels of land for the Church and a

 new property division of the Church is founded (which has changed names over the decades).

 This occurs after the Church reported having a $7 million dollar tithing fund surplus. Doyle’s

 spending results in the Church becoming $8 million in debt soon thereafter.

 65.   From 1915 to 1959 Church leaders provide an accounting of tithing expenditures. From

 1960 onward they have not accounted re: tithing income or expenditures to their members.

 66.    In the 19th and early 20th Centuries, prior to the creation of Correlation in 1961,

 Defendant’s agents and Smith’s wife Emma wrote about his seer stone as the instrument used to

 create the Book of Mormon. Smith himself when asked about how the Book of Mormon was

 created replied only through “the gift and power of God.” Emma Hale Smith took her husband’s

 dictation first in February 1828, by mid-April Martin Harris acted as scribe. He described the

 plates lying on the table, wrapped in, or covered with a small tablecloth. Oliver Cowdery began

 as scribe in April 1829 after the above described period of quiescence.




 25
   https://nibley.lib.byu.edu/tag/the-church-history/ (Viewed January 14, 2021.)
 26
    Hugh Nibley, Ph.D. "Controlling the Past ," "Two Views of Church History, “The Improvement Era.,
 58 (Feb. 1955), 86-7, 104, 106-7.
                                                  31
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 67.     The following table sets forth several of these early admissions. By contrast, Plaintiffs,

 and most all potential members of the class were all born or began to read after Correlation was

 created and have only learned what was in the correlated material that concealed or at least

 obfuscated the recently admitted fact that a seer stone was used to create the Book of Mormon.

       68. EARLY ADMISSIONS RE: SEER STONE IN BOOK OF MORMON CREATION
  YEAR          WHO                       STATEMENT                                PUBLICATION
  Circa         Joseph Knight, Sr.        According to several accounts, when      Joseph Knight Sr.,
  1835-47       Apparently helped         Joseph used his hat, he began the        “Manuscript of the
                support Smith             process by placing the stone in the      History of Joseph
                financially while he      hat, in order to read the words that     Smith,” circa 1835–47,
                created the Book of       would appear on the stone. Joseph        CHL (Church History
                Mormon.                   then dictated the words he saw to        Library. Open Access
                                          his scribe. Joseph Knight Sr., who       unknown)
                                          provided financial support for
                                          Joseph Smith during the translation,
                                          recounted, “Now the way he
                                          translated was he put the urim
                                          and thummim [by which he meant
                                          stone] into his hat and Darkened his
                                          Eyes” so that he could see the
                                          words a sentence at a time.
  1870          Emma Hale Smith           "Now the first that my husband           Letter to Emma
                Bidamon                   translated was translated by the use     Pilgrim, March 27,
                                          of the Urim and Thummim, and that        1870.
                                          was the part that Martin Harris lost.
                                          After that he used a small stone, not
                                          exactly black, but it was rather a
                                          dark color. I cannot tell whether
                                          that account in the 'Times and
                                          Seasons' is correct or not because
                                          someone stole all my books and I
                                          have none to refer to at present. If I
                                          can find one that has that account I
                                          will tell you what is true and what is
                                          not."




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    YEAR             WHO                              STATEMENT                  PUBLICATION
  1870      Martin Harris reporting     Harris explained that Joseph Smith       Martin Harris,
            to Edward Stevenson,        “possessed a seer stone, by which        reported by Edward
            one of the LDS              he was enabled to translate as well      Stevenson to the
            Presidents of the           as from the Urim and Thummim,            editor, Deseret
            Quorum of the Seventy.      and for convenience he then used         Evening News,
            Member of the LDS           the seer stone. Harris explained that    December 13, 1881, p.
            Seventy from 1844 to        by the “aid of the seer stone,           4. (The interview
            1897.                       sentences would appear and were          occurred in 1870.)
                                        read by the Prophet and written by       Edward Stevenson,
                                        [Martin], and when finished he           “One of the Three
                                        would say, ‘Written,’ and if correctly   Witnesses: Incidents
                                        written, that sentence would             in the Life of Martin
                                        disappear and another appear in its      Harris,” Millennial Star
                                        place, but if not written correctly it   44, nos. 5–6 (Jan. 30
                                        remained until corrected.”               and Feb. 6, 1882): 78–
                                                                                 79, 86–87.
  1878      Orson Pratt, one of the     "At such times Joseph used the 'seer     Pratt, Orson, and
            original Twelve             stone' when inquiring of the Lord,       Joseph F. Smith.
            Mormon Apostles,            and receiving revelations…”              "Report of Elders
            and Joseph F. Smith                                                  Orson Pratt and
            nephew of founder                                                    Joseph F. Smith."
            Smith and 6th President                                              Millennial Star 40 (16
            of the Church                                                        December 1878): 787.
  1879      Emma Hale Smith             "In writing for your father I            Smith, Emma.
            Bidamon                     frequently wrote day after day,          Interview with her
                                        often sitting at the table close by      sone, Joseph Smith III.
                                        him, he sitting with his face buried     Saints' Herald 26 (1
                                        in his hat, with the stone in it, and    Oct. 1879): 289–90.
                                        dictating hour after hour with
                                        nothing between us. ...The plates
                                        often lay on the table without any
                                        attempt at concealment, wrapped
                                        in a small linen table-cloth, which I
                                        had given him to fold them in."
  1882      Martin Harris, Smith’s      Like Emma, Harris said that he sat        “One of the Three
            scribe before Harris lost   the table near Joseph and wrote          Witnesses: Incidents
            116 pages, as told to       down the words as Joseph dictated.       in the Life of Martin
            Edward Stevenson, who       He likewise mentioned the plates         Harris,” Millennial
            was one of the LDS          lying on the table, wrapped in, or       Star, Id.
            Presidents of the           covered with a small tablecloth.
            Quorum of the Seventy.
            And member of the
            seventy.

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     YEAR                WHO                         STATEMENT                       PUBLICATION
  1887         David Whitmer, one of    “Joseph Smith put the seer stone        "An Address to All
  Richmond     the original six foundersinto a hat, and put his face in the     Believers in Christ" by
  Missouri     of Mormonism. One of     hat, drawing it closely around his      David Whitmer.
               three witnesses who      face to exclude the light; and in the
               said he saw the gold     darkness the spiritual light would
               plates in a vision. Latershine. A piece of something
               Apostle and Counselor    resembling parchment would
               to Smith.                appear, and on that appeared the
                                        writing. One character at a time
                                        would appear, and under it was the
                                        interpretation in English. Brother
                                        Joseph would read off the English to
                                        Oliver Cowdery, who was his
                                        principal scribe, and when it was
                                        written down and repeated to
                                        Brother Joseph to see if it was
                                        correct, then it would disappear,
                                        and another character with the
                                        interpretation would appear.”
  1893         Edward Stevenson. One “Soon after Martin Harris returned         Reminiscences of
               of the LDS Presidents of from New York, he commenced to          Joseph, the Prophet,
               the Quorum of the        write for the Prophet while he          and the Coming Forth
               Seventy. Member of       translated from the gold plates.        of the Book of
               the LDS Seventy from     Martin often related to the writer      Mormon. Published by
               1844 to 1897.            the mode of translation. He said        the Author at SLC,
                                        that the Prophet possessed a seer       Utah
                                        stone as well as the Urim and
                                        Thummim, by means of which he
                                        could translate the characters.”
                                        (Kindle Locations 647-649).
  1907         George Q. Cannon, both “It was in the month of December,         George Q. Cannon.
               LDS Apostle in the       1827, when Joseph reached the           The Life of Joseph
               Quorum of the Twelve     house of Isaac Hale in Pennsylvania;    Smith, the Prophet. By
               and Counselor in the     and without delay he began his          George Q. Cannon,
               First Presidency         inspired work of translation by the     Second edition, Salt
                                        aid of the seer stones.” (Kindle        Lake City, Utah 1907
                                        Locations 554-555).


 69.     1959 is the last year COP reveals its annual income and expenses to LDS members. Upon

 information and belief since that date a representation at each April Conference has been made

 that: “In all material respects, contributions received, expenditures made, and assets of the

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 Church...have been recorded and administered in accordance with appropriate accounting

 practices, approved budgets, and Church policies and procedures.”

 70.   However, upon information and belief, there has been at least two instances (the same bad

 practice repeated) during the 21st Century where Defendant has concededly deviated materially,

 if not radically, from any appropriate accounting standards. At some point, Defendant’s

 investment firm, EPA had a practice of deleting receivables from COP. The amount of money

 involved is unknown but upon information and belief is at least a million dollars. That practice

 was called out by a former EPA employee in years prior to his second objection in October 2016

 and the worst practice appeared to be resolved for a while, but later the practice was reinstituted.

 71.    1961, COP creates a Correlation Committee or Department to ensure “purity of doctrine.”

 72.   1963 N. Eldon Tanner, a former Canadian businessman, is chosen as First Counselor in

 the First Presidency. Though not disclosed to the general membership, he enacts a principle of

 setting aside money from annual donations including member tithing for a rainy-day fund. Over

 the next two decades the church invests and grows exponentially. The Church expands its prior

 practice of buying land to become a major landholder in several states. It invests in commercial

 buildings and other profit making ventures. Defendant begins fostering a belief among lay

 members by secretly instructing the LDS local stake presidencies, ward bishopric members and

 counselors and branch presidents and mission presidents that church business profits are

 maintained separate from tithing donations, which are used solely for ecclesiastical purposes.

 73.    1966, assistant curator at the New York Metropolitan Museum of Art, Dr. Arthur Mace,

 locates the papyrus used as the source for Book of Abraham, Facsimile No. 1.




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 74.    The “Smith Papyrus,” is rediscovered at the New York Metropolitan Museum in 1966 by

 Dr. Arthur Mace. The sketched outline of a human head is drawn over the first figure on the left

 of the re-discovered papyrus used for Facsimile No. 1, depicted below. The underlying, black-

 skinned figure is interpreted by all Egyptologists as the jackal-headed Egyptian God Anubis, the

 same Egyptian god as figure no. 6 depicted in Book of Abraham. (Fasc. No. 3. ¶39 chart, above.)




             Papyrus Used as the Source for Facsimile No. 1 in the Book of Abraham.

  75.     The chart below compares Smith’s translation with that of Egyptologists.’




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 76.    Defendant acquires the papyrus fragments in 1967. Egyptologists confirm it is the

 Ptolemaic priest Hor’s funerary document. Mace characterizes Smith’s translation as “…a

 farrago of nonsense.” COP hires Hugh Nibley, student of ancient languages but non-

 Egyptologist, as their official apologist to refute all mainstream Egyptologists’ opinion that

 Smith’s translation is fraudulent.




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 77.     Among the fragments is one admitted as the source of Smith’s Facsimile No. 1 from

 Smith’s own Egyptian Alphabet and Grammar notes. 27 (See Exhibit No. 4 filed herewith,

 Smith’s Egyptian Grammar and Alphabet.)

 78.     Though Defendant does not make public an official translation, upon information and

 belief, by 1973 COP is presented with several Egyptologists’ translations of the key papyrus,

 including Henry L. F. Lutz and Leonard H. Lesko. Both identify it as the Egyptian Book of the

 Dead. Their reports are presented to Milton R. Hunter of the first Quorum of the Seventy, and

 Apostle Hugh B. Brown, and others. Both Hunter and Brown admit privately that the Book of

 Abraham was not what the Church claimed. Despite his initial skepticism about the helpfulness

 of the papyrus, Hugh Nibley was hired as the apologist for the Book of Abraham, writing

 prolifically of its defense.

 79.     In 1974 Dr. Reed Durham, then Director of the LDS Institute of Religion at the

 University of Utah, reveals to the Mormon History Association (a nonprofit association

 dedicated to the study of Mormon History and never mentioned in correlated LDS meetings or

 publications) that what had been previously identified by the Church as the “Masonic jewel of

 the Prophet Joseph Smith” was in reality a “Jupiter talisman,” a medallion containing magic and

 astrological signs. Emma reported on many occasions that her husband carried the talisman

 throughout his life and that it was in his pocket when he was assassinated in 1844. In astrology,

 Jupiter is associated with high positions, getting one’s own way, and all forms of status. Upon

 information and belief, the piece is located in COP’s archives. 28


 27
    Improvement Era, Feb. 1968, p. 40.
 28
    The piece shown below is one thought to be similar to Smith’s piece, showing only one side of the
 talisman. The sketch below shows markings similar to those believed to be on either side of the talisman.
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 80.   1977 an amendment is filed to COP’s Articles of Incorporation that gives COP the right to

 acquire, manage and dispose of assets without authority from its own Church members.

 81.   1972-1981, COP censors, and after nine years of Arrington’s frustration, demotes LDS

 Church Official Historian Leonard J. Arrington, who wants to publish “real” Church history.

 Arrington documents his struggles with Correlation and the LDS leaders (the Brethren), in his

 private journals which he kept from 1972-1997, some of which are published posthumously.

 82.     Arrington describes his experience with the LDS correlation process:

        With some amazement, Leonard recorded that the editors first used their own
        judgment regarding what to publish, but then submitted it to managing director
        Doyle Green to check He, in turn, worked through Correlation Committee review.
        If a disagreement then emerged, the proposed publication went to the Quorum of
        the Twelve, where Thomas Monson, Gordon Hinckley, and Boyd Packer made
        the ultimate decision. There were subjects the editors were not allowed to
        broach. 29


 29
   Leonard Arrington and the Writing of Mormon History, by Gregory A. Prince. University of Utah Press
 (May 30, 2016). Kindle location 4193.
                                                  39
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 83.       1981, LDS President Spencer W. Kimball proclaims the Three-Fold Mission of the

 Church in April General Conference. He outlines the three major elements of the mission or

 purpose of the Church to: proclaim the gospel, perfect the Saints, and redeem the dead.

 84.         1990s. Missionaries serving in this decade and beyond (post internet), are often

 confronted with the historical anomalies and misrepresentations identified in this case. When

 they are, and seek counsel from their leaders, they are told directly and explicitly by their leaders

 that those are anti-Mormon lies.

 85.       1997, COP-owned Ensign Peak Advisors is incorporated as a non-profit entity. Upon

 information and belief, billions of dollars of surplus tithing donations funds EPA. This fact is

 concealed from LDS members. (See Exhibit No. 5 to this Complaint, Declaration of former EPA

 employee David A. Nielsen, ¶5)

       86.      COP begins to use approximately $1billion annually of tithing principal for

             investments. 30

 87.       During the early 2000s (upon information and belief 2003-2012) the Church uses several

 billion dollars’ worth of tithing for profit-making entities, in contradiction to COP’s longstanding

 representations that tithing is used only for ecclesiastical purposes. During this time Defendant

 assures its members that no tithing has been used for Salt Lake’s City Creek Mall.

 88.         In 2012, COP amends and adds a disclaimer to its tithing forms. Those forms, both pre

 and post 2012, are depicted below. Fast offering donations are known to all LDS to be used to

 feed the poor at the local level. Thus, even with the disclaimer, the forms listing categories that

 the Brethren had historically said tithing was used for (and as of 2009 humanitarian aid) lead a


 30
      See last sentence of Ex. A to Declaration of David A. Nielsen, filed as Exhibit No. 5 to this Complaint.
                                                        40
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                                                                        229-230, 233, 237-238, 244-

 245, 258, 260, 239, 273, and 283-284), and as printed on the forms, are the only categories that

 their tithing is used for. Upon information and belief, not until late 2020-21, after news of the

 whistleblower complaint filing in December 2019, did COP clearly disclose that tithing is used

 to fund commercial projects. And even then, upon information and belief that disclosure was not

 in local meetings or conference but in a news report.




                                                                                      31




 31
   The 2012 Disclaimer (form on the right) states: “Though reasonable efforts will be made globally to
 use donations as designated, all donations become the Church’s property and will be used at the church
 sole discretion to further the Church’s overall mission.” The prior disclaimer related only to the use of
 missionary funds.
                                                     41
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 89.    In 2019, David A. Nielsen, former senior portfolio manager of EPA and his brother Lars,

 file a Complaint with the IRS under the IRS Whistleblower Statute, alleging that COP misused

 several billion dollars of tithing principal commingled with earnings from EPA, which as of late

 2019 had accumulated a $128 billion dollar mostly liquid fund that IRS regulations require be

 used for charitable purposes.

 90.    Upon information and belief, at least during the 2010s, EPA had a practice of deleting

 receivables from COP. When that practice was called out by David Nielsen during his

 employment at EPA, his superiors corrected it for a time, but later Nielsen noticed that the

 practice had been reinstated.

 91.     Upon information and belief, over the past several decades since refusing to provide an

 accounting of income and expenses as of 1960, COP agents have assured LDS members every

 April during general conference that: “In all material respects, contributions received,

 expenditures made, and assets of the Church...have been recorded and administered in

 accordance with appropriate accounting practices, approved budgets, and Church policies and

 procedures.”

                                           III. PARTIES

 92.    Plaintiffs LAURA GADDY, LYLE SMALL and LEANNE HARRIS (hereinafter

 “Named Plaintiffs” or Plaintiffs) bring this Complaint on behalf of themselves individually and

 all those persons similarly situated who have devoted their lives to the LDS Church.

 93.    Named Plaintiffs’ allegations are based upon personal knowledge as to their own acts and

 experiences, and as to all other matters, are based upon information and belief, including former

 COP employee witness statements and other investigation conducted by their attorney,


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 94.    GADDY is a current resident of Dahlgren Naval Base, George County, Virginia.

 95.    SMALL is a resident of El Paso County, Colorado.

 96.    HARRIS is a resident of San Luis Obispo County, California.

 97.    COP is a Utah corporation sole, organized and operating since 1923. COP operates and

 advertises itself to the public as [the] “Church of Jesus Christ of Latter-day Saints.” ™

 98.    COP is a holding company that owns and/or controls various wholly owned subsidiaries

 and for-profit entities. COP’s belief system (mainstream Mormonism), and the entire corporate

 structure governing what is known as the LDS Church (its subdivisions, dbas, and subsidiaries,

 including but not limited to the Church Education System (“CES”), Correlation Department

 (“Correlation”), Intellectual Reserve Inc. (“IRI”) Deseret Management (“DMC”) Bonneville

 International Corporation (“BIC”) Ensign Peak Advisors (“EPA”), temples, local, national, and

 global leaders, et. al.), along with the Corporation of the Presiding Bishopric (“CPB”), an entity

 subject to the direction of COP and which holds the real property of COP, constitute the Mormon

 Corporate Empire (“Empire”).

 99.    COP oversees the Empire through a hierarchy of employees and agents described below,

 and is headquartered in Salt Lake City, Utah. The LDS Church claims a membership of more

 than sixteen million worldwide. COP has two primary functions: 1) to manage the tithing and

 other income received through activities performed within the Empire; and 2) to ensure that all

 instruction and education of local members, including young missionaries as well as potential

 members recruited by those missionaries, are taught tightly correlated LDS doctrine and history.

 100.   Administrators of COP’s Church Educational System (“CES”) work tightly with

 Correlation. Each member of the First Presidency (who are also part of the executive Correlation


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 Department) sit on the Board of Directors of CES. The most senior of the twelve apostles

 (currently Jeffrey Holland) also serves on the CES board.

 101.    COP operates meetinghouses or chapels across the United States and many other

 countries in the world, including one in Gastonia, North Carolina, where GADDY attended and

 local chapels nationwide attended by both SMALL and HARRIS. COP’s principal place of

 business is 50 E. North Temple, Floor 20, Salt Lake City, Utah.

 102.    It has come to our attention that Defendant COP has recently merged with the entity

 formerly known as CPB (Corporation of the Presiding Bishopric) who prior to the merger,

 changed its name to the Church of Jesus-Christ of Latter-day Saints. It has also come to our

 attention that there are dozens of entities created by Defendant whose names have no apparent

 affiliation with Defendant, and which entities act on its behalf. Therefore Plaintiffs have added

 Doe Defendants.

 103.    Ruling on class certification has yet to occur. Therefore, whenever allegations reference

 “Plaintiffs,” it includes all those similarly situated who could be part of the Class, if certified.

 104.    Occasionally Name Plaintiffs allege facts based upon information and belief. This occurs

 because most all evidence is peculiarly within the custody and control of COP, especially as to

 how its spends LDS members’ tithing and as to frequently altered online versions of its rhetoric.

                                IV. JURISDICTION AND VENUE

 105.    GADDY, SMALL and HARRIS bring their Complaint under federal diversity authority,

 28 U.S.C. §1332, as the parties are completely diverse in citizenship and the amount in

 controversy exceeds $75,000.00, exclusive of costs and interest. The total claims of the proposed

 class exceed $5 million dollars.


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 106.   The Court has subject matter jurisdiction over Cause of Action VI, as a federal question

 under the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §1964(c).

 107.   The Court has pendent jurisdiction over Causes of Action I-V and VII.

 108.   Venue is proper in this District under 28 U.S.C. § 1391(b). COP’s headquarters and

 principal place of business is located in Utah and a substantial portion of the acts and omissions

 alleged herein to have been committed occurred and/or were originated within this District.

        V. FACTUAL ALLEGATIONS—THE MORMON CORPORATE EMPIRE.

 109.   The Mormon Corporate Empire is composed of distinct levels of participation: A) Paid

 General Authorities; B) (Unpaid) Local Leadership; C) the Educational Empire; and D) For-

 profit Business Entities.

        A) Paid General Authorities (GAs)

 110.    The Empire is led by fifteen apostles. Russell M. Nelson is the current president, sole

 officer, and shareholder of COP. The president selects two apostles as counselors. The three men

 function as the First Presidency, the governing body of the Empire. The Quorum of the Twelve

 Apostles (Q12) is the next highest-ranking governing body in the Empire, second only to the

 First Presidency. Together, the First Presidency and the Q12 are colloquially called “the

 Brethren,” and constitute the highest-ranking General Authorities (“GAs”).

 111.   Despite historic representations to its members that LDS clergy are unpaid (later qualified

 at times to limit the representation to local clergy) all GAs, including the Brethren and each

 member of the twelve quorums of the Seventy, receive a minimum six figure annual stipend and

 a million-dollar signing bonus, once they become a Seventy. Upon information and belief, the

 Brethren receive several times that amount.


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 112.   Upon information and belief, the Brethren have historically been involved in various

 businesses affiliated with the Empire, for which they receive passive income and other benefits.

 113.   GAs besides the Brethren include the president and two counselors in the Corporation of

 the Presiding Bishopric (“CPB”) which leads the Aaronic, or lesser priesthood as opposed to the

 Melchizedek or greater priesthood. CPB also manages and holds real estate owned by the

 Empire. The Seventies, of which as of April 2021, there are 99 General Authority Seventies and

 twelve quorums of Area Seventies. These quorums are spread out over global geographic areas.

 The first two quorums are considered GAs; the other ten are Area Seventies; upon information

 and belief, dozens of men compose each quorum.

 114.   The Council on the Disposition of Tithes (“CDT”) is comprised of the First Presidency,

 the Quorum of the Twelve Apostles (Q12), and the Presiding Bishopric (CPB). Every first Friday

 of December these men meet together to examine and approve the allocation of the Church’s

 funds from estimated tithes and offerings for the following year.




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    116.   PROFIT or BUSINESS SIDE OF THE MORMON CORPORATE EMPIRE*




  *Diagram published in the Arizona Republic circa 1991. The businessess listed 30 years agao
    have, upon information and belief, increased exponentially, especially real estate-related and
    financial investment companies. Beneficial Life Insurance (a division of Beneficial Financial
     Group) ceased writing insurance in 2009. According to the Declaration of David A. Nielsen
 (Exhibit No. 5 to this Complaint), COP used tithing from EPA in an attempt to bail the company
  out of financial distress. We can now assume per statements made in another case against COP,
   that all of these buinesses were intially funded with tithing surplus (exce-s over church related
 expenses) from LDS tithe payers. The buiness aspect means only that taxes are paid on the profit
                                  from these commmercial ventures.




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 118.   The Empire is organized at the local level by stakes, or districts, which in turn oversee

 respectively, several wards or branches; both are geographic units which are similar to a parish.

 A branch is a quantitatively smaller version of a ward within the mission district boundaries. A

 district is a numerically smaller stake, generally found in missions. All stake leaders are called to

 serve by GAs. Stake officers call bishops/branch presidents to serve in the wards/branches.

 119.   Each stake is a separate registered corporation sole under the North American Industry

 Classification System (NAICS). Historically, each stake had been considered a religious

 organization, while COP is listed as “other.” The bishopric or branch presidency (which is

 composed of a bishop or branch president and his two counselors) is the leader of the ward and is

 supported by a clerk and an executive secretary who respectively attend to the ward’s financial

 and administrative concerns. Primary among those duties is the collection of tithes.

 120.   Per COP directive, local unpaid leaders are subject to the direction of COP’s paid

 employee-leaders. COP provides correlated instructional materials and requires that the local

 leaders/teachers instruct members over whom they preside, teach solely from the contents of

 correlated manuals, “no outside sources” to be used. They also ensure that tithing and other

 money is collected from LDS members and remitted to COP. Local unpaid leaders cultivate

 commitments to free service by LDS members, whether at weekly meetings or as missionaries.

 121.   In addition to unpaid local leaders, mission presidents head the mission districts by

 supervising unpaid missionaries around the world. Mission presidents receive a generous annual

 living stipend and other benefits for their family. They are called to serve by GAs.

 122.   At the age of twelve, all LDS males are eligible to become members of the priesthood.

 No LDS females of any age are ordained to the priesthood but serve under its direction.


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 123.   The bishop and administrators, as agents but not employees of the COP, send the total

 amount of tithing collected to the COP, who returns only a tiny portion of what is collected to

 each local ward for its support and for local member needs. After Church operating expenses are

 paid, upon information and belief, excess tithing proceeds of up to approximately $1billion

 annually, have been deposited in EPA or a similar type fund since the early 2000s. These funds

 are used for investments and commercial projects to expand the Mormon Corporate Empire.

 124.   In or about 2016, COP secretly created thirteen LLC entities in the names of various COP

 employees. Combined, the thirteen companies owned stock valued at $32,769,914,000 as of

 2017. Each of the thirteen companies have domains hosted by the LDS Church servers, which

 also hosted LDS.org and Mormon.org. "All of them were registered on July 21, 2016." 32

               The Mormon Church Educational System-- CES and Correlation

 125.   The Mormon Church Educational System (CES) includes several institutions which

 provide religious and secular education for both LDS and unaffiliated students in elementary,

 secondary, and post-secondary institutions such as BYU campuses and the LDS Business

 College, as well as adult education and online programs. All religious instruction is carefully

 manipulated by limiting teaching materials, including Church history and information about

 Smith to that which is Correlation-approved. A uniform system of censorship is administered by

 the CES Board of Directors.




 32

 https://mormonleaks.io/wiki/index.php?title=Investment_Portfolios_Connected_to_the_Mormon_Chur
 ch


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 126.   Correlation’s executive committee consists of the three members of the First Presidency

 and the Q12, i.e., the Brethren, who have the final say on what is correlated and the substance of

 all rhetoric that is disseminated to the local members and missionaries. Under the direction of the

 Correlation’s Executive Committee, the CES Board and the Curriculum Department serving

 within CES, compiles the content of all COP’s official publications, including but not limited to

 what is taught at the local levels (stakes, wards, and branches), as well as the content of all

 missionary manuals and materials used to instruct the missionaries and in turn, used by those

 missionaries to recruit converts. In order to facilitate this function, the CES, as approved by

 Correlation, ensures that only correlated history is taught by all professional and local church

 leaders at all LDS institutions, schools, and conferences, including Sunday School, Relief

 Society (women’s organization), Aaronic and Melchizedek Priesthood (men’s organizations),

 Young Men, Young Women (teen organizations for each gender) and Primary (children’s

 organization), and speeches at General Conference (¶130, below.).

 127.   In 1961 Defendant created a Correlation Committee or Department (“Correlation”). COP

 claims that first among Correlation’s purposes is to ensure “purity of doctrine.” Correlation

 compiles, edits, and promulgates all information, not merely doctrine, but also historical

 religious facts material to the origin of the Church and its scriptures. Over the last half century or

 more, correlated materials were provided to unpaid teachers and administrators in charge of local

 wards or branches, as well as COP corporate leaders and paid employees. Under threat of job

 loss and/or excommunication, paid Correlation and/or Church Educational System (CES)

 employees and local leaders were required to teach only correlated materials to LDS members




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 and potential converts. Correlation also created missionary training materials used to teach

 young missionaries, who in turn, used the correlated material to teach potential converts.

 128.     For more than fifty years, Correlation has been the vehicle used to deliver COP’s

 correlated representations of Mormonism’s foundational history, important parts of this narrative

 identified in this complaint are not sincerely believed by the Brethren due to the contents of their

 archives. The story built around those representations is the traditional historical narrative. The

 Empire would not have grown as it has without worldwide promulgation of the correlated

 traditional historical narrative that excluded reference to the stones, artifacts, original

 manuscripts, documents, and other important items and information concealed by Defendant.

          i. Missionaries
 129.     Mormon/LDS missionaries are typically young men and women who are recruited

 directly from high school and are indoctrinated for two months by COP employees at a

 missionary training center (“MTC”). After completing the MTC training, they are sent for a

 period of 18-24 months to a particular mission. Mission districts are located in most countries in

 the world. There, the young missionaries recruit others to join the Church. Like local LDS

 leaders, missionaries are not paid. Additionally, and typically, either the missionary and/or their

 family must provide the missionary’s support for the duration of their mission. As of late 2012,

 the age to serve an LDS mission was lowered from 19 to 18 for men and 21 to 19 for women.

        ii General Conference

 130.     Twice a year in April and October, a world General Conference (“Conference”) is held at

 Temple Square in Salt Lake City (held today in the Conference Center adjacent to Temple

 Square), where the Brethren and various GAs speak. General Conference sessions are broadcast


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 live and either attended, watched via satellite, or more recently streamed live on the internet, by

 most all LDS worldwide. Sessions last several hours on each day of the chosen weekend.

 131.   At various times throughout the last half century and longer, the GAs have made

 statements which have become an oft-repeated precept among LDS followers to the effect that

 neither the prophet nor the Brethren, GAs, nor any of the LDS leaders will ever lead the

 members astray. This promise is initially instilled in young children’s minds through song and

 continues to be emphasized throughout LDS members’ lives. Plaintiffs sang the song “Follow

 the Prophet” (See ¶304 below.) This promise has been made by prominent leaders since the days

 of Mormon president, Brigham Young, and was repeated in Conference up through at least 2014.

 Additionally, GAs have reinforced and adopted as their own, all the writings of Smith.

 Specifically, they have represented both directly and by lack of disclaimer in canonized

 scripture, as in Smith’s translation of the Book of Abraham that his claims are “without error.”

 132.   LDS followers are encouraged to rely on the counsel of the Brethren, GAs, and local

 leaders. Before they became GAs, most COP leaders were businessmen or professionals in the

 areas such as law, business, organizational behavior, and medicine. Most all have no formal

 theological training other than LDS religion classes at LDS affiliated post-secondary institutions.

        D) Profit-Making Business Entities

        i. Deseret Management Corporation (“DMC”)

 133.   Deseret Management Corporation is a private asset management holding company of for-

 profit businesses owned by COP and an integral part of the Empire. DMC's Board of Directors

 includes the First Presidency, and upon information and belief, three rotating members of the

 Quorum, and the Corporation of the Presiding Bishopric of the (“CPB”).


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 134.   Bonneville International Corporation (“BIC”) is a media broadcasting corporation and

 wholly owned subsidiary of the COP through its for-profit subsidiary, DMC. It began as a radio

 and TV network. It now owns over a dozen stations in major markets and an NBC affiliate

 television station in its home market; it also manages additional radio stations. In 1980 BIC

 formed Bonneville Communications Corporation, primarily to broadcast General Conference.

 135.   Deseret Book (“DB”) is a for-profit Utah corporation and wholly owned subsidiary of

 DMC. It sells its publications through catalogs, e-mail, and the DeseretBook.com website. All

 publications sold are COP-approved through Correlation.

 136.   Deseret News Publishing (“DNP”) is a 1931 for-profit Utah corporation that publishes

 the Deseret News, one of two major Utah-based newspapers circulating in Salt Lake City, Utah.

 137.   Deseret Digital Media (DDM) develops and manages the many websites owned by COP.

        ii Intellectual Reserve, Inc. (“IRI”)

 138.   Intellectual Reserve, Inc., as both a corporate subsidiary and a dba of COP, is subject to

 the oversight of Correlation. IRI owns COP’s copyrights and trademarks. Since its incorporation

 in 1997, it is often listed as publisher of correlated educational material.

            iii Ensign Peak Advisors (“EPA” or “EP”)

 139.   EPA is an asset and investment management firm created in 1997 which, upon

 information and belief, has accumulated profits from investing tithing, including tithing

 principal, to over $128+ billion as of 2019, in a mostly liquid fund used to finance COP for-

 profit businesses, including Salt Lake’s City Creek shopping Mall. It was also used to bail-out

 Beneficial Life Insurance Company, another for-profit COP affiliate, which as of 2009 has




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 ceased to write insurance policies.

      VI. ALLEGED FACTS APPLICABLE TO ALL PLAINTIFFS AND CLASS MEMBERS

 140.    GADDY, SMALL and HARRIS bring this putative Class Action Complaint against COP

 to obtain damages for themselves and similarly situated persons injured by COP’s “scheme or

 artifice to defraud” in promulgating an historical narrative that contains misrepresentations

 critical to the foundation, mission, purpose, and functional role of the LDS Church, which

 narrative, in material aspects, the Brethren in charge of Correlation do not sincerely believe. 33

 As part of that scheme, Defendant represented that tithing is used for religious purposes, without

 a full and fair disclosure that it had used tithing to grow a global financial empire at least since

 the 1970s.

 141.    Members of the current LDS First Presidency have all held top leadership positions in the

 Church since at least the mid-1980s and thus have spent decades directing Correlation. Russell

 M. Nelson and Dallin H. Oaks served as members of the Quorum of the Twelve Apostles since

 at least the mid-eighties. Henry B. Eyring initially worked as a CPB counselor, and later worked

 as part of the Quorum of the Twelve. Eyring has also spent much of his time as LDS

 Commissioner of Education for a total of twenty-five years, in three different time periods

 spanning from April 1985 to January 2005. He was also president of Defendant-owned Ricks

 College Rexburg, Idaho, from 1971 to 1977. Oaks was also the eighth president of BYU, from

 August 1971 to August 1980.



 33
    Throughout law and motion, COP has argued that these misrepresentations at issue are religious beliefs
 or doctrine. Plaintiff has argued that they are historic facts, though in a religious context. Whether
 considered fact or doctrine, Plaintiff alleges that at all relevant times, COP leaders did not believe the
 specifically identified representations at issue which they approved and promulgated via Correlation.
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 142.     The scheme also involves the historic concealment of stones, artifacts, documents,

 original manuscripts, and information from its members, despite promises that LDS leaders

 would never lead them astray.

 143.     By inviting Plaintiffs and others like them to trust the Brethren, Defendant created a duty

 to disclose Smith’s criminal and civil fraud (including secret adultery) history prior to entering

 into a bilateral ongoing contract with its members for payment of 10% of their income in

 exchange for a temple endowment (necessary for both mission service and temple marriage).

 144.     Below is a table of statements by the Brethren inviting the trust of its members. These are

 only those made relatively recently, many more have been made from the 19th Century onward.

        “WE WILL NEVER LEAD YOU ASTRAY,” INVITATION TO TRUST TABLE

  YEAR                      REPRESENTATIONS                            WHERE            WHO         LINK/SOURCE
  1972      Quoting President Heber J. Grant, Seventh president        April Gen.      Marion G.    https://www.church
            of the COJCOLDS: “Brethren, keep your eye on the           Conf. 1972      Romney,      ofjesuschrist.org/stu
                                                                                                    dy/general-
            President of this Church. If he tells you to do anything                   Q12          conference/1972/04
            and it is wrong and you do it, the Lord will bless you                                  /the-covenant-of-
            for it. But you don’t need to worry; the Lord will                                      the-
            never let his mouthpiece lead this people astray...”                                    priesthood?lang=en
                                                                                                    g
  1961,     Quoting President Harold B. Lee, Eleventh president        BYU             David B.     https://www.church
  1972,     of the COJCOLDS, who was quoting President Grant:          04/19/61 in     Haight,      ofjesuschrist.org/stu
                                                                                                    dy/general-
  1973      “The Lord will never let his mouthpiece lead this          Ensign          Assistant    conference/1973/10
  &         people astray.”                                            10/1972, p.7,   to the Q12   /you-are-
  1974                                                                 10/1973                      different?lang=eng
                                                                       General                      and
                                                                       Conference,                  https://www.church
                                                                                                    ofjesuschrist.org/stu
                                                                       and in the
                                                                                                    dy/ensign/1974/01/
                                                                       Ensign                       you-are-
                                                                       01/1974.                     different?lang=eng
  1974      “Our Responsibility to the Transgressor” “We are led       Spoken at       N. Eldon     https://www.church
            today by the Lord through a prophet of God,                October 1974    Tanner       ofjesuschrist.org/stu
                                                                                                    dy/general-
            President Spencer W. Kimball… If we will follow            General         Q12          conference/1974/10
            him, we cannot go astray.”                                 Conference                   /our-responsibility-
                                                                                                    to-the-
                                                                                                    transgressor?lang=e
                                                                                                    ng
  1976      “In closing, I leave you this one thought: When            BYU             LeGrand      https://speeches.byu
            Brother Marion G. Romney was called to be one of the       Devotional      Richards,    .edu/talks/legrand-
                                                                                                    richards/prophets-
            Assistants to the Twelve, President Grant said,                            Q12          scriptures/


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          “Marion, if you’ll follow the President of this       September
          Church, you’ll never go astray.”                      28, 1976

  YEAR                   REPRESENTATIONS                        WHERE           WHO         LINK/SOURCE
  Feb.    “From Fourteen Fundamentals of Following the          BYU             Ezra Taft   https://speeches.by
  26th    Prophet,” “The prophet will never lead the Church                     Benson      u.edu/talks/ezra-
                                                                                            taft-
  1980    astray.”                                                              Q12         benson/fourteen-
                                                                                            fundamentals-
                                                                                            following-prophet/
  Dec.    “Let us follow them [the LDS prophets] and avoid      Church          Mark E.
  12th    being led astray.”                                    (Deseret)       Peter-      Church (Deseret)
                                                                                            News, p.16
  1981                                                          News, p.16      son Q12
  1960    “Opposition to the Work of God.” Assay quoting        Conference      Carlos E.   https://www.church
  &       Heber J. Grant, quoted by Marion G. Romney: “The      and Conf        Asay,       ofjesuschrist.org/stu
                                                                                            dy/general-
  1981    Lord will never let his mouthpiece lead the people    Report Oct.     Presi-      conference/1981/10
          astray.”                                              1960, p. 78.    dency of    /opposition-to-the-
                                                                Ensign Nov.     the 1st Q   work-of-
                                                                1981,           of the      god?lang=eng
                                                                                seventy.

  1964    “The Place of the Living Prophet, Seer, and           “Address to     Harold B.   “Address to
  &       Revelator.” “...here in 1964 we have a mouth- piece   Religious       Lee, 11th   Religious
                                                                                            Educators,” 7/8/196
  1982    to whom God is revealing his mind and will. God       Educators,”     President   4 in Charge to
          will never permit him to lead us astray.”             07/08/64, by    of Church   Religious Educators,
                                                                the                         2nd ed. SLC: CES,
                                                                COJCOLDS                    1982 p. 112
  1987    “Neither the Pres. of the Church, nor the 1st         “Follow the     L. Aldin    https://www.church
          Presidency, nor the united voice of the 1st           Brethren,”      Porter,     ofjesuschrist.org/stu
                                                                                            dy/general-
          Presidency and the Twelve will ever lead the Saints   Oct. 1987       Presidenc   conference/1987/10
          astray.”                                              Gen. Conf.      y of the    /follow-the-
                                                                                Seventy     brethren?lang=eng
  Feb.    “But We Heeded Them Not” “The united voice of         BYU Speech      L. Aldin    https://speeches.by
  14th    the First Presidency and the Twelve will never,                       Porter      u.edu/talks/l-aldin-
                                                                                            porter/heeded-
  1995    never, never lead us astray.”                                         Presidenc   them-not/
                                                                                y of the
                                                                                Seventy.
  March   “You keep your eyes riveted on the First              BYU “When       M.          https://speeches.byu
  12,     Presidency and the Quorum of the Twelve               Shall These     Russell     .edu/talks/m-russell-
                                                                                            ballard/shall-things/
  1996    Apostles. We will not lead you astray. We cannot.”    Things Be?”     Ballard     Also published the
  And                                                           & New Era       Q12         following year in:
  Nov.,                                                         “How to Find                https://www.church
  1997                                                          Safety &                    ofjesuschrist.org/stu
                                                                Peace.”                     dy/new-
                                                                                            era/1997/11/how-
                                                                11/1997
                                                                                            to-find-safety-and-
                                                                                            peace?lang=eng
  April   “I give you my solemn testimony that this Church      “Stand True     Gordon B.   https://www.church
  1996    will never be led astray.”                            & Faithful,”    Hinckley    ofjesuschrist.org/stu
                                                                                            dy/general-
                                                                April 1996      15th        conference/1996/04
                                                                Gen. Conf.      President   /stand-true-and-
                                                                                of the      faithful?lang=eng
                                                                                Church.

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  YEAR                       REPRESENTATIONS                             WHERE            WHO           LINK/SOURCE
  Oct. &    “But if we listen to the voice of the Lord through His       Delivered        Virginia      https://www.church
  Nov.,     living prophet and follow his counsel, we will never         live at Oct.     U. Jensen,    ofjesuschrist.org/stu
                                                                                                        dy/general-
  1998      go astray… The Lord has given some marvelous                 1998 General     first         conference/1998/10
            guarantees without any disclaimers. And this is one of       Conf. &          counselor     /come-listen-to-a-
            them: He will choose the prophet, and He will never          published in     to the 13th   prophets-
            let that man lead us astray. Imagine for a moment            the Nov.         Relief        voice?lang=eng
            the impact of that promise. There is at least one place      1998             Society       Published next
                                                                                                        month in:
            we can turn for pure, unpolluted guidance.”                  Ensign.          General
                                                                                                        https://www.church
                                                                                          President.    ofjesuschrist.org/stu
                                                                                                        dy/ensign/1998/11/
                                                                                                        come-listen-to-a-
                                                                                                        prophets-
                                                                                                        voice?lang=eng
  2004      “We have a singular protection not enjoyed by the            BYU Idaho,       David E.      https://www.church
  live;     world in general. The prophet will never lead us             January 13,      Sorenson,     ofjesuschrist.org/stu
                                                                                                        dy/ensign/2007/09/
  later     astray. President Wilford Woodruff wrote: “The               2004, and        Member        priesthood-agency-
  printed   Lord will never permit me or any other man who               then             of the        and-black-
  in        stands as president of this Church to lead you               published in     Seventy       powder?lang=eng
  2007      astray. It is not in the program. It is not in the mind of   the 09/07
            God.”                                                        Ensign.
  2005      “The President of the Church will not lead the               “Called and      James E.      https://www.church
            people of the Church astray. It will never happen.”          Chosen,”         Faust, 2nd    ofjesuschrist.org/stu
                                                                                                        dy/general-
                                                                         10/05            Counselor     conference/2005/10
                                                                         General          in First      /called-and-
                                                                         Conference       Presi-        chosen?lang=eng
                                                                                          dency
  2007      Chapter 27: “Beware the Bitter Fruits of Apostasy.”          Sunday           Teachings     https://www.church
            From the Lie of Joseph Smith: “If we follow the              School           of the        ofjesuschrist.org/stu
                                                                                                        dy/manual/teaching
            prophets and apostles and the revelations of the             Manual           Prophets:     s-joseph-
            Church, we will not be led astray.” “William G.              Published by     Joseph        smith/chapter-
            Nelson reported: I have heard the Prophet speak in           TCOJCOLD         Smith         27?lang=eng
            public on many occasions. In one meeting I heard him         S © IRI,
            say: ‘I will give you a key that will never rust,—if you     2007, p. 324-
            will stay with the majority of the Twelve Apostles,          325.
            and the records of the Church, you will never be
            led astray.’ The history of the Church has proven this
            to be true.”
  2014      “Fourth: The prophet will never lead the Church              Lesson           Quoting       https://www.church
            astray.”                                                     twenty-nine      Pres. Ezra    ofjesuschrist.org/stu
                                                                                                        dy/manual/doctrine-
                                                                         D & C, 21        Taft          and-covenants-and-
                                                                         Intro.           Benson        church-history-
                                                                                                        seminary-teacher-
                                                                                                        manual-
                                                                                                        2014/section-
                                                                                                        01/lesson-
                                                                                                        29?lang=eng
  2014      “Stay in the Boat and Hold On!” “Recently, I spoke at        Delivered at     M Russell     https://www.church
            the new mission presidents’ seminar and counseled            Oct. 2014        Ballard,      ofjesuschrist.org/stu
                                                                                                        dy/general-
            these leaders: “Keep the eyes of the mission on the                           Q12           conference/2014/10

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          leaders of the Church. … We will not and …        General                  /stay-in-the-boat-
          cannot lead [you] astray.”                        Conference               and-hold-
                                                                                     on?lang=eng

 145.    Additionally, or in the alternative, the case is based on COP representations that tithing

 is used for church [reasonably interpreted as religious] purposes, when excess tithing has been

 used for commercial investment, acquisition, and development purposes for decades.

 146.   These misrepresentations and material omissions about Mormon history and the source of

 Mormon/LDS scripture, Smith’s criminal and civil fraud history, and misrepresentations and

 omissions regarding the use of tithing, constitute a scheme to defraud perpetrated by COP for

 generations upon unwitting lay LDS members, as well as potential converts, in particular those

 who whether due to their youth or potential convert status, had yet to fully commit to the Church.

 147.   Over the past approximately fifty years, representations of Smith translating directly from

 gold plates have been used in hundreds of publications and displayed in thousands of COP-

 owned edifices and in individual stake and ward/branch buildings at COP’s direction. Upon

 information and belief, during this period, and up until December 2017, COP has never

 commissioned let alone used artwork depicting Smith creating the Book of Mormon manuscript

 while peering at the brown stone in a hat—the same stone he admittedly used when treasure

 hunting, for which Neeley’s docket indicates he was convicted in 1826. (Exhibit No. 2)

 148.   In 2015, BYU assistant history professor and artist Arthur Sweat documented all of the

 paintings of the translation of the Book of Mormon that have ever been published in the

 Church’s Ensign magazine since its inception in 1971 through March 2014. Fifty-five times over

 that forty-three-year period, seventeen different images were used. Del Parson’s Joseph Smith

 Translating the Book of Mormon (also printed in the Gospel Art Kit and Preach My Gospel), was

 used fourteen times since January of 1997. Sweat notes that: “All uses are inconsistent with

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 documented Church history of the translation process.” In each of the seventeen Ensign images,

 Joseph Smith is shown looking into open plates (not closed or wrapped or absent plates). In

 eleven of the images Joseph Smith has his ﬁnger on the open plates, as though he is translating

 individual characters through intellectual interpretive effort and not through revelatory means

 through the Urim and Thummim, and that U&T was spectacles attached to a breastplate, not a

 stone. Only one painting in the forty-three years depicts Smith using a Urim and Thummim; this

 image was used only twice (once in November of 1988 and once in February of 1989).” 34

 149.   Smith originally allegedly translated 116 pages from the gold plates using the spectacles

 attached to the breastplate (U&T) but after his original scribe Martin Harris took the original

 pages to show his wife, she ether destroyed them, or they were lost. Between the loss of the 116

 pages in summer of 1828 and the rapid completion of the Book of Mormon in spring of 1829,

 Smith did not dictate or proceed with the “translation,” According to Richard Bushman during

 this period of quiescence it was as if Smith were waiting "for help or direction." In April 1829,

 Smith was joined by Oliver Cowdery a literate school teacher and distant relation who replaced

 Harris as scribe. The pace of the transcription then increased so dramatically that, within two

 months, the entire manuscript was completed (the 116 lost or destroyed pages was never re-

 created).

 150.   The interpreters—spectacles attached to breastplate (U&T) were not used after the 116

 pages were lost. Thus, all eyewitnesses write or say that the Book of Mormon manuscript that

 was eventually published was created by Smith dictating from a brown stone in the hat, gold


 34
   Anthony Sweat, "The Role of Art in Teaching Latter-day Saint History and Doctrine,"
 Religious Educator 16, no. 3 (October 2015): pp. 40–57.


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 151.   Montage of Representative Examples COP Commissioned Artwork Depicting Smith

              Translating Directly from Gold Plates used from 1971-to Present.




 152.   However, from the time of settlement in Utah and the Mormon corridor (southern

 California, Arizona, Idaho, and Nevada), the Brethren have had custody and control of the

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 153.     The opaque brown stone was donated by Brigham Young’s wife, Zina D. H. Young to

 the Church sometime between Brigham’s death in 1877 and Zina’s death in 1901. For all

 relevant time periods, i.e. during the lives of Plaintiffs and the potential class, COP’s agents

 denied that it had the stone in its possession, or at the very least, failed to disclose that fact. 35

  154.     Then, on Aug. 4, 2015, it published a photograph of the stone, yet thereafter still did not

 mention the stone in General Conference or in Sunday School or weekly LDS Church meetings.

      Below is the photograph of the brown stone taken by COP and published on August 4, 2015.




 35
   For over a century COP has also had custody and control of Smith’s white seer stone, which he found
 in 1819, and also used in attempts to find buried treasure. According to witnesses, Smith also used this
 stone to assist in his Book of Abraham translation.


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 155.    For over a century COP has also had custody and control of Smith’s white seer stone,

 that Smith apparently found in 1819, and also used in attempts to find buried treasure.

 According to witnesses, Smith also used this stone to assist in his Book of Abraham translation.

 156.   Upon information and belief, since the 19th Century, no Mormon or LDS president has

 used a stone in his role as "prophet, seer, and revelator."




    In the 1835 edition of the Doctrine and Covenants, revelations were modified, and Smith
    appropriated the Biblical term Urim and Thummim (Hebrew: light and perfection) to give
  authenticity to the book. In correlated LDS history, the Urim and Thummim has always been
  described as spectacles attached to a breast plate, ostensibly found with the gold plates, where
  the spectacles are the Urim and Thummim. Below is COP commissioned art depicting Smith
                      translating via the spectacles attached to the breastplate.




  Unknown artist, commissioned by COP on unknown date. Smith using spectacles attached to a
      breastplate to translate the lost 116 pages of the Book of Mormon from gold plates.

 158.   In 2015 two BYU history and doctrine professors Michael Hubbard MacKay and Gerrit J.

 Dirkmaat, publish the book From Darkness unto Light: Joseph Smith’s Translation and


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 Publication of the Book of Mormon (Provo, UT: Religious Studies Center; Salt Lake City:

 Deseret Book, 2015). Their consensus is that Smith dictated the Book of Mormon while the

 brown stone revealed and photographed for the first time in 2015, was placed in his hat.

 159.    Sometime in May 2020, LDS President Russel M. Nelson reenacts the process used by

 Smith in creating the Book of Mormon. Nelson describes the process as what is known. He

 admits that the gold plates were “usually covered,” on a table during the process. In the video he

 conflates the use of a urim and thummim with a seer stone, but in Mormon history they are two

 different things.

 160.    None of the historical accounts mention a translation with open gold plates in Smith’s

 view. Emma claims they were on the table but covered with a cloth. “[S]ome accounts suggest

 that the plates were sometimes kept in a nearby box under the bed or even hidden in the

 Whitmers’ barn during translation.” 36

 161.    While Smith’s U&T has historically been described as spectacles attached to a breast

 plate, the seer stone is an opaque brown stone that Smith found in a neighbor’s well and had

 previously been used to attempt to locate buried treasure. President Nelson demonstrates the

 process as one where Smith peers into a hat which contains the U&T/seer stone(s), while the

 plates were on the table “usually covered.” President Nelson’s demonstration is the first ever by

 COP to depict Smith’s known use of [the brown] stone(s) buried in a hat to create the Book of

 Mormon. 37


 36
    John Hilton III, Author, Editor, et.al. The Coming Forth of the Book of Mormon: The 44th Annual
 BYU Sidney B. Sperry Symposium. Deseret Book Co. (January 1, 2015).
 37
    All About Mormons," is the 12th episode of the seventh season of the American animated television
 series South Park, and the 108th overall episode of the series. It was originally broadcast on Comedy
 Central in the United States on November 19, 2003. It depicts Smith’s process creating the Book of
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 162.    Set forth immediately below are key screen shots and verbatim dialogue from the video

 produced by COP featuring President Nelson first published on an unknown day in May of 2020:




 Mormon with both gold plates and a seer stone placed in a hat--Smith looking inside. However, there is
 no claim by either COP or any eyewitness to the process, including Smith, that he placed the plates and
 seer stone on top of the plates, in a hat.
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                             163.    The Book of Mormon Essay admits that:

 The other instrument, which Joseph Smith discovered in the ground years before he retrieved the

      gold plates, was a small oval stone, or “seer stone.” As a young man during the 1820s, Joseph

      Smith, like others in his day, used a seer stone to look for lost objects and buried treasure. As

      Joseph grew to understand his prophetic calling, he learned that he could use this stone for the

 higher purpose of translating scripture…Most of the accounts [all eyewitness accounts] speak of

       Joseph’s use of the interpreters or the seer stone.” 38 (Large photo of stone, above at ¶154.)




 38
    “Book of Mormon Translation,” Gospel Topics Essays (2016). (Last viewed July 28, 2019.)
 https://www.churchofjesuschrist.org/study/history/topics/book-of-mormon-translation?lang=eng
                                                     69
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 164.        Professor Sweat created artwork circa 2014 that, upon information and belief, has yet to

      appear in any Church correlated publications except for one published in the 2015 Religious

      Educator to which CES employees subscribe and another published in 2017 in BYU’s Daily

      Universe newspaper. 39 Prior to those times never had COP depicted “translation” like below.




 165.      At all relevant times, COP has concealed eyewitness accounts of Smith‘s creation of the

  Book of Mormon that tell of Smith using the seer stone, not a breast plate with spectacles. No

  correlated accounts tell of him translating directly from gold plates as depicted in all the artwork

  from 1971 through November 2017, with the exception of the spectacles affixed to a breastplate

  depiction, used twice in the Ensign magazine. And even that shows Smith looking through

  translucent spectacles at open, visible gold plates, not with his head buried in a hat, to translate.

 166.       Besides the brown and white stones, primary source journals and other documents

 brought by the pioneers across the plains to Deseret Territory that give first-hand accounts of

 important Mormon history have been secreted in the vault or Church archives since that time.



  See FN 39, above, re: Sweat article, in Religious Educator, supra., & Kelsey Johnson, BYU Daily
 39

 Universe, “Education Week: Artwork influences how members learn the gospel,” Aug. 21, 2017


                                                   70
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 167.    Exhibit No. 7 to the complaint is a compilation of specific representations of direct

 translation from gold plates for the half century spanning decades 1970 through 2020, inclusive.

 This list is not exhaustive, but it does include the following correlated publications: all Ensign

 magazines published during that time, Preach My Gospel (urged to be used by other than full

 time missionaries under the “Every member a missionary” catch phrase) published in 2004 and

 the Gospel Art Book published in 2009 to be used by local ward teachers, as well as various other

 instructional manuals for Sunday school, missionaries, CES students and screen shots from

 films. The table that is Ex. 7 to this 2AC depicts how consistently COP commissioned and

 promulgated art showing Smith translating directly from gold plates, but it is not all instances of

 that depiction. (See Table of Gold Translation Artwork, filed with this complaint as Exhibit 7.)

 168.    In 1970, some of Defendant’s secret archives were opened for the first time. In 1972,

 Leonard J. Arrington was appointed Church historian. Arrington wanted to write an accurate

 account of Church history. A comprehensive history of the Church was expected to have been

 published in 1980 under Mr. Arrington, for which sixteen scholars had been hired to write

 various parts. In 1981 Arrington began the task. However, his desire was thwarted, and writing

 projects quashed by the Brethren. Shortly thereafter, Arrington was removed as historian and a

 severely restricted access rule for scholars, including temple-worthy LDS Church scholars, was

 instituted.

 169.    The comprehensive history was delayed until 1992, when the Encyclopedia of

 Mormonism was published. After publication, esteemed University of Utah Philosophy Professor

 Sterling McMurrin, who served as U.S. Commissioner of Education under President John F.

 Kennedy, wrote: “[T] he work is a carefully sanitized partisan affair that, while having many


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 strengths, is quite uneven in quality and, though it appears to face many difficult issues head on,

 clearly omits, distorts, and compromises wherever necessary to advance and protect a positive

 image of Mormons, Mormonism and the Church.” 40

 170.   Arrington lamented the suppression and lack of access to “real” church history by the

 Brethren-directed Correlation. Arrington biographers and his private journals, which he kept

 from 1972-1997, note how all writing had to be submitted to Correlation for their approval. He

 wrote that the Church was in possession of all diaries of leading Mormons yet would not allow

 them to be used or qualified historians to view them. He lamented the conflation of verifiable

 history with doctrine and missionary work. He wrote that some leaders did not want accurate

 history published. Listing prior LDS presidents and members of the Quorum of the Twelve, he

 wrote that LDS Presidents Ezra T. Benson, Thomas Monson, Gordon Hinckley, and Apostle

 Boyd Packer, made the ultimate decision about correlated materials and that there were subjects

 that the editors in the Church history department were not allowed to broach.

 171.   For example, the Journals of William Clayton, personal scribe to Joseph Smith, during

 the last two years of his life, have been published throughout the 20th Century, but the years 1843

 and 1844, the years in Nauvoo when he was Smith’s scribe, have been omitted.

 172.   By the mid-1880s the First Presidency had custody and control of Clayton’s journals.

 Nobody but the Brethren were allowed access to them. In 2010 as part of the JSP project the




 40
   McMurrin, Sterling M (1993), "'Toward Intellectual Anarchy,' review of Encyclopedia of Mormonism",
 Dialogue: A Journal of Mormon Thought, 26 (2), archived from the original on 2014-02-21, retrieved
 2014-02-03. https://en.wikipedia.org/wiki/Encyclopedia_of_Mormonism#cite_note-2 Viewed August 7,
 2021.
                                                 72
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 Church history library received the Nauvoo era minutes portion of the journals. Upon

 information and belief, JSP versions of the journals do not include all of Clayton’s entries.

 173.   From the 1960s a cohort of Mormon intellectuals searched for and discussed Mormon

 history. Independent publications such as Dialogue and Sunstone were written by liberal

 Mormons and denigrated by the Brethren, who admonished faithful LDS members not to attend

 symposia where such things were discussed. LDS followers were taught that: “When the prophet

 speaks, the debate is over,” and that “It’s wrong to criticize leaders of the Church, even if the

 criticism is true.” They were directed to read only from Church-approved sources, which did not

 include independently published journals. Meanwhile, COP continued to promise the Brethren

 would never lead members astray and to teach that Smith’s revelations were “without error.”

 174.    Since at least 1981, the three-fold mission of the Church as broadcast in Conference talks

 and written rhetoric has been to: proclaim the gospel, perfect the Saints, and redeem the dead. In

 or about 2009 a fourth mission was added: to care for the poor and needy. These are alternately

 labeled the purposes of the Church in the Official LDS Handbook published in 2010, section 2.2.

 175.   With the publication and rise of websites challenging its correlated history, LDS

 membership increase began to slow. In 2013, a non-commissioned survey is presented to the

 Brethren. The survey is a compilation of responses from approximately 3,000 Mormons who had

 become disaffected from the COJCOLDS. The LDS Personal Faith Crisis report (“LDSPFCR”)

 consensus response was that the Church had lied to them about its history. The report was not

 released to the public by its authors until about 2018, and then it was difficult to find. (Ex. No. 1)

 176.      Well after COP was presented with the LDSPFCR , it published the first essay on

 November 20, 2013, in a series of essays on its website: LDS.org., that, taken together,


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 eventually admitted many of its prior and ongoing misrepresentations about Church history that

 its leaders did not sincerely believe. The essays were not easily accessible, were not announced

 in biannual General Conference or in Sunday ward meetings. Publication of a new essay

 occurred every few months up through at least January of 2019 (and is believed to be ongoing).

 The essays were intentionally concealed on Defendant’s official website and unannounced to its

 lay members (and only belatedly to its local leaders) about Mormonism’s history, the character

 and activities of its founder, Joseph Smith. (See ¶180, Historian Snow’s statement, below.)

 177.   A letter sent to local Church leaders almost two years after the essays began to appear

 advised those leaders of the existence of the essays (few leaders had known of them before that),

 and that they had permission from the Brethren to refer to the essays if ward members had

 questions on historical issues, with no instruction to announce them in Sunday meetings.

 178.    Even later, the website finally noted that the essays had been approved by the Brethren.

 Prior to that time, some Mormon faithful who had stumbled upon them believed they were

 written by Anti-Mormons who hacked LDS.org, the prior official website of the Church. 41

 Defendant consciously concealed the very existence of the essays. To this day, it has yet to

 announce them in General Conference or, upon information and belief, direct local leaders to do

 so in Sunday meetings.

 179.   Steven Snow, attorney, and official COP historian from 2012 until 2019, admitted that

 the internet had forced the Church to become more transparent with their history and that the




 41
   In 2019 COP began transferring all data from its official website, www.LDS.org to a newly purchased
 domain, which is now its official website: www.churchofjesuschrist.org.
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 essays were released slowly without fanfare [no announcement in Conference or ward meetings]

 in order to “inoculate” LDS members. The transcript of the audio circa 2016, is set forth below.

 180.

  TRANSCRIPT OF AUDIO by LDS HISTORIAN STEVEN SNOW SPEAKING TO CES
            EMPLOYEES on unknown date re: COP’S DELIBERATE
                 CONCEALMENT OF LDS GOSPEL ESSAYS

 https://www.mormonstories.org/podcast/elder-steven-e-snow-lds-gospel-topics-essays-not-advertisex/ (viewed
 January 4, 2019.) Audio link to Snow’s statement is here: https://clyp.it/gq0cdhf1#.

 Transcript of audio:

        ...We are in the process of letting leaders, stake presidents and bishops know
        about them [the essays] so they can be a resource in the event that some of their
        members are having questions or challenges about those issues. “Book of
        Abraham” essay was just released in July, that’s the most recent of the nine essays
        that have been published on-line. I think it’d be helpful to know how we chose to
        roll those out. It was a soft roll out. There wasn’t an announcement saying, “You
        can go to this website to learn everything weird about the Mormon church you
        ever wanted to learn.” (Laughter from the audience) But yet we had a lot of
        people struggling with some of these issues. We were loosing [sic] young people
        particularly. And we felt we owed a safe place for people to go to get these
        answered. So, they were deliberately kind of placed in an existing database, so
        they wouldn’t …. You know, 90% of the church probably couldn’t care less, they
        don’t worry about such things. But we do have some folks who are on-line and we
        felt like they needed a safe place to go to get answers if they had questions. So I
        don’t think you are gonna [sic] see a well publicised [sic] campaign to tell you to
        go to these sites. But we just, you know, the people that are interested seem to
        kind of pass the word amongst themselves. And the only other thing is that
        leaders now will have access to them. And I think the long-probably the greatest
        long-term benefit will be: These are answers that have been vetted by the,
        reviewed by the Quorum of the Twelve and the First Presidency and they have
        signed off on these answers.
        And now curriculum and seminaries and institute can safely weave these essays
        into a future curriculum to in a sense “inoculate” is a word I use quite a bit for
        the rising generation. So, they can learn a little bit about these things without
        being totally shocked when they hear them for the first time. Does that make
        sense? (“yeah” from someone in the audience) Yeah, OK. So, don’t expect a big
        campaign. I think there’s been a lot of interest within maybe a small percentage of


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        church members but my view is most of the church really is not troubled,
        members are not troubled by these.” [Emphasis Added].

 181.   Even now, many devout LDS followers are unaware of the essays’ existence, let alone

 the issues addressed in the essays and to this day are shocked when the Church history they had

 been taught their entire lives, which versions many of them had taught to others in the mission

 field, is discovered to be radically different from what is admitted in the essays.

 182.   LDS members had been taught that Smith claimed two personages: God the Father and

 his Son, Jesus Christ, had appeared to him and told him that all other “creeds” were false.

 183.   Correlated materials taught that Smith translated the Book of Mormon manuscript directly

 from writing inscribed on gold plates, at times wearing spectacles attached to a breastplate.

 184.   LDS had also been taught that the Hebrew prophet Abraham wrote the Book of Abraham,

 canonized LDS scripture, inscribing the Egyptian papyrus with his own hand. (Preface ¶37.)

 185.   According to Smith, figures depicted in the three facsimiles included within the Book of

 Abraham depicted Abraham interacting with Egyptian humans. The Book of Abraham revealed

 key cosmology and an explanation for a link between skin color and righteousness. The essay on

 the subject has recently admitted that these representations are not correct. For over 100 years,

 Egyptologists have labeled Smith’s translation of the papyri a fraud. (Ex. No. 3, NYT article.)

    VII. ALLEGATIONS OF SPECIFIC MISREPRESENTATIONS AND INTENT TO

    DECEIVE APPLICABLE TO NAMED PLAINTIFFS & ALL POTENTIAL CLASS

                                             MEMBERS

 186.   The following are specific examples of COP’s misrepresentations, including facts about

 tithing use and communications in both text and artwork representing events that the Brethren do

 not believe and/or misrepresentations with material omissions.
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 187.     Upon information and belief, there are many more which have occurred since 1923 and

 are still occurring. For all purposes, the following tell an incomplete or misleading story and are

 rhetoric that COP’s leaders do not believe because they have had stones, artifacts, original

 manuscripts, documents, and other important information intentionally concealed in their

 archives from which a reasonable person would infer a narrative of LDS history radically

 different from that promulgated by Correlation over the past half century or more.

 188.     COP Concealed Documents that Suggest Smith did not Believe his Own Story:


               a. From an 1833 affidavit by Peter Ingersoll, regarding how Smith conned
                  his family into believing that a load of white sand wrapped in his frock
                  was the rumored Canadian gold plates. Ingersoll wrote: As “’Now,’ said
                  Jo, ‘I have got the damned fools fixed, and will carry out the fun.’
                  Notwithstanding, he told me he had no such book, and believed there
                  never was any such book…*” The original affidavit is believed to be in
                  Defendant’s custody and has been for over 100 years.

               b. From Joseph Smith’s journal, June 30, 1843, p. 288, as recorded by
                  Willard Richards, Smith’s scribe: “[ Esquire] Walker was introduced [to
                  the congregation, which Joseph said,] as a body of people, [were] the
                  greatest dupes that ever were or he is not as big a rouge…as he is
                  supposed to be...” Smith’s journal is in Defendant’s custody and has
                  been for over one hundred years.


 189.     1842. Smith Claims Translation of B. of M. via Spectacles Affixed to a Breastplate

        Over a decade after the work was finished, in an ex post facto attempt to give the Book of

        Mormon credibility, Smith writes a letter to Chicago newspaper editor John Wentworth, in

        response to Wentworth’s inquiry re Mormon beliefs:

             With the records [gold plates] was found a curious instrument, which the
             ancients called "Urim and Thummim, “which consisted of two transparent stones
             set in the rim of a bow fastened to a breast plate. Through the medium of the
             Urim and Thummim I translated the record by the gift and power of God.


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        Upon information and belief, this is the first time this device is described and purported to

        have been used as a U&T method to translate the Book of Mormon from gold plates. That

        letter, later known as the Wentworth Letter, was published in the March 1, 1842, issue of

        the Church periodical Times and Seasons.

 190.     Upon information and belief, COP commissioned the painting below to illustrate what is

 described above and it was used just twice. However, there are no eyewitness, other than what

 Smith ostensibly reported to Wentworth more than a decade after the process was complete,

 about the spectacles attached to a breastplate manner of translation. Except for the 116 pages

 transcribed by Martin Harris, all eyewitnesses to the translation of what became the original

 complete Book of Mormon claim Smith used a small brown stone which he placed in the bottom

 of a hat in the manner that LDS President Nelson revealed and demonstrated in 2020.




 191.     Since the 20th Century, COP has Concealed the Fact that They Possess Primary Source

 Documents by Eyewitnesses to the Book of Mormon Creation Process that Contradict the

 Traditional Narrative. With the exception of brief excerpts from eyewitness in two 1990s Ensign

 articles containing misleading pictures of the translation as directly from gold plates, no stone in

 sight, and no reference to the description of the stone as brown or opaque, conflating it with the

 translucent stones found in the spectacles attached to a breastplate, or “divine instrumentalities,”


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 (see ¶¶225-226 below for details), copies, if not originals, of the following eyewitness statements

 and/or affidavits, have been concealed in LDS archives, and certainly not disclosed in correlated

 rhetoric: multiple statements of Smith’s wife Emma Hale, multiple statements and an affidavit of

 Martin Harris, statements and/or affidavits of David Whitmer including Whitmer’s “Address to

 all Believers,” (which was mentioned once in an Ensign article with art contradicting Whitmer’s

 description and instead, showing Smith translating from gold plates), Oliver Cowdery, Elizabeth

 Whitmer Cowdery, Joseph Knight Sr., and others, Mormon and not.

 192.    Various of these eyewitnesses tell that the stone used by Smith was a chocolate-colored

 or dark stone, about the size of a hen’s egg which fits the description of the stone revealed for the

 first time by Defendant in August 2015. Smith and his brother Alvin discovered the stone while

 employed to dig a well by their neighbor Willard Chase. Smith took possession of the stone and

 though Chase demanded its return, he refused. From 1822 through 1826, the year before he

 retrieved the gold plates, Smith used the stone in his attempts to locate buried treasure for a fee.

 193.    1877-1901 Mormon Leadership Obtains Custody of Smith’s Brown Seer Stone.

 The brown stone used to create the Book of Mormon has been in Defendant’s custody since after

 Brigham Young died in 1877, but before Zina D.H. (one of Young’s wives) died in 1901. 42 This

 statement was made along with the photo of the “never-before-seen” brown seer stone in August

 of 2015 (but COP did not announce either the fact they had had custody of the stone for over one




 42
    This statement was made along with the photo of the “never-before-seen” brown seer stone in August
 of 2015 (but COP did not announce either the fact they had had custody of the stone for over one hundred
 years or release a photograph of it in General Conference or in Sunday or other general membership
 meetings).
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 hundred years or release a photograph of it in General Conference or in Sunday or other general

 membership meetings).

 194.     COP conceals Smith’s original Book of Abraham and Egyptian Grammar and Alphabet

 Manuscripts.

 These documents have been in Defendant’s possession since 1858. They are important because

 in the left margins are Egyptian characters, lined up with an English translation. BYU scholars

 James Clark and Sidney Sperry convinced the assistant LDS Church historian for viewing access

 in 1933. In 1966 a microfilm copy was leaked to the Tanners (Christian researchers considered

 experts on Mormon history), who compared the original documents to the papyrus that was

 rediscovered in 1966. Upon information and belief, Defendant did not acknowledge or release a

 copy of Smith’s original Egyptian Grammar an Alphabet until October 29, 2018 in its JSP and

 even then it was not widely publicized. 43

 195.     In its Book of Abraham translation essay, Defendant recently admitted:

        None of the characters on the papyrus fragments mentioned Abraham’s name or any
        of the events recorded in the book of Abraham. Mormon and non-Mormon
        Egyptologistsagree that the characters on the fragments do not match the translation
        given in the book of Abraham… Scholars have identified the papyrus fragments as
        parts of standard funerary texts that were deposited with mummified bodies. These
        fragments date to between the third century B.C.E. and the first century C.E., long
        after Abraham lived. 44




 43
    Joseph Smith Papers, Revelations and Translations, V. 4: Book of Abraham and Related
 Manuscripts Hardcover – October 29, 2018. (See Exhibit No. 4 to this Complaint, full copy of Smith’s
 Egyptian Grammar and Alphabet manuscript, filed herewith.)
 44
    LDS Church Essay, “Translation and Historicity of the Book of Abraham” [Emphasis added.]
 https://www.lds.org/topics/translation-and-historicity-of-the-book-of-abraham (Viewed Dec. 12, 2019)
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 196.     2018, COP’s JSP Releases Documentation & Commentary re: Smith’s 1826 Bainbridge

 New York Fraud Trial. For all relevant times periods COP has denied that Smith was found

 guilty of criminal charges for attempting to find treasure through his peep stone. Fawn Brodie

 had first referenced the case in her 1945 biography of Smith, No Man Knows my History.

 Subsequently, COP denied the authenticity of the document finding Smith guilty. With reference

 to Judge Neely’s guilty pronouncement: "This record could not possibly have been made at the

 time as the case proceeded. It is patently a fabrication of unknown authorship and never in the

 court records at all." (Deseret News, Church Section, May 11, 1946, as quoted in A New Witness

 For Christ in America, by Francis W. Kirkham, Salt Lake City, 1959, Vol. 2, pp. 430-431).

 Thereafter, upon information and belief, and for all relevant times until late 2018, COP never

 mentioned in its correlated materials that Smith was even charged with such a crime.

 197.     In late 2018 COP’s JSP online releases the docket entry where the trial judge found

 Smith guilty and writes: “[t]he published docket entry indicates that Neely found JS guilty.” 45

 198.     The JSP 1826 trial commentary was published only online in 2018, and according to the

 JSP website, no corresponding hard volume is anticipated. 46 In the online commentary COP

 agent writers analyze the statute under which Smith was charged and concede that it covers what

 is today considered modern day fraud:

        [JS’s [Smith’s] arrest on charges of being a disorderly person came while he was
        still living with Stowell. New York’s disorderly persons statute, combined with an
        1825 justice of the peace manual, provides a general overview of how trials before

 45
    JSP Docket entry is Exhibit No. 5 to this complaint, filed herewith. “Appendix: Docket Entry, 20
 March 1826 [People v. JS]," p. [1], The Joseph Smith Papers, accessed March 5, 2021,
 https://www.josephsmithpapers.org/paper-summary/appendix-docket-entry-20-march-1826-people-v-
 js/1#full-transcript (last viewed Feb. 11, 2021).
 46
    https://www.josephsmithpapers.org/paper-summary/introduction-to-people-v-js/1#full-transcript (Last
 viewed Feb. 11, 2021).
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     justices of the peace in such cases were to proceed. The law identified ten categories
     of offenders, including “all persons pretending . . . to discover where lost goods may
     be found,” the provision under which JS [Smith] was most likely prosecuted. The
     use of the word “pretending” in the act reflected Enlightenment-era legal
     assumptions that the use of seer stones was categorically deceptive and
     fraudulent… 47
 199. Because there is no subsequent entry of sentencing in the county records, it is

 hypothesized that due to Smith’s young age of twenty, he was not sentenced, but “took leg bail”

 a practice whereby young convicts escaped the Court’s jurisdiction before sentencing.

 200.       For all times relevant to this case, i.e., from the date that Correlation was created through

 the 2018 JSP disclosure, COP concealed disclosure of the “guilty” documentation; and, upon

 information and belief had also avoided any reference to the 1826 Bainbridge fraud trial in any

 and all correlated instructional and missionary manuals.

 201.       1956. LDS President Joseph Fielding Smith Openly Denies the Seer Stone Translation.

 While concealing the brown stone in his office safe, Tenth president of the COJCOLDS, Joseph

 Fielding Smith declares: “...there is no authentic statement in the history of the Church which

 states that the use of such a stone was made in that [referring to the Book of Mormon] translation.

 The information is all hearsay, and personally, I do not believe that this stone was used for this

 purpose.” However, at the time this statement was made, the stone was secured and concealed in

 Joseph Fielding Smith’s private office vault. And, upon information and belief, COP had by that

 time acquired copies if not originals of multiple authentic eyewitness accounts of the process that

 referenced use of the brown stone in a hat.

 202.       1956. Apostle Bruce R. McConkie’s Popular Book Denies Seer Stone use in Translation.

 In 1956, LDS Apostle Bruce R. McConkie compiler, publishes his Doctrines of Salvation:


 47
      Id.
                                                     82
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 Sermons and Writings of Joseph Fielding Smith, 3 vols. It is published by COP and is still sold

 at Deseret Book Store, on Amazon.com and in many other places. In Vol. 3, pps 225–26 of that

 First Edition (p. 588 of the three volume, 691 page .pdf) McConkie writes, placing the statement:

 “SEER STONE NOT USED IN BOOK OF MORMON TRANSLATION” in capitalized letters

 and then quoting Fielding Smith, in pertinent part:

             SEER STONE NOT USED IN BOOK OF MORMON TRANSLATION
         …We have no record of the Prophet having the Urim and Thummim after the
         organization of the Church. Statements of translations by the Urim and Thummim
         after that date are evidently errors….The statement has been made that the Urim
         and Thummim was on the altar in the Manti Temple when that building was
         dedicated. The Urim and Thummim so spoken of, however, was the seer stone
         which was in the possession of the Prophet Joseph Smith in early days. This seer
         stone is now in the possession of the Church. 225. 47
         While the statement has been made by some writers that the Prophet Joseph Smith
         used a seer sone part of the time in his translating of the records, and information
         points to the fact that he did have in his possession such a stone, etc. there is no
         authentic statement in the history of the Church which states that the use of such a
         stone was used in that translation. The information is all hearsay and personally, I
         do not believe that this stone was used for this purpose…. 48
 203.   In the Doctrines of Salvation a “peep stone” used by a witness to the Book of Mormon is

 discounted as evil. The text reads: “Hiram Page, one of the witnesses of the Book of Mormon,

 secured a "peep stone" by means of which he claimed to receive revelation for the Church…The

 Prophet Joseph Smith had some difficulty in correcting this evil and composing the minds of the

 members of the Church.” 49




 48
    Bruce R. McConkie, Doctrines of Salvation. Sermons and Writings of Joseph Fielding Smith ©1954-
 1958 SLC: Bookcraft. (Original publisher that was acquired in 1999 by DMC for Deseret Book.) Upon
 information and belief, though published by Bookcraft, it was also sold by Deseret Book prior to
 acquisition. It remains for sale at Deseret Book as of August 20, 2021.
 49
    Id. p. 500.
                                                  83
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      204. Misrepresentations that COJOLDS has no paid Clergy.

 For the last several decades Defendant has represented that the church has no paid clergy.

 The following dialogue appears in an online, if not tangible form manual for LDS members

 that is still viewable today: “‘Did they also tell you that we have no professional clergy? All

 of us contribute our time, our talents, our means, and travel—all to help the work. And

 we’re not paid for it in money.’“ ‘They didn’t tell us any of that,’ said the father.” 50 This

 source appeared in response to a “paid clergy” search on the lds.org website redirected to

 the churchofjesuschrist.org website on February 6, 2021, thereby continuing to mislead

 those inquiring members and potential members who want to know the truth.

 205.     LDS Brethren and General Authorities are paid at least a six figure annual salary.

 However, LDS general authorities are paid six figures annually, payment issued from the COP.

 This fact was made public in 2017 documents leaked by Mormonleaks, showing apostles receive

 a six-figure annual stipend, including pensions when they retire as emeriti.

 206.     Upon information and belief, LDS corporate leaders, including members of the twelve

 quorums of Seventy, each receive million dollar signing bonuses upon accepting their positions.

 The bonus is structured in such a way that the recipients are subject to loss or repayment of the

 bonus should they become disaffected and leave their positions in the COJCOLDS. Thus COP

 makes certain that their leaders are invested in the fraudulent scheme and ensures those leaders’

 lifetime commitment to it.




 50
   https://www.churchofjesuschrist.org/study/manual/duties-and-blessings-of-the-priesthood-basic-
 manual-for-priesthood-holders-part-b/gospel-principles-and-doctrines/lesson-30-tithes-and-
 offerings?lang=eng&query=%22lay+clergy%22 (last viewed Feb. 6, 2021)
                                                   84
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 207.   For half a century, Temple Square Visitors Center Displays Plates but no Stone. By at

 least 1964, the Salt Lake Visitors Center(s)—there were two, were furnished with most of the

 same artifacts and paintings it used until December 29, 2019, when it was closed for

 refurbishing. During that time, upon information and belief, a replica of the gold plates was

 prominently displayed in the Visitors Center, but no stone was displayed. Additionally, in 2005

 COP’s history museum celebrated the 200th anniversary of founder Joseph Smith’s birth by

 displaying artifacts of his, including a replica of gold plates, yet no stone.




              Visitors Center Replica of Gold Plates. Photo taken in December 2019
                               Prior to Temple Square Refurbishing.

 208.   The following photograph appeared in the January 2002 Ensign p. 77, when Winter

 Olympics were being held in Salt Lake and Park City. It shows not only the plates replica, but on

 the wall behind it Del Parson’s painting depicting Smith translating directly from the plates, no




                                                   85
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 stone or hat in sight.




 209.    The brown seer stone was never displayed from at least 1964 until recently. Upon

 information and belief, it was first displayed at the Church History Museum located adjacent to

 Temple Square in late 2016 or early 2017. During that time, Salt Lake City Temple Square,

 which included the two visitors centers, had historically attracted 3-5 million visitors a year.

 210.    Between 1930-1965 Fielding Smith Conceals J. Smith’s Original First Vision Account.

 While serving as official Church historian, Apostle and later Tenth LDS President Joseph

 Fielding Smith, removes founder Joseph Smith’s original account of his 1820 First Vision from

 Smith’s ledger book kept in Fielding Smith’s office vault. This is the only handwritten account

 by Smith, dated the nearest in time to the alleged event, and the one where he noted that he saw

 Christ who forgave him of his sins. There is no mention in the handwritten account of Smith

 seeing two heavenly personages or of one telling him that all other creeds were false. The ripped

 out pages were taped back in later but remained undisclosed in correlated rhetoric for decades. In

 the April 1996 Ensign, COP references the 1832 original account by Smith. However, with this

 single exception, all other COP correlated rhetoric since 1961, including all text and artwork in

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 instructional and missionary manuals and thousands of pieces of replicated artwork displayed

 globally in LDS buildings, and provided in LDS official libraires used by local membership,

 describe and/or depict the correlated version of the First Vision, the version with two personages.

 211.     1970s-Present Day. COP Commissions Misleading Gold Plates Translation Artwork.

 Paintings of Smith translating directly from gold plates were commissioned during this time

 period by COP, who instructed artists to depict Smith’s Book of Mormon creation as one where

 he translated directly from gold plates. (See Table of Gold Plate Translation Art Exhibit No.7

 filed with this complaint.) COP also commissioned a single painting of Smith with the urim and

 thummim depicted as spectacles with a breastplate attached. (See ¶157.) During this time, upon

 information and belief, Defendant received at least one suggestion that the artwork should depict

 the brown seer stone and hat. That suggestion was rejected. 51

 212.     1978. Apostle Denies that the Church has Custody of the Seer Stone. In a conversation

 with Wesley P. Walters, pastor of the United Presbyterian Church in Marissa, Illinois, and Chris

 Vlachos in fall 1978, Presiding Bishop and Apostle LeGrand Richards denies that the Church has

 custody of Smith’s seer stone. 52 This conversation and Richards’ denial was widely

 communicated among LDS members and has been available online for a number of years.

        WALTERS: Well, I thought somebody said that Joseph Fielding had had Joseph
        Smith’s seer stone.
        RICHARDS: No. We don’t have that.
        WALTERS: You don’t have that?
        RICHARDS: No.
        WALTERS: Oh.

 51
    Upon information and belief, most if not all of the artists COP commissioned were unaware of any
 information that would have led them to believe that Smith used a brown stone in a hat to create the Book
 of Mormon. They too had been subjected to COP’s misleading propaganda and concealment of stones,
 artifacts, original manuscripts, documents, and information material to Mormon/LDS history.
 52
    https://thoughtsonthingsandstuff.com/the-legrand-richards-interview/ (Viewed Jan 22, 2021)
                                                    87
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        RICHARDS: We have got some of the early writings of the Prophet Joseph and things
        of that kind, and testimony of when Joseph Smith performed a plural marriage for
        them, but – things of that kind in the Historian’s office. But we have [unintelligible]
        church.
        VLACHOS: Is the seer stone in the historical department?
        RICHARDS: We don’t have a seer stone. That went back with the plates when
        [unintelligible]
        WALTERS: Oh! Okay, I hadn’t heard that. I see. I thought that somebody said that it
        was still out there somewhere.
        VLACHOS: Do you know what it looked like?
        RICHARDS: What?
        VLACHOS: Do you know what the stone looked like?
        RICHARDS: No. I’ve never seen it. And I don’t think there is any living man who has
        seen it.


 213.     Mid 1970s-1990s. Misleading First Vision Artwork Commissioned by COP Although

 most of the artwork is undated, upon information and belief, including information from a former

 COP employee, paintings of Smith’s First Vison where he sees two personages (in contradiction

 to Smith’s original handwritten account of that vision, which was concealed) were commissioned

 by COP who instructed artists to depict Smith seeing two personages as opposed to one, who

 was described by Smith as “the Lord,” in his 1832 (earliest) and only handwritten account.

 Subsequent versions were not in Smith’s hand and are words attributed to Smith, written by his

 scribes or are secondary sources.




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                     The First Vision, COP Commissioned Artwork Used Currently
                            Similar Portrayals Have Been Used For Decades
        https://www.churchofjesuschrist.org/media/image/the-first-vision-fe5db8d?lang=eng(Last viewed
                                               Feb. 22, 2021)
        Painting used in various Primary Manuals, Joseph Smith—History 1:14–20, and in the
             LDS Missionary Preparation Student Manual (Religion 130) © 2005, IRI p. 73.
                        It is used in the missionary book, Preach My Gospel, p. 37
        Similar art with two personages is included on average at least once per year in the Ensign
          magazine since 1971 throughout the present. The Ensign is the most widely circulated
           magazine for lay LDS, with an estimated one million subscribers at its peak. While
           recently COP has begun to include art that depicts only Smith’ reaction and not the
          appearing deity or deities, upon information and belief, there is no First Vision art in
        Ensign magazines depicting the First Vision with just one personage appearing to Smith as
        he described in his only handwritten, authenticated and most near in time to the purported
                                                event account.
                                   Painting by Del Parson, unknown date.


 214.     1981. LDS Apostle Urges CES Teachers to Deceive LDS Students. In a 1981 speech to

 CES teachers given at BYU, Apostle Boyd K Packer said: “Some things that are true are not very



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 useful.” And “We are required to tell the truth, but we are not required to tell the whole truth.” 53

 He continues: “Those who have carefully purged their work of any religious faith in the name of

 academic freedom or so-called honesty ought not expect to be accommodated in their researches

 or to be paid by the Church to do it.” 54

 215.    1982 Defendant writes that payment of a full tithe will ensure against Burning at the

 Second Coming of Christ. In January, 1982, Second Counselor in the First Presidency, Marion

 G. Romney writes in Defendant’s magazine, that: “Now, second, the payment of tithing is

 worthwhile as fire insurance.” He then quotes LDS scripture: “Now it is called today until the

 coming of the Son of Man, and verily it is a day of sacrifice, and a day for the tithing of my

 people; for he that is tithed shall not be burned at his coming…” 55 This pronouncement leads to

 fear among the membership and an increase in tithing receipts for Defendant.

 216.    Circa 1984. Biography of Smith’s wife Emma Hale, by LDS Female Historians Banned.

 Mormon Enigma: Emma Hale Smith, originally published in 1984, exposes Emma Hale’s

 tumultuous marriage with Smith, and the horrors of her suffering during Smith’s extensive secret

 adulterous affairs and polygamy practice. The book accounts for Smith’s first wife’s relatively

 peaceful existence after leaving Mormonism and re-marrying. Banned by Deseret Book, LDS




 53
    Boyd K. Packer, “The Mantle is Far, Far Greater Than the Intellect,” 1981, BYU Studies, Vol. 21, No.
 3, pp. 259‐271) and given in an address to religious educators at a symposium on the Doctrine and
 Covenants and Church history, Brigham Young University, 22 August 1981.
 54
    Id., p. 12.
 55
    Marion G. Romney, 2nd Counselor in the First Presidency, “The Blessings of an Honest Tithe,” New
 Era, January, 1982, quoting D&C 64:23, et. seq. Available on line at:
 https://abn.churchofjesuschrist.org/study/new-era/1982/01/the-blessings-of-an-honest-tithe?lang=eng Last
 Viewed September 11, 2021.
                                                   90
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 217.    Apostle Dallin Oaks promises that he will do all in his power to suppress its circulation to

 LDS Church followers. 56 Historians such as Fawn Brodie and D. Michal Quinn have been

 excommunicated for writing accurate history about Smith and early Mormonism.

 218.    1985 LDS Apostle Maxwell Writes that Smith’s Teachings are without Error. COP

 Recently Admits Book of Abraham Translation Errors. Book Remains for Sale in COP

 Store. Apostle Neal A. Maxwell, writes: “There is no error in the revelations Joseph taught!"

 Sermons Not Spoken, Salt Lake City: Bookcraft (June 1, 1985, p. 6). 57

 Yet now, COP’s Book of Abraham Essay admits that:


         None of the characters on the papyrus fragments mentioned Abraham’s name or
         any of the events recorded in the Book of Abraham. Mormon and non-Mormon
         Egyptologists agree that the characters on the fragments do not match the
         translation given in the book of Abraham… Scholars have identified the papyrus
         fragments as parts of standard funerary texts that were deposited with
         mummified bodies. These fragments date to between the third century B.C.E.
         and the first century C.E., long after Abraham lived. 58


 56
    Oaks privately told author Linda King Newell: "My duty as a member of the Council of the Twelve is
 to protect what is most unique about the LDS church, namely the authority of priesthood, testimony
 regarding the restoration of the gospel, and the divine mission of the Savior. Everything may be sacrificed
 in order to maintain the integrity of those essential facts. Thus, if Mormon Enigma reveals information
 that is detrimental to the reputation of Joseph Smith, then it is necessary to try to limit its influence and
 that of its authors." (Speech by Linda King Newell, 1992 Sunstone Pacific Northwest Symposium, "The
 Biography of Emma Hale Smith".)
 57
    Apostle Neal A. Maxwell, this statement of belief was originally delivered in a speech at BYU entitled
 Meek and Lowly, and subsequently published by Deseret Book, Salt Lake City: 1987, pp. 105-106. See
 also, Sermons Not Spoken, where Apostle Maxwell claims that “There is no error in the revelations
 Joseph taught!" Salt Lake City: Bookcraft (June 1, 1985, p. 6.). Maxwell’s 1985 book, Sermons not
 Spoken, remains for sale on COP’s bookstore as an Ebook: https://deseretbook.com/p/sermons-not-
 spoken-neal-maxwell-78554?variant_id=20038-ebook as of Feb. 21, 2021. It is also sold on Amazon.com
 in both hard copy and Kindle Ebook edition, and on Barnes & Noble websites:
 https://www.barnesandnoble.com/w/sermons-not-spoken-neal-a-
 maxwell/1001609861;jsessionid=318511B55CA88C0F74C4AC631A462508.prodny_store01-
 atgap01?ean=9781606415306
 58
    “Translation and Historicity of the Book of Abraham,” Gospel Topics Essays (2016).
 https://www.churchofjesuschrist.org/manual/gospel-topics-essays/translation-and-historicity-of-the-book-
 of-abraham?lang=eng (Last Viewed 09/10/2019).
                                                      91
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 Maxwell’s 1985 book, Sermons not Spoken, remains for sale on COP’s bookstore as an Ebook:

 https://deseretbook.com/p/sermons-not-spoken-neal-maxwell-78554?variant_id=20038-ebook as

 of Feb. 21, 2021, and is also for sale on Amazon, with a kindle version as of 2009 and on Barnes

 and Noble websites.

 219.    1985 and 1987 LDS President Impliedly Denies Folk Magic in Smith’s life. In a 1985

 Ensign and subsequently in October General conference, Gordon B. Hinckley then LDS

 president, talks about folk magic in Mormon history and avoids addressing the issue directly;

 instead, he comments that just because it was prevalent in Smith’s time does not mean he

 participated. “Similarly, the fact that there were superstitions among the people in the days of

 Joseph Smith is no evidence whatever that the Church came of such superstition.” 59 These

 speeches were made after the Mark Hoffman Salamander letter was determined to have been

 forged. However, upon information and belief, COP has many documents in its archives,

 originals, and copies, attesting to Smith’s participation in the practice of folk magic, in addition

 to the Jupiter talisman described in along with various stones with what Smith and other early

 Mormons believed to be magical properties and other artifacts used by Smith.

 220.    1985 Hinckley admits GAs get living allowances, but they are not paid from tithing.

 "[t]he living allowances given the General Authorities, which are very modest in comparison

 with executive compensation in industry and the professions, come from this business income




 59
   Hinckley, Gordon B., at Oct., 1987, General Conference. This is also contained in a study manual
 available online: https://www.churchofjesuschrist.org/study/general-conference/1987/10/lord-increase-
 our-faith?lang=eng Viewed March 4, 2021.
                                                   92
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 and not from the tithing of the people." 60 However, upon information and belief, tithing is in fact

 the source of the these "living allowances".

 221.     1988 COP Material Omissions in Correlated Guide for Missionaries published under the

 COJCOLDS trademark. Upon information and belief, this guide was used up until a replacement

 was published in or about 2004. The guide contains a scripted dialogue meant to give

 missionaries examples of how to engage potential converts. Plaintiff LYLE SMALL used this

 Missionary Guide on his mission to Finland. The Guide states in pertinent part:

        Situation 2
        After a discussion about the Book of Mormon as scripture which is in addition to
        the Bible, “Mr. Peters [potential convert] then leans back in his chair with his
        hands behind his head. He is doing some deep thinking. He then brings his chair
        forward and says, "So what you're telling me is that a fourteen-year-old boy saw
        God the Father and Jesus Christ and then translated the Book of Mormon from
        some golden plates?" Sister Franks [LDS missionary] warmly replies, "That is
        exactly what we are saying." [Emphasis Added]. 61

 222.     Omitted in the information provided to both young missionaries and potential converts is

 the recent admission by LDS President Nelson that Smith used a stone in a hat to create the Book

 of Mormon, while the gold plates were “usually covered,” when Smith dictated. And that Smith

 himself describes the First Vision as one where he saw [only] the Lord, who forgave him of his

 sins. No comment that other creeds were false, and therefore no need for a restored church.

 223.     Upon information and belief, the above role-playing dialogue and teaching strategy

 remained in use until the publication of Preach My Gospel in 2004, when that publication

 replaced both the 1986 missionary scripted discussions and the 1988 Missionary Guide.




  Gordon B Hinckley, “Questions And Answers” Ensign, I5 {Dec. 1985) :50.
 60

  MISSIONARY GUIDE (Training for Missionaries) published by the COJCOLDS, ©1988, Intellectual
 61

 Reserve Inc. page 94.
                                                  93
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 224.    Apostle Oaks Privately Admits that even if Part of the Book of Mormon was Ripped off

 from Other Sources it is not Important. Editorial cartoonist Steve Benson met with Oaks and

 Maxell in the Church Office Building (“COB”) on Sept. 9, 1993 in Maxwell’s office behind

 closed doors. Evidence presented by Benson’s wife, Mary Ann, in a meeting with Apostles

 Dallin Oaks and Neal Maxwell that Solomon Spalding’s writing influenced the creator of the

 Book of Mormon, compelled Oaks to admit to the Bensons that a small part of the Book of

 Mormon may have been ripped off from other sources— but that even if that were the case, it

 was “not important.”

 225.    1993 62 & 1997 63 Ensigns Reference a Nondescript Stone with Obscure Misleading Art.

 In 1993, and 1997 Apostles Russell Nelson and Neal Maxwell, respectively, write articles for

 COP’s Ensign magazine. Each has a single refence to a stone or stones used by Smith. Neither

 article provides a description of the opaque brown stone which had been in the Church’s vault

 for approximately one hundred years by that time. Rather, the articles conflate the description of

 the stone with stones in spectacles “…two stones in silver bows—and these stones, fastened to a




 62
    Apostle Russell M. Nelson, “A Treasured Testament,” Ensign, July 1993, pp 61-65.
 https://www.churchofjesuschrist.org/study/ensign/1993/07/a-treasured-testament?lang=eng
 (viewed 02/26/2021). Note: the online version has no reference to the mart published in the hard copy.
 63
    Apostle Neal L. Maxwell, “By the Gift and Power of God,” Ensign, January 1997, pps 36-41.
 Misleading art is on page 38. This article was “Adapted from an address given 25 June 1992 at a seminar
 for new mission presidents, Missionary Training Center, Provo, Utah.”
 https://www.churchofjesuschrist.org/study/ensign/1997/01/by-the-gift-and-power-of-god?lang=eng
 Viewed Feb. 23, 2021. Note that in the online version no pictures are depicted; however, two works of art
 are described: Joseph Smith Allowed to Translate Again, by Clark Kelley Price and Joseph Smith
 Translating the Book of Mormon, by Del Parson.




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 breastplate, constituted what is called the Urim and Thummim.” (Nelson), or the Urim and

 Thummim and “divine instrumentalities,” (Maxwell).

 226.      Neither article contains a representation of the opaque egg-sized brown stone first

 photographed in 2015. Instead, artwork in both Nelson and Maxwell’s articles depict Smith

 translating directly from open gold plates, no stone, in sight. There is no mention that the gold

 plates were not directly used, as demonstrated by current LDS President Russell Nelson in May

 of 2020. Nor does the artwork depict a hat. Below is the photo placed in the middle of the 1993

 Ensign article, p. 62, showing open plates, no hat, or brown stone, by a then unattributed artist

 who was identified in the Oct. 2015 Ensign as Earl Jones.




        Photo of obscure art used in Nelson’s 1993 Ensign article, p. 62 by an unattributed artist.




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        Joseph Smith Translating the Book of Mormon, by Del Parson, circa 1996
        Photo used in Apostle Neal Maxwell’s 1997 Ensign article, pps. 36-41; art p.38


 227.     The majority of LDS members have always believed that Smith translated directly from

 gold plates. Based on anecdotal experience, for all relevant times, whenever the question of the

 U&T was raised in relation to translation it was always described as spectacles attached to a

 breastplate. Based on widespread anecdotal evidence, on the very few occasions that a seer stone

 was asked about in LDS meetings, the question was shut down and labeled as Anti-Mormon lies,

 or the local LDS teacher said that it had been confused with the spectacles and breast plate.

 228.     1993. Apostle Oaks Denies a Doctrine of ‘Lying for the Lord,’ September 1993, two

 months after Nelson’s article with the misleading artwork is published in the Ensign, Oaks

 claims: “I suppose most mortals employ some exaggeration and a little of what someone called

 “innocent after-mindedness.” But does this mean we condone deliberate and important

                                                 96
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 misrepresentations of fact in a circumstance in which they are clearly intended to be believed and

 relied upon? Never! Lying is sinful, as it has always been, and there is no exempt category for

 so-called “lying for the Lord.” Lying is simply outside the range of permitted or condoned

 conduct by Latter-day Saints—members or leaders.” 64

 229.       1994 COP Tithing Use Omission to Children in LDS Primary Manual

          “Tithing Is Used to Help Jesus Christ’s Church Grow
          Pictures and Discussion

          Display picture 3-26, Child Paying Tithing. Explain what happens to the tithing
          after the bishop receives it. It is counted, and the tithing is sent to Church
          headquarters. The leaders of the Church then use it in different ways to help the
          Church grow, such as building temples and meetinghouses, providing materials
          for us to study, and for seminaries to help us learn the gospel…
          Tithing money pays the expenses for building and maintaining meetinghouses,
          temples, and other Church buildings. Some tithing money pays for family history and
          temple work.
          Some tithing money is used to support missionary work.

          Explain that tithing also helps pay for many other things, such as seminary and
          institute programs. It is a privilege and blessing to pay tithing. We should feel
          good knowing that the money we give for tithing helps the Church.”

          The above is from “Lesson 42: Tithing,” Primary 3 (1994) pp. 208–12. 65



 230.       1994. Apostle Oaks’ Tithing Use Omissions in April General Conference.

          His Speech Remains Available on Official LDS Website as of 2021. Dallin Oaks said:

            The Lord has directed by revelation that the expenditure of his tithes will be
            directed by his servants, the First Presidency, the Quorum of the Twelve, and
            the Presiding Bishopric (see D&C 120). Those funds are spent to build and
            maintain temples and houses of worship, to conduct our worldwide missionary

  Dallin H. Oaks, “Gospel Teachings About Lying,” BYU Fireside Address, 12 Sept. 1993; Clark
 64

 Memorandum [J. Reuben Clark Law School, BYU] (Spring 1994).
 65
      https://www.churchofjesuschrist.org/manual/primary-3/lesson-42-tithing?lang=eng (last viewed 03/17/2021)

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           work, to translate and publish scriptures, to provide resources to redeem the
           dead, to fund religious education, and to support other Church purposes
           selected by the designated servants of the Lord.


 231.     1996/97 LDS Primary Manual Misrepresents Translation as Directly from Plates.

        Young LDS members, including GADDY who was age 10-11 in 1996/1997, were

        groomed to accept the gold plate translation story about Book of Mormon origins. Never

        since Correlation began, were primary children shown a picture of the brown stone used in

        a hat as demonstrated by President Nelson for the first time in May 2020. The publication

        reads in pertinent part:

        [The teacher is prompted to ask the children]: “What important work was Joseph Smith
        called to do?” [The manual prompts the teacher to]: Remind the children that the Book
        of Mormon is the translation of the golden plates... [And then, to] Discuss the many
        languages used throughout the world, and explain that the word translate means to
        change writing or speech from one language to another... [Ask the children] What was
        the language of the writings on the golden plates? (reformed Egyptian.) ...Show the
        picture of the golden plates, and discuss Joseph Smith’s task of translating the strange
        writings on the plates... [Tell the children that] At first Joseph spent a lot of time
        becoming familiar with the plates and the language in which they were
        written…[Emphasis added.]

        Primary 5 Doctrine and Covenants Church History Ages 8–11. From Lesson 6,

        “Joseph Smith Begins to Translate the Gold Plates,” Published by the COJCOLDS ©

        1996/1997, IRI. ages are not listed in this 1997 Primary Manual published by

        Defendant and available online.




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  232.      1997 LDS Gospel Art Kit—Church History Art Kit Misrepresents Translation Process




 The art above and description set forth below was used in teaching LDS members at the local

 level from date of publication for at least twenty years. In this gospel art kit under the picture of

 Joseph Translating from the Plates by Del Parson, is a summary that reads in pertinent part:

         When the Prophet Joseph Smith received the golden plates from the angel Moroni,
          he studied the strange language written on them. With Heavenly Father’s help,
         Joseph translated the writing on the golden plates into words he could understand.
        Oliver Cowdery helped Joseph by being his scribe. As Joseph read out loud from the
            plates, Oliver wrote down the words. When the translation into English was
        completed, the book was printed. It is called the Book of Mormon. [Emphasis added]

 Gospel Art Kit-Church History, © 1997, IRI, no. 32. Photo is of Del Parson’s art © 1996.

 233.     From 1993 to the present. Priesthood Manual Omissions re: Tithing Use.




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 The manual states: “The tithes and offerings we give to the Church are used for the Lord’s

 work.” The manual then lists the ways that tithing is used, none of which include commercial

 or investment purposes. 66

       Operate the missionary program. Build and maintain chapels, temples, and other
       buildings, Educate people in Church schools, seminaries, and institutes, Create, print,
       and distribute the scriptures, lesson manuals, and other Church materials, Further
       family history work, Provide for those in need, Meet the expenses of general
       conferences.

 The above is published by the COJCOLDS: Duties and Blessings of the Priesthood: Basic

 Manual for Priesthood Holders, Part B, Lesson 30 “Tithes and Offerings,” This quote is

 from the January 2000 edition; however, upon information and belief the same quote is

 contained in the earlier manual, first published in 1993.

234.    2001 President Thomas S. Monson Mispresents Book of Mormon Creation Process

 Speaking from the Hill Cumorah, New York, on satellite transmitted video, later published in

 the Ensign magazine. Monson reiterates what had been the official position for almost one

 hundred years concerning the location of the burial of the gold plates and the area where the

 two civilizations, the Nephites and Jaredites, died. What follows is a transcription of his words

 from that video. Bonneville Communications aired it between Conference sessions on 1–2

 April 2000.

          What a privilege to be here at the Hill Cumorah and to reflect on the momentous
           events that unfolded on September 22, 1827, when a plowboy prophet took a
          horse and wagon and, in the dark of night, rode to this hill, where he received an
          ancient record from the angel Moroni. In a remarkably short time, this untutored



66
  The link is accessible as of Feb. 12, 2021. https://www.churchofjesuschrist.org/study/manual/duties-
and-blessings-of-the-priesthood-basic-manual-for-priesthood-holders-part-b/gospel-principles-and-
doctrines/lesson-30-tithes-and-offerings?lang=eng
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          young man translated a record detailing 1,000 years of history and then prepared
                          the Book of Mormon for public distribution. 67

235.     Plaintiffs and those like them listened to General Conference twice a year, including the

programs in-between similar to Monson’s comments, over satellite broadcast into their home or,

in GADDY’S case, from Salt Lake City to the local ward chapel in North Carolina.

236.     2003 Reminder at October Conference that what Smith taught was without error.

President James Faust is referenced by Apostle Neal Maxwell in the Ensign issue reporting the

prior month’s conference speeches, quoting Smith: “I never told you that I was perfect—but

there is no error in the revelations that I have taught.” 68

237.     2003 LDS President Hinckley Mispresents Tithing Use at General Conference.

       At General Conference in April 2003, then LDS Prophet Gordon B. Hinckley announces

       with regard to City Creek Mall:

               We have felt it imperative to do something to revitalize this area. But I
               wish to give the entire Church the assurance that tithing funds have not
               and will not be used to acquire this property. Nor will they be used in
               developing it for commercial purposes. Funds for this have come and
               will come from those commercial entities owned by the Church. These
               resources, together with the earnings of invested reserve funds, will
               accommodate this program. 69

GADDY, SMALL and HARRIS and others like them heard or read this speech. The definition

of invested reserve funds was unknown to Named Plaintiffs and upon information and belief,

potential class members, who assumed that it meant interest on business profits. Plaintiffs had



67
   “Ancient record” and “record” refers to gold plates.
68
   Apostle Neal A. Maxwell, quoting James Faust, quoting from the book by Andrew F. Ehat and Lyndon
W. Cook, The Words of Joseph Smith, Bookcraft (1980) p. 369, as cited in Nov. 2003 Ensign, at. p. 100.
69
   President Gordon B. Hinckley, spoken at the Saturday Session at April 2003 General Conference,
subsequently printed in the May, 2003 Ensign, “The Condition of the Church, ”pps. 5-6


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always been taught that tithing was used for religious purposes. The entire import of Hinckley’s

statement did not make an impression on GADDY’S young teen mind until years later. (See

¶244 below.)

238.    2004 LDS Missionary Manual Omits Tithing is Used for Commercial Projects.

”Tithing funds are used to support the ongoing activities of the Church, such as building and

maintaining temples and meetinghouses, carrying the gospel to all the world, conducting temple

and family history work, and many other worldwide activities.” From Preach My Gospel, p. 79.

This statement is contained in the manual used by all LDS missionaries worldwide, serving from

2004 through 2018, when the manual was updated. It was used by GADDY on her mission.

239.   2004 Required Sunday School Manual about Smith’s Life Omits any Reference to Brown

Stone, Folk Magic, Criminal history, Civil Fraud, Adultery and Polygamy. The timeline of his

life excludes all such events. And there is no mention of any of the above in the narrative.

A student version of a Sunday School manual required to be used in all English speaking

words and branches throughout the Church is entitled Presidents of the Church. There is no

reference to anything other than gold plates to describe the process by which Smith created

the Book of Mormon. 70 There is no reference to a stone, let alone a brown stone, Smith’s

participation in folk magic, Smith’s criminal history and history of civil fraud violations, or

Smith’s extensive participation in adultery/polygamy while he was married to Emma Hale.

240.   2004 Guide to Missionary Service Misrepresents Smith’s First Vision Account. This

COP-correlated publication is provided to missionaries and sold at Desert Book. It depicts Smith


70
  “Chapter 1: Joseph Smith: First President of the Church,” Presidents of the Church Student Manual
(2004), pps. 1–19. https://www.churchofjesuschrist.org/manual/presidents-of-the-church-student-
manual/chapter-1?lang=eng (Accessed Feb. 25, 2021).
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experiencing a vision in a grove with two personages described (as opposed to just the Lord as

written in the 1832 account by Smith’s own hand, concealed for over half a century). This 2004

representation omits reference to the recently published version in the COP essay re: the First

Vision that incorporates Smith’s handwritten account and admits that he saw only the Lord (not

God the Father, as well) who forgave him of his sins (no mention of other creeds being false). 71

241.   In his original handwritten account, dated nearest to the 1820 event, Smith wrote:

         …and while in the attitude of calling upon the Lord, in the sixteenth year of my
         age, a pillar of light above the brightness of the sun at noonday came down
         from above and rested upon me. I was ﬁlled with the spirit of God, and the Lord
         opened the heavens upon me and I saw the Lord. And he spake unto me, saying,
         “Joseph, my son, thy sins are forgiven thee. 72

242.   2004 Missionary Guide Misrepresents Smith’s Translation. In Preach My Gospel, a

missionary guide required to be used for all LDS missionaries, COP depicts Smith appearing to

translate directly from gold plates, with his scribe. There is no mention of the seer stone used in

the Book of Mormon creation, nor that the original account of the First Vision written by Smith

in 1832 in his own hand contradicts the correlated version in significant specifics. This

missionary guide was used by GADDY and upon information and belief, others similarly

situated who served in 2004 and later in their LDS mission proselytizing efforts.




71
   “First Vision Accounts,” Gospel Topics Essays (2016) (Last viewed Oct. 2, 2019).
https://www.churchofjesuschrist.org/study/manual/gospel-topics-essays/first-vision-accounts?lang=eng
72
   https://www.churchofjesuschrist.org/manual/first-vision-accounts/1832-account?lang=eng
(Accessed February 2, 2021)
                                                 103
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       Preach My Gospel (a Guide to Missionary Service) © 2004 IRI, p. 38. Painting by Del
       Parson is also found in the Gospel Art Book © 2009, IRI at p. 92. The image was also
       published in the Oct. 2006 & Dec. 2012 issues of the Ensign Magazine, a COP/CES/CC
       correlated publication.

243.     2005 Missionary Preparation Student Manual Misrepresents 1st Vision and Translation

 This manual is used in an institute (college level) class by LDS students who plan to serve

 missions for the LDS Church. The manual contains the representations that during Smith’s

 First Vision he was visited by two personages (in contradiction to Smith’s original 1832

 handwritten account), and that the Book of Mormon was created by Smith translating directly

 from gold plates. Missionary Preparation (Student Manual, Religion 130) © 2005, IRI. The

 former is an omission, and the latter is a representation that COP leader/agents did not

 sincerely believe.




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         The First Vision, Contradicting what Smith Wrote in his 1832 Account.
           Printed in: Missionary Preparation Student Manual (Religion 130)
                         © 2005 Intellectual Reserve, Inc., p. 73.




         Joseph Smith Translating the Golden Plates. by Harold T. Kilbourn, 1978
       Located in the LDS Missionary Preparation Student Manual © 2005 IRI p. 74.


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244.      2006-2007 Tithing Misrepresentations in Defendant’s Publications:

        “The Church first announced three years ago it was planning to redevelop the downtown
        area to energize the economy of the city that houses its headquarters and to bolster the area
        near Temple Square. No tithing funds will be used in the redevelopment.” “Church
        Releases Plans for Downtown Salt Lake, Ensign, Dec. 2006, pp. 76–80.

        “Money for the project is not coming from LDS Church members' tithing donations. City
        Creek Center is being developed by Property Reserve Inc., the church's real-estate
        development arm, and its money comes from other real-estate ventures. Doug
        Smeath,” "Downtown renovation project", published in the COP-owned Deseret
        News March 27, 2007.” 73

245.      2007 Tithing and Fast Offering Pamphlet Material Omissions re Commercial Use

                                     How Are Tithing Funds Used?

     Tithing is the Lord’s law of finance for His Church. Tithing donations are always used for the
     Lord’s purposes, which He reveals through a council of His servants. Some of these uses are:
                 Building and maintaining temples, chapels, and other Church buildings.
                 Supporting the activities and operations of local Church congregations..

                Pamphlet published by IRI, © 2007, above language is found on p. 10.


Missionaries distribute this pamphlet. It was/is also placed in the entries to English speaking

local wards, accessible to visitors and members.

246.      2007 Sunday School Manual, Material Omissions about Key Mormon History Contained

in Manual Used Throughout LDS Wards. Also in Ensign, December, 2006.




73
  https://www.churchofjesuschrist.org/study/ensign/2006/12/news-of-the-church?lang=eng, and
https://www.deseret.com/2007/3/27/20009045/downtown-renovation-project respectively. (Both links last
viewed Feb. 16, 2021).


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 The manual is still available to order from the COP-owned distribution center on LDS.org and

 from Deseret Book. Chapter One reads:

          The First Vision: The Father and the Son Appear to Joseph Smith. ‘I saw two
        Personages, whose brightness and glory defy all description, standing above me
         in the air. One of them spake unto me, calling me by name and said, pointing to
         the other— ‘this is My Beloved Son. Hear Him!’ (p. 27), in direct contradiction
        to Smith’s original account and what is now admitted by COP in its essay on the
                                           first vision.

 a.     The traditional correlated version of Smith’s account of the first vision describes a dark

 presence prior to Smith seeing two personages who, after one introduced the other as his son,

 claims that Smith claimed to have heard the Son say that all the creeds were wrong, and he

 was to join none of them (contradicting Smith’s own handwritten account that he saw only the

 Lord, who forgave him of his sins). The manual states that Smith claimed he would translate

 the record of Ancient Americans inscribed on gold plates into what would be the Book of

 Mormon.

 b.     With re: the Egyptian papyri, the manual reads: “In 1835, the Prophet began translating

 the Book of Abraham from ancient Egyptian papyri that the Church had purchased. All these

 translations later became part of the Pearl of Great Price.” [Emphasis added] (p. 12). There is

 no disclaimer that Egyptologists opine the papyri are a common Egyptian funerary document

 having no relation to the Hebrew Prophet Abraham. Or that according to Egyptologists, LDS

 and non-LDS, the facsimiles do not depict Abraham or events in his life, as is now admitted by

 COP in its Book of Abraham essay. (¶218 above.)




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 c.      The manual is about “the life and ministry of Joseph Smith.” 74 The sole statement

 about Smith and polygamy is this one: “As commanded by God, he also taught the doctrine of

 plural marriage.” 75 There is no reference at all to the fact that “Joseph Smith married multiple

 wives,” as was documented in the 19th Century affidavits of Smith’s wives and an account

 kept by Mormon historian Andrew Jenson and, as admitted in the plural marriage essay many

 years later. 76

247.    2008-2012. Former CES Decades-long Employee, Ken Clark, Reveals COP-directed

CES Practice of “Lying for the Lord”: “…when the church or its leaders needed protection, it

was, and is, okay to fib, deceive, distort, inflate, minimize, exaggerate, prevaricate or lie.” 77

248.    2009 Omission in Gospel Art Book.

In this Art Book, the First Vision is depicted with two personages. The Gospel Art Book is

required to be used in all wards and branches worldwide. There is no disclaimer or other note

that Smith’s 1832 handwritten account of the 1820 event differs substantially in that he saw only

the Lord who forgave him of his sins, with no mention that all other creeds are wrong.




74
   Teachings of the Prophet Joseph Smith, p. iii. © 2007, IRI. No reference to the brown seer stone.
https://www.churchofjesuschrist.org/bc/content/shared/content/english/pdf/language-
materials/36481_eng.pdf?lang=eng (Viewed Dec. 15, 2020)
75
   Ibid., p. 22.
76
   “Plural Marriage in Kirtland and Nauvoo,” Gospel Topics Essays (2016). Viewed December 12, 2019
https://www.churchofjesuschrist.org/study/manual/gospel-topics-essays/plural-marriage-in-kirtland-and-
nauvoo?lang=eng (last viewed April 10, 2020)
77
   Ken Clark, “Lying for the Lord.” p. 40. Nov. 14, 2012. http://www.mormonthink.com/files/lying-for-
lord-ken-clark.pdf. Published in 2008, updated 2012.


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                  From Gospel Art Book © 2009 Intellectual Reserve, Inc. (IRI) p. 90.

       Smith is also depicted translating directly from gold plates, no seer stone in hat. Plaintiffs,

           as lay teachers, and missionaries often used the pictures in the Art Book to teach.




       Gospel Art Book © 2009, IRI at p. 92. The above image was also published in the October
         2006, and December 2012 issues of the Ensign Magazine, a COP/CES/CC correlated
                                             publication.
             See Exhibit No. 7 Table of Book of Mormon Direct Translation Art/decade.


249.     2010, Defendant announces again that Tithing will protect from burning. “One of our

brethren some years ago spoke of the payment of tithing as "fire insurance." Nonetheless, the




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word of the Lord is clear that those who do not keep the commandments and observe the laws of

God shall be burned at the time of His coming.” 78

250.   2010 Deseret News Advises Members to only use Church-approved Source Material.

In January of 2010, the COP owned Deseret News published an article titled “Use Proper

Sources,” that depicts a mother-daughter scene transparently designed to advocate continued

mind control over Mormon Church membership. The story in the article is of a mother struggling

to prepare a Church lesson, books strewn across her table. The daughter asks her mother why she

doesn’t just teach from the Church manual. "Why," she asks, "are you trying to boil down

information? An inspired Church-writing committee has already done that for you." Daughter

says that the manuals have been approved by the Quorum of the Twelve and the First

Presidency. Mom, apparently a little dense in this scenario, looks confused. Daughter goes on to

explain that all she needs to teach is in the approved manual which has been admittedly

‘correlated’ by the Brethren “… to ensure purity of doctrine, simplicity of materials, and control

by the priesthood.” Mother’s concern disappears from her brow. She is relieved that the work

(the thinking) has been done for her and she closes her books, shuts down her internet browser

and returns from her brief, thinking escape, to the land of the unquestioning. 79



78
   Gordon B. Hinckley, LDS apostle, counselor in 1st presidency, and 15th president of the Church in a
video dated after his 2008 death: https://www.churchofjesuschrist.org/media-library/video/2010-07-057-
those-tithed-not-burned-at-his-coming?lang=eng#d Viewed July 22, 2019.
79
   -----------, “Use Proper Sources,” Deseret News, Church News Section, Saturday Jan. 9, 2010 [no
author credited]. (Salt Lake City: Deseret News Pub., 2010) (Accessed 07/03/2010.)
https://www.thechurchnews.com/archives/2010-01-09/use-proper-sources-67734 (See Exhibit No. 6 to
this Complaint filed herewith for the complete text of the article.)




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251.     2005 & 2011 Re-edited Film about Joseph Smith Misrepresents Mormon/LDS Origins.

The edited and re-released version of the 2005 Film: Joseph Smith: Prophet of the Restoration is

an hour-long film produced by the LDS Motion Picture Studio which is, upon information and

belief, a subsidiary of BIC. These words appear at the beginning of the film: “The historical

events represented in this story are true and occurred on the American frontier from 1805-1845.”

The film shows: A) the 1820 first vision depicted as that version contradicting Smith’s 1832 only

handwritten account, depicting young Smith seeing two separate personages; and B)

the film depicts Smith appearing to translate directly from exposed gold plates, into what would

become the Book of Mormon, no brown seer stone or hat used or depicted.

252.     In both versions the film misrepresents Smith’s First Vision account as one where he saw

two personages, one of whom told him that he was to join none of the [existing] churches.




       Screen shot is at approximately 8:42. At approximately 8:44, after the depiction of the First

       Vision, Smith explains, “I was told, in the vision, to join none of the churches, but that the

       gospel in its fulness was about to be restored.”


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253.     The film also shows Smith retrieving golden plates and translating directly from them.

There is no reference to a seer stone placed in a hat used for the creation of the Book of Mormon.




       From the film: Joseph Smith, Prophet of the Restoration at approximately 18:50 minutes.
       This scene depicts Joseph translating directly from the gold plates.


254.     2011 Film Remains Available & is Widely Distributed with Misrepresentations Retained.

COP ran the film at the Joseph Smith Memorial Building adjacent to Salt Lake City Temple

Square through 2015. As of the date of the filing of the Original Complaint, Aug. 5, 2019, it was

available to watch in select LDS visitors' centers and online on the LDS.org website and free

through Amazon Prime Video. And yet, there is still no mention of a seer stone, let alone Smith

dictating from a stone placed in a hat as the method used to create the Book of Mormon.

255.     In the film Emma Hale is depicted as Smith’s only wife, when COP has known for over a

century but only recently admits in their buried essay about Smith’s polygamy that he had

dozens, at least one of which was only 14 years old at the time he became involved with her.




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“Plural Marriage in Kirtland and Nauvoo,” Gospel Topics Essays (2016). 80 According to

affidavits and documents prepared at the direction of Mormon leaders and LDS historian

Andrew Jenson in the 19th Century, yet concealed by COP, some of these young women had

taken into Smith’s household as orphans or workers.

256.   2011, Tithing Cited as Protection against Burning. In Apostle Russell M. Nelson’s April

2011 General Conference speech he states: “…[T]ithing will keep your name enrolled among the

people of God and protect you in “the day of vengeance and burning.” 81 His speech is printed in

the May, 2011 Ensign. Once again, there is fear among LDS members, including Plaintiffs

herein about the consequences of paying less than a full tithe. Tithing increases as a result of the

2010 and 2011 references to a full tithe as protection from burning at the Second Coming.

257.   2012 Apostle Oaks Misleads by stating that there is no Paid Clergy in the LDS Church.

In an April General Conference talk, “Sacrifice,” Apostle Dallin Oaks states: “We have no

professionally trained and salaried clergy in [T]he Church of Jesus Christ of Latter-day Saints.” 82

258.   2011-2012. Defendant’s Agent Denies Tithing used for Commercial Endeavors. Upon

information and belief, Keith McMullin, then a member of the Corporation of the Presiding

Bishopric (CPB), told Caroline Winter, a Bloomberg Businessweek writer, that “not one penny

of tithing goes to the church's for-profit endeavors.” 83 The statement was republished in the Salt


80
   “Plural Marriage in Kirtland and Nauvoo,” Gospel Topics Essays (2016).
https://www.churchofjesuschrist.org/study/manual/gospel-topics-essays/plural-marriage-in-kirtland-and-
nauvoo?lang=eng (last viewed April 10, 2020)
81
   Russell M. Nelson, “Face the Future with Faith,” Ensign, May, 2011, pp 34-35.
82
   https://www.lds.org/general-conference/2012/04/sacrifice?lang=eng (Accessed Jan. 9, 2017)
83
   At the time this statement was made, upon information and belief, Mr. McMullin had already issued
checks from EPA’s accumulation of tithing principal for City Creek Mall development and the Beneficial
Life Ins. Co. bailout. https://archive.sltrib.com/article.php?id=54478720&itype=cmsid
Upon information and belief, the above article, including the words of McMullin was relayed to writer
Caroline Winter, and first published in her blog of January 20, 2012. Upon information and belief,
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Lake Tribune on October 5, 2012. Authored by: Caroline Winter, Katherine Burton, Nick Tamasi

and Anita Kumar Bloomberg Businessweek.

259.   Defendant Sends Unwitting Missionaries into the Field to Participate in their Fraud.

Though it does not teach its missionaries about the substance of the essays admitting the stone in

the hat translation, the conflicting versions of the 1820 First Vision, the absence of reference to

the Hebrew Prophet in the Book of Abraham facsimiles or the fact that Smith had committed

adultery with dozens of women and later had a revelation about polygamy, upon information and

belief, in or about 2015-2016 COP establishes a Churchwide policy taught in the MTC that if an

investigator in the mission field asks questions about information in the gospel essays, the

missionary must direct that person to counsel with local LDS leaders; and, that the missionaries

should not worry, nor attempt to reconcile issues raised in the essays because they are “too

complicated.” Upon information and belief, as of 2020, the substance of the LDS essays are not

addressed in the MTC, leaving missionaries unprepared to deal with the issues raised by

investigators, and using them as unwitting instruments to perpetrate Defendant’s fraud.

260.   2014 Misleading Graphic with Material Omissions about COP Tithing Use

 From a section in the December 2014 Ensign entitled “What we Believe,” An unattributed

 author writes: “Tithing Helps Build up the Kingdom of God:” “Tithing allows the Church to

 build and maintain temples and meetinghouses, to support seminaries and institutes, to provide




McMullin made the “not one penny” comment to her in late May of the prior year, i.e., 2011. See
https://americanchurchstate.blogspot.com/ (last viewed August 18, 2021)
                                                  114
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 materials for Church members, and to sustain missionary, temple, and family history work.” 84

 There is no disclosure that tithing is used for commercial projects.




     “Tithing and other donations are given to the Lord through a member of your
     bishopric or branch presidency.



84
  Under a section of the COJCOLDS Ensign magazine labeled: What We Believe, “Tithing Helps Build
up the Kingdom of God,” The author is unattributed. December, 2014 Ensign, pp 8-9. Also online at:
https://www.churchofjesuschrist.org/study/ensign/2014/12/tithing-helps-build-up-the-kingdom-of-
god?lang=eng Viewed September 7, 2021.


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       •    Tithing funds are transmitted from wards and branches to Church headquarters,
            where a council that includes the First Presidency decides how these sacred funds
            will be used.

       •    Tithing pays for the cost of building and maintaining temples and meetinghouses.

       •    Tithing pays for the translation and publication of scriptures and lesson materials.

       •    Tithing helps pay for educating young members in Church schools, seminaries,
            and institutes of religion.”

261.       August 4, 2015, COP Releases for the First Time a Photo of Smith’s Brown Stone.

Ever since Correlation was created in 1961, and perhaps even prior to that time, COP had not

disclosed that it was in possession of the stone to Plaintiffs and LDS members. Apart from the

Brethren and selected inner circle COP authorities, nobody was allowed to see it or to see any of

the other stones that Smith used in his life. In August 2015, COP’s official publication, the

Joseph Smith Papers, releases this language with the photo: “never-before-seen photographs of a

seer stone Joseph Smith likely used in the translation of the Book of Mormon.” 85

262.       October 2015 Ensign Publishes Article re: Brown Stone; Adds Misleading Old Art.

 In this article, published just three months after COP published a “never-before-seen photo” of

 the brown stone, COP’s Ensign includes an article about the seer stone, but instead of showing

 Sweat’s stone in-hat artwork, or something similar in light of its recent brown stone disclosure,

 the article includes only the following four misleading photos of paintings of the Book of

 Mormon creation process: 86 Article is located at pps 49-55. All four photos are on p. 55 of the

 Oct. 2015 Ensign. (See the following page.)


85
   https://newsroom.churchofjesuschrist.org/article/church-history-department-releases-book-of-mormon-
printer-s-manuscript-in-new-book & https://www.josephsmithpapers.org/articles/news-2015 (Both online
articles last viewed November 17, 2021.) Brown Stone Photo is above at ¶ 139
86
   “Joseph the Seer,” by Richard E. Turley Jr., Assistant Church Historian and Recorder, et. al., . “The
historical record clarifies how Joseph Smith fulfilled his role as a seer and translated the Book of
                                                  116
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 In its description attending the four pieces of artwork, the Ensign disclaims the content by

 stating that these are “artists’ interpretations” of the event, when in fact COP commissioned

 each of these artists and instructed them to depict the process as one where Smith appeared to

 be translating directly from open gold plates, in contravention to the facts as admitted in the

 late 19th and early 20th Century, prior to the establishment of the Correlation Department and

 ignoring and even denying the brown stone was used or in their vault. (See ¶202 and ¶212)




        By the Gift and Power of God,           Joseph Smith Translating the Book of
     by Simon Dewey, 2000 in Oct., 2015         Mormon, by Del Parson, 1996. In Oct., 2015
                Ensign, p. 55                   Ensign, p. 55




Mormon,” Ensign (Oct. 2015) (Viewed Feb. 4, 2021)
https://www.churchofjesuschrist.org/study/ensign/2015/10/joseph-the-seer?lang=eng


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         Illustration by Robert T. Barrett,            Translation of the Plates, by Earl Jones,
        circa 1988. 10/2015 Ensign, p. 55              date unknown. Oct. 2015 Ensign, p. 55
263.     That same month, COP publishes Professor Sweat’s article in a magazine distributed to

CES employees about how art definitely influences LDS members. It includes Sweat’s 2014

artwork depicting Smith looking in a hat to dictate the Book of Mormon. Sweat concludes that

understandably art influences LDS members and that based on the fact that none of the Ensign

artwork from 1971-2014 showed Smith dictating from a seer stone in a hat, it is not surprising

that LDS members are confused when they discover “…that the Book of Mormon was apparently

translated through seer stones placed in a hat to obscure light and that the plates were often concealed

under a cloth or not in the room, and not by opening the plates with his ﬁnger on them and studying it

out[.]” 87 Sweat acknowledges LDS members can experience cognitive dissonance when the art

that they’ve seen their entire life contradicts what they discover in non-correlated sources:

       Why don’t the renderings of the translation reﬂect the seer-stone(s)-in-a-hat process if
       that is how it happened based upon multiple historical sources? I cannot answer that
       question, as only those who have commissioned, created, and published the past
       artistic images can give an informed response. 88


87
   Anthony Sweat, "The Role of Art in Teaching Latter-day Saint History and Doctrine," Religious
Educator 16, no. 3 (October 2015): pp. 40–57.
88
   Id., at p. 5.
                                                    118
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264.    Ongoing Concealment of 19th Century Report Documenting Smith’s Polygamy

In 1869 Joseph Fielding Smith, Sr. obtained affidavits of approximately two dozen of Smith’s

“wives,” attesting to their “sealing” to him. In 1887 paid Mormon Church Historian Andrew

Jenson compiles a list report of twenty-seven of Smith’s wives based on interviews and

affidavits. Upon information and belief, that list and those affidavits have been concealed from

all lay LDS in COP archives up through the present day. 89

265.    Continual Misrepresentation re: Smith’s Practice of Polygamy.

COP has always presented Smith as an earnest if uneducated man of good moral character. Smith

denied he practiced polygamy at the same time that he had multiple wives, including the wives

of other men who served in his church (polyandry). Smith said, as documented in Defendant’s

own Church history: “What a thing it is for a man to be accused of committing adultery, and

having seven wives, when I can only find one.” 90 Smith made this claim in 1844 in response to

the Nauvoo Expositor publication that detailed his numerous adulterous affairs and polygamy.

But only recently, in the essay on polygamy, did COP admit Smith’s widespread polygamy. 91

266.    2016, COP Creates Thirteen LLC Entities in the Names of COP Employees.

Each of the companies had at that time, domains hosted by the LDS Church servers, which also



89
   Note: LDS members were taught that Mormon leader Brigham Young had many wives, in part due to
the scarcity of men and the abundance of women in pioneer families; both of those claims are disputed by
independent historians. LDS members were not taught that founding prophet Smith personally practiced
polygamy or polyandry.
90
   History of the Church 6:410–41.
91
   “Plural Marriage in Kirtland and Nauvoo,” Gospel Topics Essays (2016).
https://www.churchofjesuschrist.org/study/manual/gospel-topics-essays/plural-marriage-in-kirtland-and-
nauvoo?lang=eng (last viewed Sept 26, 2021)


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hosted LDS.org and Mormon.org. All of the above-described entities were registered on July 21,

2016. Combined, the thirteen companies owned stock valued at $32,769,914,000 in 2017. The

names of the companies did not refer to the COJCOLDS in any way. COP created the thirteen

companies to deceive its members and others about the amount of tithing it had accumulated and

how LDS tithing is used.

267.     Circa 2015-16, Former BYU Professor Admits Traditional Historical Narrative not True.

In or about 2016, Richard L. Bushman, former BYU professor and one of three editors for

Defendant’s Joseph Smith Papers (JSP) project, admits to an intimate group of young LDS at a

fireside that the traditional narrative of LDS history is not true. Though not speaking at that time

as Defendant’s agent, he admits: “The dominant narrative isn’t true—it can’t be sustained.”

268.     Below is the audio transcript from that Fireside:

       Audience Member Question: [00:00:02] I'm wondering, um so it's me a lot of
       incongruity that that that exists now, but it's giving rise to a lot of crisis in faith in
       [inaudible] situation seems to be caused um in my view by by the disparity between the
       dominant narrative, the dominant what I would call the orthodox narrative, which is
       what we learn as missionaries what we teach ya know investigators, what we learn in
       Sunday school. And then as you get older, you kind of start to experience Mormonism
       in different ways. And those ways become um very important to you and dear to you.
       But sometimes they may not they may not jive with some elements of orthodoxy. And
       so what I'm wondering is like in your view do you see room within Mormonism for
       several different narrative, multiple narratives of a religious experience? Or do you
       think that in order for the church to remain strong, it would have to hold to that
       dominant narrative?

       Richard Bushman Answer: [00:01:04] I think for the church to remain strong. It has
       to reconstruct its narrative. The dominant narrative is not true. It can't be sustained.
       [1:13/2:04]… [Bushman references Apostle Bruce McConkie’s comment that the
       church needs to “protect the little people,” then, comparing grandmothers in San Pete




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       County to their grandsons, Bushman speaks of the grandsons and continues] They got a
       story that it [sic] didn't work. So, we've just had to change our narrative. 92


269.     Upon information and belief, former BYU employee Dr. Bushman has engaged in

communication with COP leaders over a period of decades about Defendant’s failure to correct

the traditional correlated historical narrative to represent what can be reasonably inferred from its

knowledge about the stones, artifacts, original manuscripts, documents, and other important

information for which LDS members have been denied access.

270.     2017 Misrepresentations in the Pearl of Great Price Student Manual (Religion 327) that

directly contradict admissions made in the strategically hidden Book of Abraham Essay. The

manual is to be used by Mormon Institute (college age) students. There is no disclaimer that the

translation has been found incorrect by Egyptologists, or that Abraham is not depicted in the

facsimiles, as COP previously admitted in its Book of Abraham essay.

The following are excerpts:

       P. 76/186 Facsimile 3 shows that Abraham not only survived his experience in Egypt,
       but that he was invited by Pharaoh to sit on the throne and teach principles of
       astronomy...” P. 85/186 Facsimiles 2–3; Abraham 4–5 Abraham Taught the Egyptians and
       Saw a Vision of the Creation of the Earth...Indeed, facsimile 2 contains figures and
       explanations relating to the Lord’s plan of salvation. For example, the explanations for
       figures 3, 7, and 8 establish a clear relationship between the contents of facsimile 2 and the
       ordinances of the temple...p. 78/186. Facsimile 3, figure 1. Abraham upon Pharaoh’s
       Throne In figure 1 of facsimile 3, Abraham is shown seated upon the throne of Pharaoh,
       “reasoning upon the principles of Astronomy, in the king’s court” (explanation for
       facsimile 3; see also the explanation for figure 1). It is clear in Abraham 3:1– 16 and
       facsimile 2, figures 1–5, that Abraham gained great knowledge of the principles of
       astronomy (pps. 76-78, 85, and 186).


 92
   Richard L. Bushman, PhD, LDS member, and Columbia Professor, answering questions from a
 group of young LDS, circa summer 2016. https://www.youtube.com/watch?v=MA0YS8LWWX4 , at
 44:00/1:56:30 mins. (Last viewed 10/06/2019.)

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271.      2017 New Photos of Book of Mormon Translation Process Published. 93




       First COP published photo of art depicting stone in hat translation—December 2017
       Ensign pps. 58-59.




93
     Ensign, December 2017, pp 58-59.
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       This artwork above is found on page 57 of the December 2017, Ensign.

272.    In 2018 JSP Announces but Releases only Some Records of Various Ohio Crimes.

For all relevant time periods, though known to it, COP concealed the existence and outcomes of

crimes for which Smith was charged during his lifetime. Then, in 2018 it announces: “In the

Legal, Business, and Financial Records series, we have added documents to four Missouri legal

cases against Joseph Smith (for riot, treason, and arson), as well as editorial introductions to the

riot case and several Ohio court cases.” https://www.josephsmithpapers.org/news/ However,

with the exception of the riot charge, interior links to the other types of crimes and the “Ohio

court cases,” are dead as of March 17 2021 and the link content has been changed. As of

September 23, 2021, there is no reference to Ohio crimes, only business transactions in Ohio.




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273.   October 2018 Ensign Contains Another Misleading Graphic about Tithing Use.




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    “Tithing may be used for.” The definition of the verb “may” is originally a modal verb

    indicating permission, e.g. tithing may be used, tithing is permitted to be used for…




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274.    From at least 1961 through October 29, 2018, COP conceals the metal plate used to print

Facsimile no.3 in the Book of Abraham. For at least the past half century, it had characterized the

tools used to print the Book of Abraham facsimiles as woodcuts. The plate’s existence was

divulged in the Oct. 2018 the hard copy of a volume of the JSP, which sells for $90.00, but that

concealment was not admitted in the online version of the JSP, at least not as of Nov. 10, 2020.

275.    After 1901, COP “Deaccessions” Facsimile No. 3 Metal Plate from its Museum until

2009, as admitted in Vol. 4, p. 300 of Defendant’s Joseph Smith Papers (“JSP”) published in

Salt Lake City by the Church Historian's Press and Deseret Book on October 29, 2018. 94

 276.




94
  "Facsimile Printing Plates, circa 23 February–16 May 1842," The Joseph Smith Papers, last accessed
November 8, 2020 https://www.josephsmithpapers.org/paper- summary/facsimile-printing-plates-circa-
23-february-16-may-1842/3
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277.      Below is a close up of figure 6, the slave, from the above plate made from the papyrus.

Smith’s figure 6 is claimed to be a slave (flipped). But as depicted in the papyrus it was the

jackal-headed Egyptian God Anubis, according to Egyptologists. Due to scrape marks on the

metal near his snout, it appears that the metallurgist who crafted the plate removed Anubis’

snout, but it also appears that his jackal ear was inadvertently retained (in profile). 95




278.      Below is a modern version of Anubis as more or less depicted in Egyptian funerary

papyri of the same period.




95
     Close up of figure 6, Facsimile Printing Plates, Nauvoo, IL, ca. 23 Feb.–16 May 1842; CHL.
                                                    127
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279.   Defendant’s explanation of chain of custody for the metal or lead printing plate used to

print Facsimile no. 3 in Book of Abraham is highlighted in the page below. See also ¶39, above,

comparing Egyptologists’ translation of the papyrus with Smith’s translation.




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     The above text reads: “The plate was cataloged by the Historian’s Office in 1858. At an
     unknown time, it was moved to the Bureau of Information at Temple Square, which was
     established in 1902. Later, it was transferred to the Museum of Church History and Art
     (now church History Museum). By 1992, the plates for Facsimiles 1 and 2 had been
     processed and cataloged at the museum. The plate for Facsimile 3, which had been
     deaccessioned by the museum at an unknown time, was acquired by the Church History
     Department in 2009.”

     Robin Scott Jensen; Brian M. Hauglid, Editors. Joseph Smith Papers, Volume 4. Salt Lake
     City: The Church Historian's Press and Deseret Book (October 29, 2018). This volume
     currently sells for $89.99 at Deseret Book and Amazon. 96




96
  Photograph of page from Joseph Smith Papers, Vol. 4, p. 300, located adjacent to the printing plate
used for Facsimile no 3., depicted above. Note: this information is not included in the online version as of
November 9, 2020. It is only found in the volume’s hard copy. See:
https://www.josephsmithpapers.org/paper-summary/facsimile-printing- plates-circa-23-february-16-may-
1842/3 (Last accessed Nov. 9, 2020.)


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280.   As of 2019, Misrepresentations about LDS Origins, including its Scriptures, Remain.

Misrepresentations about the First Vision and the Origin of the Book of Mormon as a Translation

Directly from Gold Plates Remain. The authorship and/or attributions of the characters in the

facsimiles in the Book of Abraham remain in many if not all of its canonized scripture online and

for sale by COP and its various subsidiaries throughout the Empire up through the date of the

filing of the Original Complaint.

281.   As of July 23, 2019, there remain pictures on the LDS.org website of two personages

appearing to founder Smith, and of Smith translating directly from gold plates, no seer stone.

282.   As of July 23, 2019, pictures of Smith appearing to translate directly from gold plate, no

seer stone in sight, by various artists remain on the COP-owned website, www.josephsmith.net.

All of the photos below remain on the website as of Feb. 25, 2021, despite the brown stone in the

hat admission, and President Nelson’s video demonstration.

         Depictions of Smith Translating Directly from Gold Plates Remain in 2019
             https://www.josephsmith.net/exhibit/the-book-of-mormon?lang=eng




                You have a Gift to Translate the Plates, by Harold T. Kilbourn, © 1970




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         Joseph Smith Translating the Golden Plates, by Harold T. Kilbourn, 1978.




            Joseph Smith Translates the Golden Plates, by Robert Barrett, 1982




                                           131
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                      By the Gift and Power of God, by Simon Dewey, 2000


283.    2021. Continuing Omissions of how Tithing is used in Essay on Tithing, Currently

Available on the Official LDS Church Website in what appears to be part of a Study Manual.

The Essay reads in pertinent part:

         Church members give their tithing donations to local leaders. These local leaders
         transmit tithing funds directly to the headquarters of the Church, where a council
        determines specific ways to use the sacred funds. This council is comprised of the
        First Presidency, the Quorum of the Twelve Apostles, and the Presiding Bishopric.
       Acting according to revelation, they make decisions as they are directed by the Lord.
                                (See Doctrine and Covenants 120:1.)

           Tithing funds are always used for the Lord’s purposes—to build and maintain
       temples and meetinghouses, to sustain missionary work, to educate Church members,
          and to carry on the work of the Lord throughout the world. 97 [Emphasis Added]




97
  https://www.churchofjesuschrist.org/study/manual/tithing-and-fast-offerings/how-are-tithing-funds-
used?lang=eng (viewed Feb. 3, 2021).
                                                  132
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284.    2021 Misrepresentation from Church Online Magazine re: Tithing use: “Well, according

to a January 2021 article on tithing use by COP-owned online magazine, LDS Living. Entitled

“What is Tithing Money Actually Spent on?” it reads: “Well, according to a Church Newsroom

release published in 2019 [a later version links to a COP essay on tithing], donations are spread

among six categories, and they all revolve around the four-fold mission of the Church: to teach

the gospel to the world, to strengthen the membership of the Church, to perform saving

ordinances for the dead, and to care for the poor and needy.”

285.    2021 Smith Translates Directly from Plates Art Remains:

The image below remains on COP’s official website as of March, 2021. It has been five and a

half years since COP published the never-before-seen photo of the opaque brown stone used in a

hat to create the Book of Mormon, no gold plates in sight. 98




286.    For all relevant times, GADDY, SMALL and HARRIS and each and every putative class

member had a confidential interview with an LDS bishop, branch president, stake president or

direct mission leader prior to getting baptized. Whether at age 8 or as an adult, that interview was

conducted between the lay agent for COP and the prospective member in an LDS chapel or


98
  https://history.churchofjesuschrist.org/content/joseph-smith-translates-the-gold-plates?lang=eng
(Viewed last on Feb. 25, 2021).


                                                  133
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facility used to hold LDS services, in a private room with no others present, all leading to the

aegis of confidentiality. Both the LDS leader and the potential member expected confidentiality.

Any records made during that interview were to be confidential.

287.    Among the questions asked in the interview were:

1) Do you believe the Church and gospel of Jesus Christ have been restored through the Prophet

Joseph Smith? Do you believe that [current Church President] is a prophet of God? What does

this mean to you? And

2) You have been taught that membership in the Church of Jesus Christ of Latter-day Saints

includes living gospel standards. Are you willing to obey the law of tithing? Do you understand

what that means? 99 (This tithing question is one of several commandments, including others such

as obeying the law of chastity and keeping the sabbath day [Sunday] holy.)

288.    Additionally, each of the named Plaintiffs and most all potential class members also met

with a bishop and/or stake president in order to take out their endowment in an LDS temple. This

ordinarily occurred when the member was a young adult, or later in life if a convert. This

meeting was called a temple worthiness interview. These questions include those asked in the

baptism interview above, namely asked to confirm his or her testimony of Joseph Smith as the

prophet of the restoration and/or the COJCOLDS as being the restored gospel of Jesus Christ and

whether s/he obeys the law of tithing and/or pays a full tithe. Additional temple questions are

asked as well. 100




99
  From Preach My Gospel © 2004, pps 205-206.
100
   Note: At some point the question was changed to whether the interviewee has a testimony of the
restoration of the gospel of Jesus Christ instead of an express reference to Joseph Smith.
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289.   The circumstances surrounding that interview indicate that both the lay agent for

Defendant and the member who wants to obtain their endowment, whether for a mission or a

temple marriage (those two events are ordinarily the two for which an endowment may be taken

out). Any records kept are considered confidential.

290.   Each December an LDS member meets with the bishop for tithing settlement, to declare

whether s/he has paid a full tithe and to make up anything that is less than full for the year.

Payments made and communications during tithing settlement are carried out confidentially.

Each party has an expectation of confidentiality. If a full tithe is not paid, the temple recommend

is not issued or renewed.

                 VIII. MAIL AND WIRE FRAUD ALLEGATIONS

291.   For the past 50-60 years, COP engaged in a scheme or artifice to defraud GADDY,

SMALL and HARRIS and potential class members, Plaintiffs, by means of a traditional narrative

about LDS origins promulgated churchwide through correlated materials that its top leaders, the

Brethren in charge of Correlation, did not and do not sincerely believe. COP, through its

Brethren, knowingly devised or knowingly participated in a scheme and/or artifice to defraud

GADDY, SMALL and HARRIS and other potential class members to obtain Plaintiffs’ money

or property by means of fraudulent pretenses, representations, or promises, and/or engaged in a

scheme to defraud Plaintiffs via making misleading representations in the form of outright

fabrications, material omissions and significant obfuscation, all designed to deceive Plaintiffs

and keep the Brethren’s true states of mind secret from their faithful followers. In short, due to

the important concealed items and information identified above, COP’s Brethren did not have a

sincere religious belief in many aspects of correlated Mormon/LDS history (whether described as


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fact or doctrine) including the source of LDS scriptures as more specifically identified above.

And/or,

292.   For the past 50-60 years, COP engaged in a scheme or artifice to defraud GADDY,

SMALL and HARRIS and potential class members by means of omitting and spinning Smith’s

history with the law. COP, through its Brethren, knowingly devised or knowingly participated in

a scheme and/or artifice to defraud GADDY, SMALL and HARRIS and other potential class

members to obtain Plaintiffs’ money or property by means of fraudulent pretenses,

representations, or promises, and/or engaged in a scheme to defraud Plaintiffs via making

misleading representations in the form of outright fabrications, material omissions and

significant obfuscation, all designed to deceive Plaintiffs about Smith’s true character as a

prolific adulterer, convicted criminal and perpetrator of numerous civil frauds as more fully

described in ¶36, above. And/or,

293.   COP, through its Brethren, knowingly devised or knowingly participated in a scheme

and/or artifice to defraud GADDY, SMALL and HARRIS and other potential class members to

obtain Plaintiffs’ money or property by means of fraudulent pretenses, representations, or

promises, and/or engaged in a scheme to defraud Plaintiffs via making misleading

representations in the form of outright fabrications, material omissions and significant

obfuscation, about how it used and would use their tithing and concealing the amount and source

of COP’s significant wealth, all designed to deceive Plaintiffs. Tithing was not used only for the

Lord’s or Church purposes [reasonably interpreted as religious] but a substantial portion of

tithes, especially when compared to humanitarian aid of $1.3 Billion from 1985-2010, was used




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for investment and commercial development purposes, including but not limited to City Creek

Mall and bailing out Beneficial Life Ins. Co., and likely for the projects itemized in ¶8 above.

294.   COP could foresee that the U.S. Postal Service and interstate wires would be used “for

the purpose of” advancing, furthering, executing, concealing, conducting, participating in, or

carrying out these schemes, within the meaning of 18 U.S.C. §§ 1341 and 1343.

295.   In particular, pursuant to the schemes to defraud the Plaintiffs and other class members,

COP knew or could foresee that the U.S. Postal Service and interstate wires would be used to

receive and/or deliver, inter alia, communications for the purpose of providing correlated

historical accounts of Smith’s first vision, Smith’s creation of the Book of Mormon, the

translation of the Book of Abraham, the misrepresentations re: Smith’s adultery and Smith’s

criminal and civil fraud history. All of the above misrepresentations that Defendant’s agents, the

Brethren, did not sincerely believe. Defendant purposely concealed material artifacts used in

LDS history and scripture creation including but not limited to the brown opaque stone, the metal

printing plate for Facsimile no. 3., Smith’s original account of his First Vision, Smith’s 1826

conviction for peep stone fraud, official documentation of Smith’s adultery and other artifacts,

original manuscripts, documents and information, for the purpose of concealing the history of

Smith’s First Vision, Smith’s creation of the Book of Mormon, the meaning of the papyrus from

which the Book of Abraham was sourced, their own historian’s 19th Century report of Smith’s 27

wives and records of numerous crimes and civil frauds that would reveal the nature of Smith’s

fraudulent character. And/or,

296.   COP engaged in a scheme to defraud Plaintiffs and potential class members by means of

making misleading representations and omissions designed to deceive Plaintiffs about how their


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tithing was used, all the above for the purpose of persuading them to donate their time, money,

and energy for the economic benefit of the Mormon Corporate Empire.

297.   COP acting singly and in concert, personally or through its agents, used the U.S. Postal

Service and interstate wires or caused the U.S. Postal Service or interstate wires to be used “for

the purpose of” advancing, furthering, executing, concealing, conducting, participating in, or

carrying out a scheme and/or schemes to defraud GADDY, SMALL and HARRIS and potential

class members, within the meaning of 18 U.S.C.A. § 1341 and 1343.

298.   It is not possible for GADDY, SMALL and HARRIS to plead with particularity all

instances of mail and wire fraud that advanced, furthered, executed, and concealed the scheme

and/or schemes because the particulars of many such communications are within the exclusive

control and within the exclusive knowledge of COP. By way of example, however, COP

specifically used the U.S. Postal Service or interstate wires or caused the U.S. Postal Service or

interstate wires to deliver each and every electronic transfer, email, letter, mailing, magazine,

conference speech, mission announcement/calling, and other uses of the mail and wire described

in ¶¶140-290, above.

299.   Upon information and belief, some of the wire communications described above occurred

between persons in the same state but crossed interstate borders by reason of the technology and

other mechanisms used to transmit the communication.

300.   Each and every use of the U.S. Postal Service or interstate wires described above was

committed by COP acting singly and in concert, personally or through its agents, with the

specific intent to defraud Plaintiffs or for obtaining the money or property of Plaintiffs by means

of fraudulent pretenses, representations, or promises. COP’s acts of mail and wire fraud in


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violation of 18 U.S.C. §§ 1341 and 1343 constitute racketeering activity as defined by 18 U.S.C.

§ 1961(1)(B).

301.       Plaintiffs and suffered, continue to suffer, and will suffer substantial injuries by reason of

COP’s acts of racketeering.

           IX. FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF LAURA GADDY

302.       LAURA GADDY 101 was raised by her single mother who converted to the LDS Church

in 1979, having relied on the correlated materials for her conversion and commitment to the

Church. LAURA, along with her three older siblings, attended the LDS ward in Gastonia, North

Carolina. She participated extensively in all the Church auxiliary programs from Primary

onward, including Sunday School, Young Women and at age seventeen, Relief Society. She sang

children’s tunes about Smith’s golden plates being a record made by [the ancient prophet] Nephi

and Smith’s account of the first vision in the sacred grove where he claimed to see two

personages, God the Father, and his Son, who told him that all creeds are false and that their

beloved prophet should join none of them.

303.       She sang the song about the prophet never leading her astray. Chorus lyrics are:

        Follow the prophet, follow the prophet,
        Follow the prophet; don’t go astray.
        Follow the prophet, follow the prophet,
        Follow the prophet; he knows the way. 102


304.       A typical week during her childhood and youth was spent at the LDS Church for three

hours on Sunday, learning about Mormonism at Family Home Evenings on Mondays, attending


101
      LAURA GADDY will be referenced as LAURA, with re events before her marriage to Mr. Gaddy.
102
   Chorus to "Follow the Prophet," LDS Children's Songbook (#110), Words and music: Duane
E. Hiatt, b. 1937. © 1989 IRI.
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auxiliary activities for several hours on Wednesday nights and various Church activities on

Saturday, including performing chapel janitorial duties. During these activities, most of which

were held at the local chapel, she saw pictures of Smith translating directly from the gold plates

and of his seeing two personages in a grove of trees during his First Vision. Never did she see

artwork showing Smith creating the Book of Mormon by using a brown stone buried in a hat, or

of the brown stone as the artifact used to create the Book of Mormon. She did see a

representation of what was described as the urim and thummim, but that was depicted as

eyeglasses with a breastplate as shown above.

305.   At twelve LAURA was worthy to attend the holy temple and be baptized for the dead.

306.   She attended the Church’s girls camp. She served in numerous callings from Relief

Society President to visiting teaching coordinator and gospel study teacher.

307.   She had always been taught that tithing was used for church purposes and activities. She

understood this to mean religious purposes and activities. Never in her life did she imagine her

hard-earned tithing would be used to develop a mall or to finance commercial properties,

especially when after she resigned she discovered how little had been used for humanitarian aid.

308.   From age seventeen until early 2018, LAURA paid tithing on her earnings. She deposited

the cash or a check in an envelope after filling out the form provided by the local ward. Her

contributions were forwarded by her local ward bishopric to the COP.

309.   Since childhood, it was LAURA’S pattern and practice to listen twice a year to both

Saturday and Sunday General Conference sessions, initially via broadcast to her local North

Carolina chapel from Salt Lake City, where she was assured that her spiritual leaders would

never lead her astray.


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310.   She ordered temple garments, teaching materials, and mementos from Deseret Book by

telephone, and then later, online through Deseret Book’s website.

311.   LAURA graduated high school in 2005. From age seventeen to nineteen she drove 25-40

miles to attend Institute and singles wards while working as a waitress to save for a mission.

                 LAURA’s Dedicated Service to the Mormon Corporate Empire.

312.   While living in Gastonia, LAURA’s stake president recommended that she serve a

mission. She prayed about it and in 2005 received her mailed calling from COP headquarters. All

twelve members of her family gathered around while she opened the envelope to reveal she had

been called to the Hamburg, Germany Mission. Having received the academic award for the

German language in high school, at age nineteen she left for her mission. LAURA, and upon

information and belief many members of the putative class who served missions, financed them

in whole or in part. Some have financed missions of others, including but not limited to their

children and grandchildren.

313.   LAURA stayed just 2.5 weeks at the MTC due to her facility with the German language.

While there, nothing but correlated information was presented about the historical restoration of

the LDS Church. LAURA was never taught anything about Smith’s original account of the First

Vision, Smith using a seer stone in a hat to create the Book of Mormon, that he engaged in

adultery, only later described as polygamous relationships, had been convicted of fraud for

attempting to locate buried treasure with the same brown stone, engaged in other crimes and civil

frauds or the notion that Smith wrongly characterized Egyptian deities as the Hebrew Prophet

Abraham in the Book of Abraham.




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314.   Excited to serve, once in Germany LAURA taught discussions from the Missionary

handbook, which included pictures of Smith’s First Vision with two personages and him

translating the Book of Mormon directly from golden plates. She also taught from the Book of

Abraham.

315.   She served honorably in Germany for nineteen months working approximately 75-80

hours a week. While there two of the Brethren, Apostles Jeffrey Holland, and Dieter Uchtdorf

met with her and other missionaries in Hamburg, Germany in 2008.




                                                      LAURA DENTON [GADDY] & Apostle
                                                             DIETER UCHTDORF



    LAURA DENTON [GADDDY] in dark blue suit
       behind Apostle JEFFREY HOLLAND



316.   After serving diligently, LAURA received credit for just two converts. Many times,

potential converts would raise objections to what she attempted to teach, but when questioned,

she was instructed by her leaders to ignore their comments as they were “Anti-Mormon lies.”


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317.   She returned home discouraged, convinced that her personal imperfections were

responsible for her failure to secure more converts. However, she remained faithful.

318.   While on her mission, she taught potential members that tithing was always used for

religious purposes and would then list those set forth in her manual, Preach My Gospel.

319.   When she returned home to North Carolina, she applied to and was accepted at Western

Carolina University. During this time, LAURA discussed her college plans with her stake

president, who told her she should apply to a Church school. He looked at her and said with the

stern force of prophecy “You should go to BYU-Idaho. You will meet your husband there.” In

reliance on that prophecy, she declined acceptance to her local school and embarked on a 2,000-

mile cross-country move to BYU-Idaho, in Rexburg.

320.   LAURA graduated BYU-Idaho with a bachelor’s degree. While there, she took additional

Mormon religion courses and attended Institute. She used the Institute and religion course

manuals which never hinted at Mormon historical anomalies, or what had been concealed. She

dated and remained in the Rexburg area for three months after graduation in an attempt to fulfill

her stake president’s prophecy but did not meet her husband.

321.   She found a job in her specialty in Florida and lived with an LDS family there for

approximately two years. After much discussion and counseling with her bishop where she

confided the hopes, fears, and disappointments of her young life, LAURA decided that Florida

was not the right place for her. She looked for a professional position elsewhere.

322.   Ultimately, LAURA took a job in Texas and attended a singles ward, where she met her

husband in April 2015. They were married in the Rexburg Idaho Mormon temple in December of




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2015. Two of her sisters were barred from the ceremony since the older one was not temple

worthy and the younger deemed too young.

323.   During her youth and young adulthood, she encountered nothing that caused her to

question or contradict any of the misrepresentations made in COP correlated material. She, like

all others who have been raised in the Mormon organization, had been admonished not to read

outside of COP-approved sources.

324.   LAURA GADDY and her husband remained active. She taught Relief Society in her

ward. During her temple recommend interviews she readily acknowledged that she paid a full

tithing. She had relied upon COP’s representations that tithing was used for Church expenses

like missionary and educational funds, temples, Book of Mormon publication, and humanitarian

aid. When asked if she associated with any whose practices were contrary to church teachings,

she truthfully answered “no,” securing her worthiness to enter the temple and obtain exaltation.

                 A Shocking Discovery Leads to Research

325.   Then, in February of 2018, she was preparing a lesson for Relief Society. In search of

conference talks to supplement her lesson she googled “Mormon videos” and came across a link

to a video of an interview with Josh Durham, a Mormon physician, who talked about mind

control and Steve Hassan’s B.I.T.E. model of religious extremism in the context of Mormonism.

326.   Dr. Durham stated that Smith lied about his personal participation in polygamy. Initially,

GADDY did not believe what she was hearing, she wanted to prove Dr. Durham wrong. She had

always been taught that Smith had just one wife, Emma Hale. She researched Smith’s

participation in polygamy but found nothing dispositive on the LDS.org website. She did find

link on LDS.org to another site where Smith’s wives were listed. Thinking that since the


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Mormon website linked to an outside source from its own site, therefore she was allowed to read

it, she viewed websites that addressed Smith’s lies about his polygamy, which led her to sites

where other historical issues were addressed, including the stone in the hat method of Book of

Mormon creation, Book of Abraham anomalies, Smith’s 1826 fraud trial, and other

misinformation. Over time, the conclusion was inevitable--Mormon history was radically

different from what she had been taught.

327.   In late 2019 she learned that the tithing which she had paid under the belief that it was

used for church expenses appears to have also been used for COP affiliated business enterprises.

328.   GADDY attempted to discuss the historical issues with her family and friends, all of

whom either refused to listen to her or trivialized her concerns. She was alone in her despair.

329.   She found that she could not reconcile what she had learned with continuing membership

in the LDS Church. Ultimately, shortly after that rude awakening, she resigned from the Church.

330.   She underwent months of counseling for the severe emotional distress that she has

suffered upon learning that her trusted spiritual advisors have mispresented the historical facts,

and concealed important stones, artifacts, original manuscripts, documents, and information,

leading her to build her faith upon an incomplete and misleading premises. Her entire life had

been based upon a lie.

331.   In 2019, realizing she could not trust her LDS leaders, she read news stories about the

IRS Whistleblower complaint. She learned that a former employee of EPA claimed that tithing

was used for City Creek Mall and to bailout out Beneficial Life Insurance company. She

reflected back years ago when a friend of hers who had become disaffected from the Church told

her that the Church was building a Salt Lake mall using tithing funds. She had mentioned the


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issue with her husband who checked several sites, among them, an LDS apologists’ site. 103 That

source quoted directly from both the 2006 Ensign report and 2007 Deseret News article quoting

LDS agents who assured members that no tithing was used for City Creek Mall. (¶244, above).

Her husband relayed that information to her, and she dismissed her friend’s claim as another

example of Anti-Mormon propaganda. Though she heard Hinckley’s 2003 claim, she did not

connect the phrase “invested reserves” with “tithing” as that information was not provided to her

since she was female and not invited to the 1991 and 1995 priesthood conference sessions where

Gordon Hinckley allegedly defined the term “invested reserves.” She was also just a child at the

time. GADDY would not have paid tithing had she known tithes were used for commercial

investment and development, and that COP had a pattern of stockpiling billions, with so little

spent for humanitarian aid.

332.   GADDY reflected on all the times she heard and later, taught others that tithing was only

used for Church purposes and activities. She had been misled and misled others. Now it appeared

that tithing was used for commercial purposes; it was another breach of trust, a misrepresentation

from her leaders who promised to never lead her astray, that they had in fact deceived her. She

remembered the numerous hours spent cleaning her local chapel in order to help the Church

conserve janitorial expenses, when Defendant had tens of billions of dollars in secure in EPA.

333.   She knew nothing of Smith’s crimes and participation in folk magic but was taught and

taught others that he was an innocent man of good moral character. While a missionary, with the


103

https://www.fairmormon.org/answers/Mormonism_and_church_integrity/City_Creek_Center_M
all_in_Salt_Lake_City#Question:_Was_the_Church-
funded_redevelopment_project_in_downtown_Salt_Lake_City_known_as_City_Creek_Center_f
unded_using_tithing.3F (Last accessed Feb. 20, 2021.
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artwork that she had seen growing up in mind and with tears in her eyes, she bore testimony of

the Book of Mormon translation process, always as one where Smith had the gold plates directly

in sight and translated them in the ordinary sense of the word. She earnestly explained the First

Vision where both God and Jesus appeared and her beloved founding prophet was told that all

other creeds were false, was the incipient event for founding her beloved LDS Church.

334.   She wept at all the deceit about the Church history and Smith’s character and realized

from what she had discovered that her entire life had been dedicated to the service of a fraud.

GADDY would not have committed to the church as a young adult, had she known of the

misrepresentations enumerated in this complaint about church origins and the character of Smith.

       X. FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF LYLE SMALL

335.   LYLE SMALL is a resident of El Paso County Colorado. Mr. Small obtained a BS in

engineering from Cornell and an executive business master’s degree from Harvard. He was born

in a highly orthodox Utah LDS family and baptized at age eight. He was a dedicated member of

the Church having participated in the Provo temple baptisms for the dead hundreds of times and

attended the Hill Cumorah pageant at least three times.

336.   As 1986 Graduate of Springville High School seminary program, he was also president of

the program. He was taught that the urim and thummim constituted spectacles attached to a

breastplate, not an ordinary appearing brown rock. Mr. Small was assistant to the bishop in the

priest’s quorum while in high school. Mr. Small served a two year full time LDS mission to

Finland. While at Cornell, he attended weekly institute classes.




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337.   Married in the LDS temple, Mr. Small held a temple recommend continuously (except

for a two month inadvertent lapse) for over 33 years until his resignation in 2019. He has been a

full tithe payer since age eight, during his entire 51 years as a member of the Church.

338.   In late February or early March 2019 he came across a Facebook post by a friend asking

whether Joseph Smith was a sexual predator. He sought to rebut the post and started researching

LDS history which led him to read from independent sources. Prior to that time he had never

been informed of the LDS essay admitting in many respects the previously characterized “Anti-

Mormon” lies.” Growing up he had been admonished that the information he learned from

researching independent LDS history was Anti-Mormon lies that he must avoid.

339.   After researching accurate LDS history, Mr. Small resigned from the LDS Church in

October 2019. Most of his family remain members of the Church. This situation causes

significant familial stress. Additionally, the emotional trauma he experienced as a result of

Defendant’s fraud has been intense and ongoing. LYLE SMALL would not have committed to

the church as a young adult, had he known of the misrepresentations enumerated in this

complaint about church origins and the character of Smith.

340.   In December of 2019 he read the news reports of the IRS whistleblower claim and

learned that the Church used tithing for commercial projects. Prior to that he had understood that

it earned interest and invested excess tithing in stocks and bonds but had never been told that the

tithing funds were actively used for commercial development or to fund Church businesses. He

did not connect “invested reserves” with “tithing” as that information was vague and obfuscated

in the 1991/1995 priesthood speeches by Hinckley and the information was preceded and

superseded by prior and subsequent misrepresentations in COP’s publications and by its agents


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that tithing was not used for City Creek Mall identified above, together with the numerous

representations by COP’s agents, including local lay leaders, that tithing was only used for

ecclesiastical purposes.

341.   Mr. Small relied on all of the types of misrepresentations, both affirmative and by

omission, including the artwork, made in this complaint during the time he was a member of the

LDS Church. He specifically heard Gordon B. Hinckley state that no tithing would be used for

City Creek. Mr. Small would not have paid tithing had he known tithes were used for

commercial development, and that COP had stockpiled $128 Billion dollars, with so little spent

for humanitarian aid.

       XI FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF LEANNE HARRIS

342.   For all relevant times, LEANNE HARRIS was and is a resident of San Luis Obispo

County, California. She has a degree in massage therapy. She was always the ‘peacemaker’ and

the ‘good kid’ in her family. Mormonism was extremely important to her and a way of life for

her family growing up. Her parents taught her it was the only way to be an eternal family.

LEANNE was baptized at age eight. She was a dedicated member of the Church, who attended

LDS Seminary classes and who paid tithing her entire adult life until 2019.

343.   LEANNE HARRIS was married in an LDS temple and is the mother of five children. Her

oldest son Maxwell passed away in a boating accident at a family reunion in 2010 when he was

almost 10 years old. Her oldest sister passed away in a car accident when LEANNE was 10 years

old. As a result of these untimely deaths, HARRIS and her husband “doubled down” on LDS

doctrine because they trusted and believed the teachings of the Mormon Church. She and her

husband were taught that you had to be baptized, go through the temple, pay tithing, give of your


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time and talents, and then you could live with your family for eternity. They did their son’s

temple work only months after his death. After losing a sister and then losing a son, HARRIS

held on to what she had believed was the truth and gave the church everything she emotionally

and physically could spare. The worry of not being able to live with her sister or her son again if

she didn’t do what the Mormon Church asked of her was severe.

344.   In 2019 HARRIS discovered through the CES letter and other literature that the Church

was not what it claimed to be. That discovery almost destroyed her. LEANNE HARRIS would

not have committed to the LDS Church as a young adult, had she known of the

misrepresentations enumerated in this complaint about church origins and the character of Smith.

345.   HARRIS reasonably relied on all of the types misrepresentations both affirmative and by

omissions, including the artwork, in this complaint that were promulgated during her

membership in the LDS Church. She specifically heard Gordon B. Hinckley state that no tithing

would be used for City Creek and heard and relied on the subsequent misrepresentations in

Defendant’s publications and by COP’s agents that tithing was not used for City Creek Mall

identified above. Though she heard Hinckley’s 2003 claim, she did not connect the phrase

“invested reserves” with “tithing” as that information was not provided to her since she was

female and not invited to the 1991 and 1995 priesthood conference sessions where Gordon

Hinckley allegedly defined the term “invested reserves.” She was also just a teenager at the time.

HARRIS would not have paid tithing had she known tithes were used for commercial investment

and development, and that COP had a pattern of stockpiling billions, with so little spent for

humanitarian aid.




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                   XII. CLASS PROCEDURAL ALLEGATIONS

346.   The following individuals are excluded from the Class: (1) any Judge or Magistrate

presiding over this action and members of their families; (2) Defendant, their subsidiaries,

parents, successors, predecessors, and any entity in which Defendant or its subsidiaries or dbas,

have a controlling interest and their current or former employees, officers and directors; (3)

Plaintiffs’ attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

and (6) persons whose claims against Defendant have been fully and finally adjudicated and/or

released. Plaintiff anticipates the need to amend the Class definitions following discovery.

347.   Definition of the proposed class: All members of the COJCOLDS who have resigned

from the LDS Church as well as those who submit a request to resign to COP or its agent within

90 days of their receipt of the Class Certification notice and who do not opt-out of the Class.

348.   Numerosity [Size]: The exact size of the Class is unknown and not available at this time,

but it is clear that individual joinder of all persons is impracticable. COP has in its possession a

list of those who have requested that their names be removed from its records. In 2019, the Salt

Lake Tribune reported that 148,868 LDS members resigned in 2018 alone, based on statistics

compiled from LDS sources. 104 Additionally, upon information and belief, hundreds of

thousands of LDS have used the website www.quitmormon.org to resign since it was created in

or about 2012.



104
    https://www.sltrib.com/religion/2019/04/06/lds-church-tops-million/ (Last viewed 12/30/20.)
“Amid the 2018 statistic report announced Saturday by [T]he Church of Jesus Christ of Latter-
day Saints, there is a startling finding: the largest number of membership records ever removed
in a single year — 140,868.”
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349.   Members of the Class can be easily identified through Defendant’s records of those

Mormons who have resigned. According to the LDSPFCR and additional surveys, most all of

those who have resigned consider the misrepresentations identified in this complaint about key

Mormon history the primary reason for their disaffection. Failure to fully and fairly disclose how

tithing is used, only revealed after many have left the Church, is also a substantial factor. 105

350.   Commonality/Typicality and Predominance: There are many questions of law and fact

common to the claims of named Plaintiffs and the putative class; those questions predominate

over any questions that may affect individual members of the Class. Common questions for the

Class include but are not necessarily limited to: Class members were all part of the intended

audience for Defendant’s correlated material. Class members relied upon generally the same

misrepresentations and material omissions about key Mormon history including the character of

Smith and/or use of tithing funds upon which they based their belief in the LDS Church.

351.   Class members either committed to the Church as young adults or as converts. Most all

Class members either served LDS missions or were married in an LDS temple or both. All

potential Class members entered into a continuing oral contract to pay a full tithe in exchange for

LDS temple access and/or membership. All potential Class members reasonably trusted the

Brethren and reasonably believed that the Brethren believed the correlated rhetoric that they

created, approved, and published, including the material misrepresentations itemized in the

above paragraphs about Mormon History and Smith’s character. The type of psycho-social issues




105
  The LDSPFCR survey was conducted prior to widespread news coverage of the IRS
Whistleblower Complaint, containing allegations that COP misused tithing proceeds.
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caused by Defendant’s deception, as set forth in the LDSPFCR, are common to all Plaintiffs and

potential class members. 106 And/or

352.   All Class members reasonably believed that tithing was used exclusively for religious and

not commercial purposes. Thought Plaintiff SMALL and some class members knew that excess

tithing proceeds would be temporarily invested, but not used for commercial development. Most

all Plaintiffs had been told by local lay leaders that funds from tithing were never commingled

with profit from LDS businesses.

353.   Finally, damages suffered by members of the Class are of the same type: money in the

form of tithing paid and other expenses (mission expense, Church school tuition, lost opportunity

expense, counseling for emotional distress, familial destruction, and divorce) in reliance on

COP’s misrepresentations and concealment of LDS origins, including Smith’s character, and are

readily calculable.

354.   Adequate Representation: Plaintiffs GADDY, SMALL and HARRIS will fairly and

adequately represent and protect the interests of the Class. GADDY and SMALL were leaders

who served in various Church callings. Plaintiffs’ counsel has more than 30 years’ experience as

a civil litigation attorney having practiced in both Utah and California, experience in multiparty

litigation from both a defense and Plaintiff side, and class action experience. Neither GADDY,

SMALL nor HARRIS, nor their counsel, has any interest adverse to the Class. Neither does

Defendant have any defense unique to GADDY, SMALL or HARRIS. Plaintiffs and their




106
   LDSPFCR is Exhibit 1 to the proposed 2AC and can also be downloaded here:
https://faenrandir.github.io/a_careful_examination/documents/faith_crisis_study/Faith_Crisis_R2
8e.pdf
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counsel are committed to vigorously prosecuting this action on behalf of the members of the

Class and have the resources to do so.

355.    Appropriateness per Fed. R. Civ. P. 23 (b) (1): Prosecuting separate actions by individual

class members would create a risk of: (A) inconsistent or varying adjudications with respect to

individual class members that would establish incompatible standards of conduct for the party

opposing the class; and (B) adjudications with respect to individual class members that, as a

practical matter, would be dispositive of the interests of other members not parties to the

individual adjudications or would substantially impair or impede their ability to protect their

interests.

356.    Defendant’s business propaganda practices have been promulgated, apply to, and have

affected the members of the Class uniformly, and named Plaintiffs’ challenge of those practices

and claim for damages as a result of those longstanding practices hinges on Defendant’s conduct

with respect to the Class as a whole, not on facts or law applicable only to GADDY, SMALL

and/or HARRIS. Additionally, the damages suffered by individual members of the Class will

likely be small relative to the burden and expense of individual prosecution of the complex and

protracted litigation necessitated by Defendant’s actions/omissions.

357.    Upon information and belief, COP is worth in excess of $400 billion dollars and has

access to the best attorneys in the United States. Thus, it would be virtually impossible for the

members of the putative Class to obtain effective relief from COP’s fraud on an individual basis.

A class action provides the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single court. Economies of time, effort, and expense will be

fostered, and uniformity of decisions will be ensured, especially given that appeals are likely.


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358.    Fed. R. Civ. P. 23(b) additional pertinent matters. A class action is superior to other

available methods for fairly and efficiently adjudicating the controversy in that it would be

judicially expeditious for the matter to be litigated in this particular forum, given it is the location

of Defendant’s home office and leaders and that most of its actions/omissions occurred in this

jurisdiction. Furthermore, upon information and belief, the majority of the witnesses to said

actions are located within this forum or very nearby.

359.    Fed. R. Civ. P. 23(c) notice to potential class members: Upon information and belief,

notice required per this subsection can be easily accomplished as described in the numerosity

section above. Notice in compliance with the above section can be accomplished through

discovery requests to Defendant to identify those who have resigned through COP’s membership

rolls. It is widely known that COP maintains records on those who have resigned, often sending

representatives to those members who have moved and/or become inactive or resigned months

and even years after the members’ activity has ceased. Additionally, there are numerous social

media sites supportive of former LDS members and the crises they have experienced.

                          FIRST CAUSE OF ACTION:

 FRAUD IN THE INDUCEMENT TO ENTER INTO AN ORAL CONTRACT

360.    Plaintiff incorporates paragraphs 1-359 above as though fully set forth herein.

361.    Defendant represented that the Book of Mormon was translated in the literal sense of the

word directly from gold plates.

362.    Defendant has now admitted that this representation is false in that LDS President Russell

M. Nelson said and demonstrated that “We” [defendant] know that Smith placed a stone(s) in a




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hat and dictated the Book of Mormon manuscript without looking at the plates that were “usually

covered.”

363.   This is a fact that requires no adjudication because it has been admitted.

364.   Defendant has admitted that Smith engaged in the practice of polygamy with dozens of

women, i.e. that he did not live monogamously. This is arguably a secular fact, because of

adultery laws, but also it’s a religious fact that requires no adjudication regarding the truth or

falsity of the matter; it was admitted in COP’s essay about plural marriage in Kirtland, Ohio.

365.   Defendant made the representations as specifically described above through correlated

rhetoric in the above referenced paragraphs. And/or

366.   COP made representations as more fully described in ¶¶ 229-230, 233, 237-238, 244-245,

258, 260, 239, 273, and 283-284, that no tithing was used for City Creek Mall and that tithing is

[only] used for Church [reasonably interpreted as religious] purposes and activities. Upon

information and belief, when each of those representations were made Defendant was using

tithing for commercial real estate deals and commercial investments and other non-religious and

non-charitable purposes.

367.   Alternatively, for all relevant times, Defendant listed, “purity of doctrine” as the first

purpose of Correlation. COP has argued that the representations at issue in this case are beliefs or

doctrine. “Pure” means unadulterated, free from foreign or in this context, and given the promise

to never lead members ashtray, corrupt information. It is more than an imprimatur; it is an

endorsement that what is “correlated” is believed by the Brethren, those fifteen men in charge of

Correlation.




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368.   COP’s Brethren have ultimate approval of correlated rhetoric. As alleged, this includes

artwork, which is not merely a matter of artistic taste, but has been intentionally commissioned

and created to depict Smith translating directly from gold plates used ubiquitously as propaganda

in all educational manuals, including those used by missionaries, which are provided to the local

wards and branches for teaching LDS members and extensively in Ensign magazines. It also

includes the film Joseph Smith: Prophet of the Restoration, depicting Smith has having just one

wife, Emma Hale, and the 2004 and 2007 Sunday School manuals referencing Smith as married

to Emma Hale, with no mention of his adulterous relationships only later called polygamy.

369.   Correlation’s rhetoric is the Brethren’s rhetoric. It was and is therefore reasonable for

GADDY, HARRIS, and SMALL and potential Class members to infer that the Brethren’s beliefs

are coextensive with the correlated rhetoric that they approve[d].

370.   COP corporate leader-agents, including the Brethren and those in charge of Correlation,

are charged with knowing about the seer stone(s) and Andrew Jenson’s 19th Century

documentation of 27 of Smith’s plural wives, among the other material artifacts, original

manuscripts, documents, and other important items and information contained in their archives.

371.   Defendant’s use of correlated material, including how tithing was used, claimed by them

to represent “purity of doctrine” [which also included Mormon history, LDS scriptural origins,

and Smith’s marital status] together with their instructions to all teachers and missionaries to

teach only correlated materials, that the Brethren would never lead them astray, and that honesty

includes full disclosure, gave rise to a reasonable inference by Plaintiffs and the prospective class

that the Brethren and those in charge of Correlation, including but not limited to President

Nelson, counselors Oaks and Eyring, and those who had come before who directed Correlation


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from the outset, sincerely believed in the message of the correlated material that they

promulgated. The ongoing and ubiquitous promise never to lead members astray must at least

mean that the Brethren would act in good faith toward members with respect to correlated

rhetoric and material required to be used by all LDS members to the exclusion of other materials.

372.   The correlated representations set forth above were about a presently existing facts about

how the Book of Mormon was translated and Smith’s practice of polygamy; and/or

373.   The correlated representations set forth above were about a presently existing fact in that

they were about the Brethren’s collective states of mind: that they believed Smith translated in

the typical or literal sense of the word, the Book of Mormon directly from open gold plates and

that Smith lived as a monogamist with his only wife Emma Hale.

374.   The Brethren’s collective states of mind were material to young people and potential

converts, who committed or were considering committing their lives to the church. And/or,

375.   As more particularly described in the preceding paragraphs and in particular ¶237 and

¶244, the Brethren and those COP agents involved in LDS Church finance who represented that

tithing was not, or is not used for City Creek Mall were about a presently existing material fact

about how named Plaintiffs’ and potential class members’ tithing is or was being used.

Defendant’s repeated denials that no tithing was used for City Creek Mall led Plaintiffs to

assume that their tithing was only used for ecclesiastical purpose as they had long believed.

Despite the references to “income” and “invested reserve funds” in Hinckley’s 1995 and/or 1991

priesthood speeches, the overwhelming number of representations both before and after re:

tithing use invalidate any disclosure made to the priesthood. “Invested reserve funds” is a phrase




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that none one of the named Plaintiffs associated with tithing donations. Upon information and

believe, it is also true of potential class members.

376.   A reasonable inference was drawn by all Plaintiffs, current and potential, that the

Brethren believed the correlated representation that Smith translated the Book of Mormon

directly from open gold plates and that he was married to just one woman.

377.   Plaintiffs recently discovered that the Brethren could not have sincerely believed the

above representations due to the contents of their archives, including the brown stone and the

1887 account by Andrew Jenson because the Brethren, current and past, together with each of

those in charge of Correlation, knew or should have known about the concealed stones, artifacts,

original manuscripts, documents and information in COP archives, the appreciation of which

gives rise to an inference of a completely diffident process used to create the Book of Mormon

and a completely different character for their founder, Joseph Smith, which is materially

contradictory to the traditional correlated narrative created by the Brethren and their agents.

378.   These correlated representations were learned, and in turn taught by young missionaries

including GADDY and SMALL and many prospective class members, to potential converts.

379.   The representations were false because the Brethren, current and past, along with others

in charge of Correlation, given its archival contents of key stones, artifacts, original manuscripts,

documents, and information, did not believe the above listed representations in the correlated

rhetoric which they approve[d] and taught.

380.   Alternatively, the representations were false because the Brethren, current and past,

together with each of those in charge of Correlation approved the above listed items of correlated

rhetoric and materials and communicated a believing state of mind recklessly, without regard for


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the stones, artifacts, original manuscripts, documents, and other important information in LDS

archives; And/or,

381.   The representations about tithing use were false because the Brethren, current and past,

and COP agents who engaged in rhetoric about Church finances as related to tithing knew that

from at least 2003 to 2012, and upon information and belief, for decades prior, that tithing is

used by COP for commercial purposes, including but not limited to the development of City

Creek shopping mall in Salt Lake City and the bailout of Beneficial life Insurance, both profit-

making COP companies.

382.   Alternatively, the above representations that tithing was or is not used for City Creek

Mall were false because the Brethren, current and past, and COP agents who engaged in rhetoric

about Church finances as related to City Creek made the representations recklessly without

regard for how COP financed the mall.

383.   LDS doctrines of honesty and free agency as more fully explained above, are sincerely

held religious beliefs that at all relevant times were and continue to be at odds with a practice of

creating and maintaining a correlated scheme to deceive members about LDS origins as

embodied in the traditional historical narrative. As such, COP did/does not have a “sincere

religious belief” in deceiving Plaintiffs about LDS history, including Smith’s character. And/or

384.   COP corporate leader-agents, including the Brethren and those in charge of finance did

not have a “sincere religious belief” in misrepresenting how tithing is used. Doctrines of honesty

and free agency as more fully explained above are sincerely held religious beliefs that at all

relevant times were at odds with deceiving members about how their tithing was used.




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385.    COP required a full tithe in order to acquire and maintain temple recommends and/or be

baptized and have ongoing access to an LDS temple in order to ensure one’s family is together in

the afterlife and does not burn at the second coming of Jesus Christ. COP made all of the above

representations intending that Plaintiffs, including potential class Plaintiffs, would rely on those

representations, to induce all Plaintiffs to tithe so that they could increase its business empire.

386.    Defendants, by and through its above-described agents, made the correlated

representations to induce all Plaintiffs to enter into an oral contract with Defendant who offered

an LDS temple recommend on the condition that Plaintiffs answer affirmatively the question:

“Do you have a testimony of the Restoration of the gospel of Jesus Christ [as embodied in the

LDS Church]?” and/or similar questions that required Plaintiffs’ belief that Smith was a prophet

and in LDS theology. And, that Plaintiffs commit to pay a full tithe, defined as 10% of their

income, to COP via their local leaders and/or as a COP imposed condition of membership in the

LDS Church. The recommend was/is renewable upon the condition that Plaintiffs continue to

pay a full tithe and profess faith in the religion.

387.    COP agent leaders made the representations as to their collective belief in the Book of

Mormon translation process and Smith’s monogamy in order to induce Plaintiffs to enter into the

oral contract so that it would maintain a steady stream of tithing proceeds not only to fund their

religion but to use for commercial purposes in building the Mormon Corporate Empire. And/or,

388.    COP agent leaders made the representations as to City Creek Mall in order to induce

Plaintiffs to enter into the oral contract so that it could maintain a steady stream of tithing

proceeds to use for commercial purposes in building and maintaining the Empire.




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389.   Through their representations COP induced Plaintiffs to believe that LDS theology was

as a more reasonable and mainstream option for religious participation than it would otherwise

have been if Plaintiffs had known that their ostensibly righteous and honest leaders did not

believe the direct translation direct from gold plates nor in Smith’s monogamy. And/or,

390.   Through their representations, COP obtained Plaintiffs’ compliance with their scheme

and induced them to believe that tithing was used only for ecclesiastical purposes, meaning that

it was used to advance the three-fold mission (now called purpose) of the Church to: proclaim

the gospel, perfect the Saints, and redeem the dead, and care for the poor and needy. None of

these purposes contemplate using tithing for commercial endeavors to expand a business empire.

391.   Plaintiffs reasonably relied on these representations without knowledge of the fact that

the Brethren did not believe what they taught. They reasonably relied on the representations to

formulate an opinion that Smith was a prophet and founder of LDS theology which was the

restored gospel of Jesus Christ. On that basis, Plaintiffs entered into ongoing oral contracts,

paying up to 10% of their income as a full tithe in order to obtain and maintain a temple

recommend, and/or be baptized.

392.   Plaintiffs reasonably relied on the correlated representations without knowledge that the

Brethren and COP agents did not believe in the aforesaid representations that is, without

knowledge of the Brethren’s true states of mind with re: the same, which although may not have

been to intentionally harm Plaintiffs, was one of assuming an in loco parentis role, to deceive

Plaintiffs’ “for their own good,” and/or to expand their commercial Empire. And/or,




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393.   Plaintiffs reasonably relied on the representations as to how their tithing is used without

knowledge of their falsity and entered into ongoing oral contracts, paying up to 10% of their

income as a full tithe in order to obtain and maintain a temple recommend, and/or be baptized.

394.   The contract was continuing and bilateral in that each party had simultaneous duties to

perform. Each year the bishop and/or other local leaders of the ward interviewed Plaintiffs at

“tithing settlement” where Plaintiffs’ were required to affirm that they paid a full tithe for that

year. If they could not so state, their temple recommend could not be renewed.

395.   Plaintiffs would not have entered into the contract had they known that their leaders,

those in charge of Correlation, including but not limited to Nelson, Oaks and Eyring, and/or

those leaders who came before them, and their agents, did not believe in the Book of Mormon

translation process depicted in the art for the last 50 years and/or that Smith was a monogamist,

which had been taught to Plaintiffs since before they committed to the Church. And/or,

396.   Plaintiffs would not have entered into the contract had they known that a substantial

portion of their tithing was used for the of City Creek Mall and/ or that the Brethren did not

believe that no tithing was used in the development of City Creek Mall.

397.   But for Defendant’s above described conduct, Plaintiffs would not have committed to the

COJCOLDS to the degree that they did, if at all, and said conduct was a substantial factor in

bringing about Plaintiffs’ injuries which are of a type that a reasonable person would foresee as a

likely result of his or her conduct.

398.   Wherefore, since Plaintiffs’ tort claims are not entirely duplicative of their oral contract

claims, GADDY, SMALL and HARRIS, individually, and on behalf of the potential Class, elect

to sue for damages for fraudulent inducement to contract as allowed under Utah or appropriate


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Law, not limited to those circumscribed by the economic loss rule, to include general and

punitive damages as more fully detailed in the Prayer for Damages, below. 107

SECOND CAUSE OF ACTION: FRAUDULENT NONDISCLOSURE (BREACH OF

DUTY TO DISCLOSE MATERIAL INFORMATION—no intent required)

399.      Plaintiffs hereby incorporate paragraphs 1-398 above as though fully set forth herein.

400.      Plaintiffs entered into a business transaction with COP relying upon representations

which Defendant knew to be materially misleading because of its failure to provide qualifying

material.

401.      Plaintiffs were in privity of contract with COP because Plaintiffs tithed and/or made a

promise to do so, as consideration for a temple recommend and/or membership in the Church.

402.      Under Utah law, Plaintiffs were in a confidential relationship that gave rise to

Defendant’s duty to disclose material facts to Plaintiffs. The duty arose due to the following

aspects about the nature of that relationship: COP by and through the Brethren and other leader-

agents engaged in rhetoric inviting members to trust its leaders by promising that they would

never lead them astray (See Invitation to Trust Table above in ¶144); Plaintiffs were in privity of

contract with COP as more fully described in the First Cause of Action; the relationship between

Plaintiffs and the Brethren and other COP leader agents was generally imbalanced as a result of

vast discrepancies in age, knowledge of the contents of LDS archives and academic Mormon

literature, influence, bargaining power, and sophistication. Additionally, Plaintiffs had been

subjected to ongoing numerous misleading or partial representations promulgated by COP. All of




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      See HealthBanc Int'l, LLC v. Synergy Worldwide, Inc., 2018 UT 61, 435 P.3d 193

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these factors, taken together, gave rise to COP’s duty to fairly and fully disclose information

material to Plaintiffs’ decision to join, and/or commit more deeply as young adults through

temple endowments as required for missions and temple marriage and/or to remain in the LDS

Church.

403.    The physical items that Defendant failed to disclose, which are in its vault or archives are

summarized in the table below. This is not a complete list for only Defendant knows the extent

of the material items, including stones, artifacts, primary manuscripts, documents, and other

information it has in its archives.

404.    TABLE OF NON-DISCLOSED OR INTENTIONALLY CONCEALED ITEMS

       ITEM         DESCRIPTION       MATERIALITY      CUSTODY         DISCLOSED     EVIDENCE OF
                                                                       by Church     CONCEALMENT
 Stone or rock,     Opaque brown      Concededly       Sometime        August 4,     Previously, no
 used by Smith to   jasper            used from        between the     2015. COP     full or fair
 attempt to find                      which to         1877 death of   admits        disclosure of
 treasure (1826                       dictate the      Brigham         “first time   the brown
 proceeding) and                      Book of          Young to        ever”         stone in
 dictate the Book                     Mormon           1901 death of   photo.        correlated
 of Mormon                                             Zina, one of                  materials since
 while it was                                          his wives.                    Correlation was
 placed in a hat.                                                                    created.
                                                                                     Apostle
                                                                                     Richards denies
                                                                                     church has
                                                                                     custody.
       ITEM          DESCRIPTION       MATERIALITY       CUSTODY       DISCLOSED     EVIDENCE OF
                                                                       by            CONCEALMENT
                                                                       CHURCH
 1832. Only         Smith’s only      In contrast to   The ledger      Jan. 1985     LDS President
 Handwritten        handwritten       the correlated   book in which   Ensign        Joseph Fielding
 First Vision       account: “I saw   First Vision     Smith wrote     refers to     Smith ripped
 account by         the Lord and he   version, it      his 1832        1832          out the
 Smith. Earliest    spake unto me     describes only   account has     account       account that
 record after its   saying Joseph <   one personage,   been in         but actual    was in Smith’s
 alleged            my son> thy       the Lord. No     Defendant’s     document      ledger book. It
                                      mention that     custody since   or hiding     was later taped


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 occurrence in        sins are            all [other]         the document of it is not      back in. No
 1820.                forgiven thee.      creeds are          was created. disclosed.        reference by
                                          false.                           Next              COP except in
                                                                           correlated        1985. All
                                                                           reference         correlated art
                                                                           is not until      work shows
                                                                           about 40          two
                                                                           years             personages in
                                                                           later.            contradiction
                                                                                             to the 1832
                                                                                             account.
 Printing plate for   Printing plate      Metal plate              1858         October      Plate cataloged
 Book of              for Book of         reveals scrape                        29, 2018     by LDS
 Abraham              Abraham             marks and                                          Historian’s
 Facsimile no.3       Facsimile no.3.     errant ear,                                        Office in 1858.
                      This is metal as    likely from                                        By 1992, the
                      opposed to          jackal- headed                                     plates for
                      wood. Prior to      Egyptian god,                                      Facsimiles 1
                      this disclosure     Anubis, likely                                     and 2 had been
                      in late 2018        originally                                         processed at
                      devices used to     pictured on                                        the museum.
                      print the           papyrus from                                       The plate for
                      facsimiles were     which Smith                                        Facsimile 3,
                      described as        claimed he                                         which had
                      woodcuts.           translated the                                     been
                                          Book of                                            deaccessioned
                                          Abraham.                                           by the LDS
                                          altered to                                         history
                                          depict the                                         museum at an
                        More detailed     figure 6 slave.                                    unknown time,
                        explanation &                                                        was acquired
                       large picture of                                                      by Church
                      above is in ¶276-                                                      History Dept. in
                             281
                                                                                             2009.
       ITEM            DESCRIPTION         MATERIALITY        CUSTODY           DISCLOSED    EVIDENCE OF
                                                                                by           CONCEALMENT
                                                                                CHURCH
 Smith’s              Andrew              Jenson was an       Its creation in   Full         Only excerpts
 Polygamy             Jenson’s            historian           1887.             document     from the
 documentation.       account of          employed and                          never        document have
                      Smith’s 27          paid by the                           disclosed    been cited as
                      wives.              Church.                               in           footnotes in
                                                                                correlated   buried 2014
                                                                                materials.   polygamy
                                                                                             essay.

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 Temple Lot case    “Wives” of         Affidavits         1869 Joseph      Never,        Location of
 affidavits         Smith describe     made at the        Fielding         though the    affidavits could
                    sexual             direction of       Smith, Sr.       temple lot    buried in
                    relationships in   then LDS           obtained         transcript    thousands of
                    order to rebut     President          affidavits, or   is            pages of trial
                    RLDS claim that    Joseph             directed that    referenced    transcript and
                    Smith was          Fielding Smith     they be          on LDS.org    exhibits. No
                    intimate only      Sr.                obtained.                      separate
                    with Emma.                                                           known
                                                                                         identification
                                                                                         available to
                                                                                         review.
 William Clayton    Wm. Clayton         “…you have a      Incomplete       Later,        Pages of
 Journals           was Smith’s        right to get all   Journals         released      journals from
                    personal scribe    [women/wives]      originally       by JSP –      last two years
                    for years 1843-    you can.”—         published.       Nauvoo        obtained from
                    to Smith’s death   Smith to           Omitted are      Counsel of    BYU student
                    in 1844. These     Clayton,           years 1843-      50            and circulated
                    are the            August, 1843       44.              minutes,      to some
                    1843-1844                                              only.         secretly circa
                    journals.                                                            1982. Most
                                                                                         copies
                                                                                         destroyed.
 Smith’s Jupiter    Worn daily as      Demonstrates       Upon info.       Never.        Never
 Talisman           an adult,          Smith’s belief     and belief,      Believed      mentioned in
                    according to his   in folk magic/     COP has the      now to be     correlated
                    wife, Emma         and astrology      talisman or      in a          materials.
                    Hale.                                 had chances      private       Upon info. &
                                                          to purchase it   collection.   belief, COP
                                                          from at least                  never tried to
                                                          the mid-20th                   buy from
                                                          Century.                       private party.




      ITEM          DESCRIPTION        MATERIALITY        CUSTODY          Disclosure    EVIDENCE OF
                                                                                         CONCEALMENT
 Smith’s Egyptian   Smith’s notes      Shows Smith’s      In Church        Circa 2018    Not disclosed
 Grammar and        made in            ignorance of       custody from     in JSP        until 2018 and
 Alphabet           conjunction        Egyptian           the              volume        then only in
                    with his Book of   hieratics.         document’s       about         the JSP. Never



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                   Abraham                              creation circa   Book of       in correlated
                   translation                          1842             Abraham       materials.
 Smith’s original  All of Smith’s     Joseph Smith’s    Believed to      2008 to       Only relatively
 journals/ledgers. writings and       thoughts and      be in Church     present.      recently
                   those he           admissions.*      archives since   JSP hard      released and
                   dictated.          E.g. “…as a       creation of      copies sold   inaccessible
                                      body of people    journals and     at about      except for a
                                      [his              ledgers or       $100 each.    brief time in
                                      congregation      within 10-15     *Some         the early
                                      are] the          years            excerpts      1970s.
                                      greatest dupes    thereafter.      have been
                                      that ever                          excluded.
                                      were…” Smith
                                      1843
 Soon after a       EPA’s President   Clarke shows      Slide and        Soon after    It was
 March 2013         Roger Clarke      slide at March    other            a March       important
 Meeting                              2013 indicating   documentatio     2013,         that people
                                      that City Creek   in COP’s         attended      should not
                                      Mall and          custody.         by EPA        know EPA’s
                                      Beneficial Life                    employee      role as the
                                      Co. were two                       David A.      source of the
                                      examples                           Neilsen.      [City Creek
                                                                                       Mall] funds.
405.   The important facts that COP failed to disclose are the following: that in or before 1901

Church leadership gained custody and control of the brown opaque stone that all eyewitnesses

except Smith claim was used by Smith while placed in a hat, no gold plates in sight, to create the

Book of Mormon; that COP has had the only handwritten and original account of his First Vision

by Mormon founder Joseph Smith for over 100 years if not from the very beginning of Mormon

history, which account differs in significant ways from the correlated version in that Smith

claims to have seen only the Lord (not two personages) who forgave him of his sins (no mention

of the statement that all other creeds were false, as is included in the correlated version of the

First Vision); that the Church has had since their creation in 1835 original manuscripts of the




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Book of Abraham and Smith’s Egyptian Grammar and Alphabet; 108 that Egyptologists,

including LDS Egyptologists, agree that the Book of Abraham facsimiles do not depict the

Hebrew Prophet Abraham nor the events in his life; that the existence of the metal printing plate

used in facsimile no. 3 that shows scrape marks where the Egyptian God Anubis’ snout was

likely removed, and what appears to be Anubis’ ear in profile (compared to what one might think

was an errant spike on top of the slave’s head from a woodcut sliver—which is how the source

for facsimile printing had been described prior to Oct. 29, 2018); that Smith committed prolific

adultery, only later characterized as polygamy (including to 14-year-old girls) and polyandry

(marrying other men’s wives), while married to Emma Hale and in violation of state laws; that

Smith engaged in folk magic during the time he was contemplating retrieving the gold plates,

using the same stones he used to “translate” LDS scripture.

406.   COP also failed to disclose that none of the artwork contained in the correlated traditional

narrative as promulgated in manuals, the Ensign monthly magazine, and publications over the

last more than half a century fairly depicts the information contained through a knowledge of the

stones, artifacts, original manuscripts, documents and/or other material information that has been

in Defendant’s archives. And/or,

407.   COP failed to disclose Smith’s long history of violating criminal and civil fraud laws and

escaping the laws of the land. (See Table of Crimes and Civil Frauds ¶36 above). And/or,




  "Grammar and Alphabet of the Egyptian Language, circa July–circa November 1835," The
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Joseph Smith Papers, accessed March 15, 2021, https://www.josephsmithpapers.org/paper-
summary/grammar-and-alphabet-of-the-egyptian-language-circa-july-circa-november-1835/1
(See Exhibit 4, filed with this complaint.)
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408.   Defendant failed to disclose that a substantial part of tithing is used to fund and/or

develop commercial projects, including but not limited to City Creek Mail development, the

bailout of Beneficial Life Insurance Co. and many other projects over the last 50 years or more.

409.   For all relevant time periods, COP has known about the existence of the stones, artifacts,

documents, original manuscripts, the material information about LDS history, source of its

scripture; and/or

410.   For all relevant time periods, COP has known about Smith’s criminal history and history

of civil fraud more fully described above, that it has concealed for over a half century. And/or

411.   For all relevant time periods, COP knowingly used tithing for commercial purposes.

412.   Plaintiffs did not know about the existence of the stones, artifacts, original manuscripts,

documents, and information described above that COP failed to disclose. And/or,

413.   Plaintiffs did not know about Smith’s lengthy criminal and civil fraud history because

Defendant either omitted any reference to it in any correlated material. Or it referenced his legal

history as involving Smith in “unfair charges,” and “vexatious lawsuits” thereby characterizing

Smith as a victim instead of a perpetrator of crimes and civil fraud. Plaintiffs had no reason to

research about Smith’s legal history since his character had always been extolled by Defendant

as one who should be emulated and compared as to “Second only Jesus Christ.” And since

Plaintiffs reasonably believed that COP’s Brethren would act in good faith toward them; And/or,

414.   Plaintiffs did not know about COP’s use of tithing for commercial purposes.

415.   Had COP disclosed the existence of the stones, artifacts, original manuscripts,

documents, and information more specifically itemized above, Plaintiffs would not have paid

tithing and otherwise dedicated their lives and financial support to the COJCOLDS since the


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information and items contained in Defendant’s archives differed in significant respects from

what COP promulgated in its written and spoken correlated rhetoric. And the correlated artwork

and film depictions differ radically from what one acting in good faith would have depicted. Had

Plaintiffs been privy to the items and information concealed in Defendant’s archives as more

fully described above, they would not have committed to the COJCOLDS. And/or,

416.   Had Defendant during the relevant time period, fully and fairly disclosed Smith’s long

history of crimes and civil frauds and running from the law, including but not limited to being

convicted of crimes some involving fraud and sued civilly for fraud, committed adultery

unknown to his only legal wife Emma, and denied bankruptcy because of fraudulent transfers as

more specifically detailed above, Plaintiffs would not have paid tithing and otherwise dedicated

their lives and financial support to the COJCOLDS. And/or

417.   COP’s failure to disclose how it used tithing for commercial ventures was a substantial

factor in causing Plaintiffs’ injuries and damages in that had that fact been disclosed and had

they known that Defendant was stockpiling tens of billions of dollars, much of which appears to

have been initially funded from at least interest on surplus tithing donations, if not tithing

principal, Named Plaintiffs would not have paid tithing to the COJCOLDS, Upon information

and belief, almost all potential members of the class would also have stopped tithing had they

known the above. A very few members of the potential class, upon information and belief, less

than a single digit percent, had they known the above, but not about the misrepresentations in the

historical narrative and Smith’s character, i.e., had they not yet discovered the issues with the

orthodox narrative, might have paid a reduced the amount of tithing and would have begun

questioning the Brethren’s and Smith’s motives leading to research outside the parameters of


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correlated or Church approved documents, much earlier than they did, thereby saving them years

of wasted commitment to a fraud, had they known that COP.

418.     Plaintiffs’ injuries and damages are a direct result and/or a reasonably probable

consequence of the failure to disclose.

419.     Defendant’s failure to disclose conduct was a substantial factor in bringing about

Plaintiffs’ injuries which are of a type that a reasonable person would foresee as a likely result of

his or her conduct.

420.     GADDY, SMALL HARRIS and others like them as well as potential class members,

Plaintiffs herein, were damaged as a result of COP’s failure to disclose any or all the above

stones, artifacts, original manuscripts, documents, and information. And/or,

421.     GADDY, HARRIS AND SMALL and others like them, were damaged as a result of

COP’s failure to disclose Smith’s criminal and civil fraud history and running from the law;

And/or

422.     GADDY, HARRIS AND SMALL and others like Plaintiffs herein, were damaged as a

result of COP’s failure to disclose of its use of tithing for commercial purposes.

423.     Named Plaintiffs and those like them as potential class members have suffered damages,

including general damages for emotional distress and special damages for tithing paid and the

value of services rendered to COP, including but not limited to missionary service, tuition for

attending an LDS affiliated school and therapy or counseling expense, and the value of lost

opportunity based on the lack of disclosure.




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THIRD CAUSE OF ACTION: FRAUDULENT CONCEALMENT (INTENTIONAL)

424.   Plaintiffs hereby incorporate paragraphs 1-423 above as though fully set forth herein.

425.   COP by and through the Brethren and its agent leaders “made use of a device that misled,

some trick or contrivance intended to exclude suspicion and prevent inquiry,” which constitutes

fraudulent concealment under Jensen v. IHC Hosps., Inc., 944 P.2d 327, 333 (Utah 1997), on

reh'g (Aug. 22, 1997), in that COP consciously concocted a correlated traditional historical

narrative of Mormon history and LDS origins, which included Smith’s character, divorced from

what a reasonable narrative of that history would have been, had the existence of the stones,

artifacts, original manuscripts, documents and information concealed in its archives and

information concealed by Defendant been known by Plaintiffs.

426.   COP engaged in this deceptive scheme while simultaneously urging members to trust the

Brethren and COP leader-agents, and while teaching the principles of honesty, including full

disclosure, and free agency (See Invitation to Trust Table ¶144) And/or,

427.   COP by and through the Brethren and its agent leaders “made use of a device that misled,

some trick or contrivance intended to exclude suspicion and prevent inquiry,” which constitutes

fraudulent concealment under Jensen v. IHC Hosps., Inc., 944 P.2d 327, 333 (Utah 1997), on

reh'g (Aug. 22, 1997), in that COP assured Plaintiffs that the founder of the Mormon religion

was a man second only to Jesus Christ, was one whose moral character was to be emulated and

one who was a victim of “illegal charges” and “vexatious lawsuits” instead of a perpetrator and

instigator and defendant in the criminal and civil justice system, as more fully described in ¶36,

Table of Crimes and Civil Frauds. And/or




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428.   COP by and through the Brethren and its agent leaders “made use of a device that misled,

some trick or contrivance intended to exclude suspicion and prevent inquiry,” which constitutes

fraudulent concealment under Jensen v. IHC Hosps., Inc., 944 P.2d 327, 333 (Utah 1997), on

reh'g (Aug. 22, 1997), in that COP assured Plaintiffs that their tithing was used for church

[reasonably interpreted to mean religious] purposes and activities, concealing that it was also

used for profit-making investments and commercial enterprise development.

429.   The important facts that COP concealed are the following: that in or before 1901 Church

leadership gained custody and control of the brown opaque stone that eyewitnesses claim was

used by Smith while placed in a hat, no gold plates in sight, to create the Book of Mormon; that

COP has had the only handwritten and original account of his First Vision by Mormon founder

Joseph Smith for over 100 years if not from the very beginning of Mormon history, which

account differs in significant ways from the correlated version in that Smith claims to have seen

only the Lord (not two personages) who forgave him of his sins (no mention of the statement that

all other creeds were false, as is included in the correlated version of the First Vision); that the

Church has had since their creation, original manuscripts of the Book of Abraham and Smith’s

Egyptian Alphabet and Grammar 109; that Egyptologists, including LDS Egyptologists, agree that

the Book of Abraham facsimiles do not depict the Hebrew Prophet Abraham nor the events in his

life; the existence of the metal printing plate used in facsimile no. 3 that shows scrape marks

where the Egyptian God Anubis’ snout was likely removed, and what appears to be Anubis’ ear




  "Grammar and Alphabet of the Egyptian Language, circa July–circa November 1835," The
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Joseph Smith Papers, accessed March 15, 2021, https://www.josephsmithpapers.org/paper-
summary/grammar-and-alphabet-of-the-egyptian-language-circa-july-circa-november-1835/1
(See Exhibit 4, filed with this complaint.)
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in profile (compared to what one might think was an errant spike on top of the slave’s head from

a woodcut sliver—which is how the source for facsimile printing had been described prior to

Oct. 29, 2018); that Smith committed prolific adultery, only later characterized as polygamy

(including to 14-year-old girls) and polyandry (marrying other men’s wives), while married to

Emma Hale and in violation of state laws; that Smith engaged in folk magic during the time he

was contemplating retrieving the gold plates, using the same stones he used to “translate” LDS

scripture; that Smith was convicted of fraud in 1826, a year before he obtained the gold plates;

that he was convicted of running an illegal bank, that he was sued by former members for their

losses from that illegal bank, that he was denied discharge in bankruptcy because he fraudulently

transferred his assets shortly before he filed the bankruptcy petition, that he pleaded guilty to

assault, that he destroyed a the private property of a printing press owned by his former

counselor in the church because he did not like exposure of his crimes and character in the article

written and printed by the press’s owner, that he had been indicted for treason numerous times

and that was the reason he was in Carthage jail at the time he was killed. That he had been

charged with numerous other crimes, convicted of some, acquitted of some, and fled the court’s

jurisdiction in others. See table of concealed items and information in ¶404 above.

430.   The artwork contained in the correlated traditional narrative as promulgated in manuals,

displayed in chapels and visitor’s centers, published in the Ensign monthly magazine, Sunday

school, missionary and other instructional manuals, and publications over the last more than half

a century concealed that a stone was placed in a hat from which dictated the Book of Mormon

and that only one personage appeared to Smith in his 1820 vision. That art, commissioned to

specifically exclude the concealed items and information, and promulgated widely by COP, does


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not fairly depict the information gleaned through a knowledge of the stones, artifacts, original

manuscripts, documents and/or other information that Defendant concealed in its archives.

And/or,

431.   Defendant concealed Smith’s lengthy criminal and civil fraud history, as set forth in the

Table of Smith’s Crimes and Civil Frauds at ¶36 above.

432.   Defendant concealed that tithing is used for commercial projects, including but not

limited to City Creek Mail development, the bailout of Beneficial Life Insurance Co. and other

commercial projects it has funded and/or developed and or even manages, throughout the United

States and globally.

433.   For all relevant time periods, COP has known about the existence of the stones, artifacts,

documents, original manuscripts, and other information more fully described above, that it has

concealed for over a half century. And/or

434.   For all relevant time periods, COP has known about Smith’s criminal convictions, fines,

secret adultery, civil frauds, including fraudulent transfers that prevented his bankruptcy.

435.   For all relevant time periods, COP knowingly used tithing for commercial purposes.

436.   Plaintiffs did not know about the existence of the stones, artifacts, original manuscripts,

documents, and information described above that has been concealed by COP for over a half

century. And/or,

437.   Plaintiffs did not know about Smith’s lengthy criminal and civil fraud history since he

was always described as a victim of the legal system, not a perpetrator of crimes and torts.

And/or,

438.   Plaintiffs did not know about COP’s use of tithing principal for commercial purposes.


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439.   COP’s concealment of the existence of the stones, tools, artifacts, original manuscripts,

documents, and information itemized above, were matters known to it that it knew to be

necessary to disclose to its members and potential members to prevent its partial or ambiguous

representations of LDS history, including the character of its founding prophet, Smith, from

being misleading. And/or,

440.   COP’s concealment of Smith’s Crimes and Civil Frauds and long history with the law as

detailed in paragraph ¶36 above, were facts known to it that it knew to be necessary to fully and

fairly disclose to its members to prevent its partial or ambiguous representations about Smith and

the law from being misleading. And/or,

441.   COP’s concealment of the fact that tithing was used for commercial purposes were

matters known to it that it knew to be necessary to fully and fairly disclose to its members to

prevent its partial or ambiguous representations that tithing was used for Church purposes from

being misleading.

442.   Had COP fully and fairly revealed the existence of the stones, artifacts, original

manuscripts, documents, and information more specifically itemized above, Plaintiffs would not

have paid tithing and otherwise dedicated their lives and financial support to the COJCOLDS

since the information and items contained in Defendant’s archives differed in significant respects

from what COP promulgated in its written and spoken correlated rhetoric. And the correlated

artwork and film depictions differ radically from what one acting in good faith would have

depicted. Had Plaintiffs been privy to the items and information concealed in Defendant’s

archives as more fully described above, they would not have committed to the COJCOLDS.

And/or,


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443.   Had Defendant during the relevant time period, fully and fairly revealed Smith’s long

history of crimes and civil frauds and running from the law, including but not limited to being

convicted of crimes some involving fraud and sued civilly for fraud, committed adultery

unknown to his only legal wife Emma, and denied bankruptcy because of fraudulent transfers as

more specifically detailed above, Plaintiffs would not have paid tithing and otherwise dedicated

their lives and financial support to the COJCOLDS. And/or

444.   COP’s concealment of the items and information itemized in paragraphs 404-407 above

was a substantial factor in causing Plaintiffs’ injuries and damages in that Plaintiffs would not

have paid tithing to the COJCOLDS, or reduced the amount of tithing paid and/or questioned the

Brethren’s and Smith’s motives leading to research outside the parameters of correlated or

church-approved publications much earlier than they did, thereby saving them years of wasted

commitment to a fraud, had they known about the items, information and facts described above.

And/or,

445.   COP’s intentional concealment about how it used tithing for commercial ventures was a

substantial factor in causing Plaintiffs’ injuries and damages in that had that fact been disclosed

and had they known that Defendant was stockpiling tens of billions of dollars, much of which

appears to have been initially funded from at least interest on surplus tithing donations, if not

tithing principal, Named Plaintiffs would not have paid tithing to the COJCOLDS, Upon

information and belief, almost all potential members of the class would also have stopped tithing

had they known the above. A very few members of the potential class, upon information and

belief, less than a single digit percent, had they known the above, but not about the

misrepresentations in the historical narrative and Smith’s character, i.e., had they not yet


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discovered the issues with the orthodox narrative, might have paid a reduced the amount of

tithing and would have begun questioning the Brethren’s and Smith’s motives leading to

research outside the parameters of correlated or Church approved documents, much earlier than

they did, thereby saving them years of wasted commitment to a fraud.

446.   Plaintiffs’ injuries and damages are a direct result and/or a reasonably probable

consequence of the concealment of the above items and information. Defendant’s conduct was a

substantial factor in bringing about Plaintiffs’ injuries which are of a type that a reasonable

person would foresee as a likely result of his or her conduct.

447.   GADDY, SMALL and HARRIS and others like her, Plaintiffs herein, were damaged as a

result of COP’s intentional concealment of any or all the above stones, artifacts, original

manuscripts, documents, and information. And/or,

448.   GADDY, SMALL and HARRIS and others like them, Plaintiffs herein, were damaged as

a result of COP’s intentional concealment of Smith’s crimes and civil frauds as more fully

described above. And/or,

449.   GADDY, SMALL and HARRIS and others like, Plaintiffs herein, her were damaged as a

result of COP’s intentional concealment of its use of a substantial part of tithing for commercial

purposes.

450.   Plaintiffs have suffered damages, including general damages for emotional distress and

special damages for tithing paid and the value of services rendered to COP, including but not

limited to missionary service, tuition for attending an LDS affiliated school and therapy or

counseling expense, and the value of lost opportunity and punitive damages, based on the

concealment.


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FOURTH CAUSE OF ACTION: CONSTRUCTIVE FRAUD BASED ON BREACH OF

PROMISES OF FUTURE PERFORMANCE

451.    Defendant invited the trust of GADDY, SMALL and HARRIS, potential class Plaintiffs

and LDS members by promising never to lead them astray as itemized in the Invitation to Trust

Table ¶144 above.

452.    Through its local agent bishops and counselors, branch presidents and counselors, stake

presidents and counselors and ward clerks, Defendant established confidential relationships with

Plaintiffs when they interviewed Plaintiffs and each of them for baptism, whether at age eight or

later in life, and for and GADDY, SMALL and HARRIS, all others similarly situated when

interviewed for worthiness to obtain their temple endowment/recommend and renew it biennially

thereafter.

453.    Defendant exercised extraordinary influence over Plaintiffs including potential class

members. Defendant was or should have been aware that Plaintiffs and each of them reposed

trust and confidence in Defendant and its agents and reasonably relied on Defendant's guidance.

454.    Defendant never intended to keep the promises made by the Brethren and its agents that

they would not lead the members of the Church astray in that at the time those statements were

made COP had in place their Correlation Department with which they intended and did in fact

make both affirmative misrepresentations and failed to fully and fairly disclose and/or

intentionally concealed material information that a reasonable person, including Plaintiffs herein,

would want to know in order to commit to the COJCOLDS.

455.    Defendant’s leader agents made the promises itemized in the table of trust to never lead

LDS members astray as well as other promise inviting trust made by its agents, for example that


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“But I wish to give the entire Church the assurance that tithing funds have not and will not be

used to acquire this property. Nor will they be used in developing it for commercial purposes,”

(See ¶237 above, statement of Gordon Hinckley), for the purpose of deceiving Plaintiffs and

those like them into trusting that Defendant’s leader agents would act, and did act, in good faith

toward them so that Plaintiffs would continue to pay a full tithe thereby funding the Mormon

Corporate Empire.

456.   Defendant breached that promise to never lead Plaintiffs astray by not acting in good

faith with regard to its characterization of Smith vis a vis secular laws as always being a victim

and illegally charged, and by omitting and/or distorting Smith’s criminal and civil fraud history

as more fully itemized in Smith’s Table of Crimes and Civil Frauds ¶36, above. And/or,

457.   Defendant breached that promise to never lead Plaintiffs astray with regard to its

representations and less than full and fair disclosure about what it had done, was doing, and

intended to do with respect to Plaintiffs’ tithing; and

458.   Plaintiffs would not have paid tithing and committed their lives and time to the

COJCOLDS had COP fully and fairly disclosed the material items and information concealed, as

more fully itemized above. And/or,

 459. Plaintiffs would not have paid tithing and committed their lives and time to the

 COJCOLDS had COP fully and fairly disclosed Smith’s criminal and civil fraud history as

 itemized above; And or

460.   COP’s claims to never lead members astray were made when it knew or should have

known about tithing used for commercial ventures. This was a substantial factor in causing

Plaintiffs’ injuries and damages in that had that fact been disclosed and had they known that


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Defendant was stockpiling tens of billions of dollars, much of which appears to have been

initially funded from at least interest on surplus tithing donations, if not tithing principal, Named

Plaintiffs would not have paid tithing to the COJCOLDS, Upon information and belief, almost

all potential members of the class would also have stopped tithing had they known the above. A

very few members of the potential class, upon information and belief, less than a single digit

percent, had they known the above, but not about the misrepresentations in the historical

narrative and Smith’s character, i.e., had they not yet discovered the issues with the orthodox

narrative, might have paid a reduced the amount of tithing and would have begun questioning the

Brethren’s and Smith’s motives leading to research outside the parameters of correlated or

Church approved documents, much earlier than they did, thereby saving them years of wasted

commitment to a fraud.

461.   Defendant’s conduct was a substantial factor in bringing about Plaintiffs’ injuries.

462.   Wherefore Plaintiffs and potential class members and each of them were damaged by

Defendant’s bad faith actions toward them and seek damages for tithing paid and the value of

services rendered to COP, including but not limited to missionary service, tuition for attending

an LDS affiliated school and therapy or counseling expense, and the value of lost opportunity

and punitive damages, based on the bad faith actions of Defendant in leading them astray.

FIFTH CAUSE OF ACTION: VIOLATION OF THE UTAH CHARITABLE

SOLICITATIONS ACT.

463.   GADDY, SMALL and HARRIS reallege and incorporate by reference their allegations

in paragraphs 1-462 above as if fully set forth herein.




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464.     COP, though exempt from registration, is subject to the Utah Charitable Solicitations

Act, Utah Code Ann. § 13-22-1.

465.     The Act requires in pertinent part that:

          In connection with any solicitation, each of the following acts and practices is

          prohibited:...

          (3) making any untrue statement of a material fact or failing to state a material
          fact necessary to make statements made, in the context of the circumstances
          under which they are made, not misleading, whether in connection with a
          charitable solicitation or a filing with the division…

       Utah Code Ann. § 13-22-13.

466.     At all relevant times, each year at General Conference COP’s Brethren solicited the

payment of tithing from Plaintiffs, and potential class members, at times going so far as to call

tithing “fire insurance.” Defendant characterized payment of a full tithe as fire insurance in

several speeches and publications and in its ongoing scripture (D&C 85:3 and D&C 64:23-25)

still taught to this day. “Tithing will keep your name enrolled among the people of God and

protect you in ‘the day of vengeance and burning’ (D&C 85:3),” says Elder Russell M. Nelson of

the Quorum of the Twelve Apostles. Those tithed Not Burned at His Coming. (D&C 64:23-25)

Pres Hinckley teaches that those tithed will not be burned at His coming in video apparently

created in 2010 and continued to be available online as of July 31, 2019.

https://www.churchofjesuschrist.org/media-library/video/2010-07-057-those-tithed-not-burned-

at-his- coming?lang=eng#d

467.     In each issue of the Ensign magazine from 1971 onward, the Brethren solicited tithing

from members either directly or implicitly by urging members to qualify for full temple access,

where families could be together in the afterlife. These solicitations were also made through

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COP publications and Sunday and other meetings by local lay leaders at the direction of COP’s

Brethren. Defendant urged even the poor and destitute to tithe and to pay tithing before paying

bills and the necessities of living.

468.    At General Conference and/or in COP publications and/or during solicitations by local

leaders, material facts were omitted about LDS Church’s key historical events, and the existence

of stones, artifacts, original manuscripts, documents, and information related to the First Vision,

the process by which LDS scripture was created and character of Joseph Smith, as more fully

detailed above in the preceding paragraphs. And/or,

469.    At General Conference and in COP publications and during solicitations by local leaders,

material facts were omitted about Smith’s history of criminal and civil fraud; And/or,

470.    And/or, at General Conference and in COP publications and during solicitations by local

leaders, material facts were omitted about how a substantial portion of tithing would be used to

finance, develop, and even manage commercial projects.

471.    At all relevant times, each year at General Conference COP’s Brethren made solicitations

for tithing to Plaintiff and others similarly situated, at times going so far as to call tithing “fire

insurance.” These solicitations were also made through COP publications and by local lay

leaders at the direction of COP’s Brethren. At General Conference and/or in COP publications

and/or during solicitations by local leaders, the fact that tithing was used for commercial

purposes was omitted.

472.    Plaintiffs relied on these misrepresentations and rhetoric that omitted material facts, i.e.,

that COP had custody of certain concealed items and information material to LDS history; and/or




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473.   Plaintiffs relied on these misrepresentations and rhetoric that omitted that Smith was

engaged in a long history of violating and running from criminal and civil fraud laws; and/or

474.   Plaintiffs relied on these misrepresentations lacking a full and fair disclosure that COP

used their tithing for commercial purposes, in deciding whether or not to donate to the Church.

475.   The misrepresentations induced Plaintiffs and potential class members to act as they did

by tithing to the LDS Church.

476.   But for COP’s failure to disclose the material facts and items about LDS history and/or

Smith’s criminal and civil fraud history, Plaintiffs and potential class members would not have

dedicated their lives to the COJCOLDS and paid a full tithe. And/or

477.   COP’s failure to fully and fairly disclose how it used tithing for commercial purposes was

a substantial factor in causing Plaintiffs’ injuries and damages in that Plaintiffs would not have

paid tithing to the COJCOLDS, or reduced the amount of tithing paid and/or questioned the

Brethren’s and Smith’s motives leading to research outside the parameters of correlated or

church approved documents, much earlier than they did, thereby saving them years of wasted

commitment to a fraud, had they known that COP used a significant part of tithing to fund

commercial ventures in order to expand the holdings of the Mormon Corporate Empire.

478.   Defendant’s conduct was a substantial factor in bringing about Plaintiffs’ injuries.

479.   Wherefore Plaintiffs and potential class members and each of them were damaged by

Defendant’s bad faith actions toward them and seek damages for tithing paid and the value of

services rendered to COP, including but not limited to missionary service, tuition for attending

an LDS affiliated school and therapy or counseling expense, and the value of lost opportunity

and punitive damages, based on the bad faith actions of Defendant in leading them astray.


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480.     Plaintiff and others similarly situated were damaged in the cumulative amount of their

tithing paid to Defendant.

            SIXTH CAUSE OF ACTION: CIVIL RICO —18 U.S.C. § 1962(c)

481.     GADDY, SMALL and HARRIS reallege and incorporate by reference her allegations in

paragraphs 1-480 above as if fully set forth herein.

482.     COP engaged in a scheme or schemes to defraud GADDY, SMALL and HARRIS and

other potential class members by misrepresenting the cumulative states of mind of the Brethren

with regard to their belief in the correlated representations identified above, and by concealing

stones artifacts, original manuscripts, affidavits, documents, and information material to

Plaintiffs’ decision to comit the COJCOLDS as more fully described in the paragraphs above.

And/or

483.     COP engaged in a scheme or schemes to defraud GADDY, SMALL and HARRIS and

other potential class members by misrepresenting concealing Smith’s treasure hunting and

misrepresenting Smith’s criminal and civil fraud history including extensive practice of

adultery/polygamy. And/or,

484.     COP engaged in a scheme or schemes to defraud GADDY, SMALL and HARRIS and

other potential class members by concealing the fact that tithing was used for commercial

purposes.

485.     This longstanding correlated pattern of affirmative misrepresentations, omissions, and

concealment by COP of the above referenced acts are those that a reasonable person would think

material in the context of deciding whether to commit to the LDS Church. These facts have been

known to COP from at least Correlations creation in 1961. COP knowingly devised or


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knowingly participated in a scheme and/or artifice to defraud GADDY, SMALL and HARRIS

and potential class members to obtain their money or property by means of false or fraudulent

pretenses, representations, or promises, including key omissions and concealment as described in

the preceding paragraphs.

486.   COP could foresee that the U.S. Postal Service and interstate wires would be used “for

the purpose of” advancing, furthering, executing, concealing, conducting, participating in, or

carrying out the fraud scheme, within the meaning of 18 U.S.C. §§ 1341 and 1343.

487.   In particular, pursuant to the scheme to defraud the Named Plaintiffs and other putative

class members, COP knew or could foresee that the U.S. Postal Service and interstate wires

would be used to receive and/or deliver, inter alia, communications for the purpose of persuading

all Plaintiffs to donate their time, money, and energy for the economic benefit of the Mormon

Corporate Empire.

488.   COP acting singly and in concert, personally or through its agents, used the U.S. Postal

Service and interstate wires or caused the U.S. Postal Service or interstate wires to be used “for

the purpose of” advancing, furthering, executing, concealing, conducting, participating in, or

carrying out a scheme to defraud Named Plaintiffs and other class members within the meaning

of 18 U.S.C. §§ 1341 and 1343.

489.   It is not possible for Named Plaintiffs to plead with particularity all instances of mail and

wire fraud that advanced, furthered, executed, and concealed the scheme because the particulars

of many such communications are within the exclusive control and knowledge of COP. By way

of example, however, COP specifically used the U.S. Postal Service or interstate wires or caused

the U.S. Postal Service or interstate wires to deliver each and every email, electronic transfer,


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conference speech, letter, mailing, mission calling, and other uses of the mail and wire described

in ¶¶140-290, above.

490.   Upon information and belief, some of the wire communications described above occurred

between persons in the same state but crossed interstate borders by reason of the technology and

other mechanisms used to transmit the communication.

491.   Each and every use of the U.S. Postal Service or interstate wires described above was

committed by COP acting singly and in concert, personally or through its agents, with the

specific intent to defraud GADDY, SMALL and HARRIS and potential class members to obtain

the money or property of Named Plaintiffs and other class members by means of false or

fraudulent pretenses, representations, or promises, including material omissions. COP’s acts of

mail and wire fraud were in violation of §§ 1341 and 1343 and constitute racketeering activity as

defined by 18 U.S.C.A. § 1961(1)(B).

                             The Mormon Corporate Enterprise

492.   The Mormon Corporate Enterprise (consisting of COP, CES, Correlation, IRI, DMC, DB,

DNP, DDM, BIC, CPB, EPA and unnamed business entities, their employees, and local

individuals who lead the Church (or any subset thereof) constitutes an “enterprise,” within the

meaning of § 1961(4) & 1962(c), in that they are “a group of individuals associated in fact.”

493.   The members of the Enterprise shared the common purpose(s) of (among other things)

defrauding LDS members of money or property and publishing and otherwise disseminating

affirmative misrepresentations that the Book of Mormon was translated directly from gold plates

and not dictated from a stone in a hat, that the Hebrew prophet, Abraham is depicted in the Book




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of Abraham facsimiles, and that Smith had one wife, Emma. It also failed to disclose Smith’s

1832 account of his 1820 First Vision. And/or,

494.   Members of the Enterprise failed to disclose that the Brethren do not sincerely believe the

above affirmative misrepresentations and the correlated version of the First Vision absent

disclosure of Smith’s 1832 account. They assisted Defendant in concealing the stones, artifacts,

original manuscripts, affidavits, documents, and information about LDS origins; And, or

495.   They promulgated a version of Smith as a victim of lawsuits and the legal system, while

concealing his criminal and civil fraud history and extensive adultery as more particularly

detailed above in ¶36. And/or,

496.   The members of the Enterprise shared the common purpose(s) of (among other things)

defrauding LDS members of money or property and publishing and otherwise disseminating and

affirmatively misrepresenting that tithing was not used to fund City Creek Mall and concealing

information about their use of LDS members’ tithing for commercial purposes, to bailout

Beneficial Life Insurance and to invest, purchase and even develop commercial projects across

the U.S. and the world.

497.   The members of the Enterprise are related in that they are all involved in the correlation

and publication of Defendant’s rhetoric and propaganda and in the collection and transfer of

money from individual LDS members to Defendant COP.

498.   The Enterprise possesses sufficient longevity for the members to carry out their

purpose(s) in that the Enterprise has existed (at minimum) from the mid-twentieth century

through the present.




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499.   COP is a “person” within the meaning of 18 U.S.C.A. § 1961(3) & 1962(c), who

conducted, participated in, engaged in, and operated and managed the affairs of the Mormon

Corporate Empire Enterprise through a pattern of racketeering activity within the meaning of 18

U.S.C.A. §1961(1), 1961(5) & 1962(c). This pattern of racketeering activity consisted of, but

was not limited to, acts of mail and wire fraud as set forth in ¶¶140-290, above.

                             The Mormon Educational Enterprise

500.   In the alternative to ¶¶492-499 above, the Mormon Educational Enterprise (consisting of

all individual missionaries as unwitting victims), all individual conference speakers and

organizers, all instructors at LDS Seminary, LDS Institute and LDS higher education colleges

and universities, MTC instructors and all local lay leaders and teachers (or any subset thereof)

and the Chief Editor(s) for the JSP, constituted an “enterprise,” within the meaning of 18

U.S.C.A. § 1961(4) & 1962(c), in that they are “a group of individuals associated in fact.”

501.   The members of the Mormon Educational Enterprise shared the common purpose(s) of

(among other things) publishing and otherwise disseminating correlated propaganda, including

speech, which misrepresented Mormon history including but not limited to the Book of Mormon

was translated directly from gold plates, that Smith was married to just one woman, Emma Hale,

that Abraham is the author of the Book of Abraham and is depicted in the facsimiles found

within the Book of Abraham. The members of the Enterprise, failed to disclose that Smith’s

original account of his 1820 First Vision, written in 1832 was only that he spoke with the Lord

(one personage) who told him that his sins were forgiven.

502.   The members of the Mormon Educational Enterprise did not disclose that the Brethren do

not sincerely believe the forgoing affirmative representations and the story of the First Vision,


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absent a full and fair disclosure of Smith’s 1832 account. Missionaries and some local teachers

and possibly employee teachers were and are unwitting participants in the scheme, having also

been told that the Brethren would never lead them astray. And/or,

503.   The members of the Mormon Educational Enterprise shared the common purpose(s) of

(among other things) publishing and otherwise disseminating correlated propaganda that

misrepresented Smith’s character including his convictions and extensive criminal and civil

fraud history and extensive secret adultery as more fully set forth in ¶36 above. And/or,

504.   The members of the Mormon Educational Enterprise shared the common purpose(s) of

(among other things) publishing and otherwise disseminating correlated propaganda that

misrepresented that no tithing was used for City Creek Mall and failed to disclose that tithing

was used to bail out Beneficial life Insurance company and that tithing was used to invest,

purchase, and even develop extensive commercial entities across the U. S. and the world.

505.   The members of the Mormon Educational Enterprise are related in that they are all

involved in the publication and dissemination of deceptive Mormon/LDS rhetoric and

propaganda and enabled the deceptions above described.

506.   The Mormon Educational Enterprise possesses sufficient longevity for the members to

carry out their purpose(s) in that the Mormon Educational Enterprise has existed (at a minimum)

from the mid-twentieth century through the present.

507.   COP is a “person” within the meaning of 18 U.S.C.A. § 1961(3) & 1962(c), who

conducted, participated in, engaged in, and operated and managed the affairs of the Mormon

Educational Enterprise through a pattern of racketeering activity within the meaning of 18




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U.S.C.§§1961(1), 1961(5) & 1962(c). This pattern of racketeering activity consisted of, but was

not limited to, acts of mail and wire fraud as set forth in ¶¶140-290 above.

                                 The Mormon Collection Enterprise

 508. In the alternative to ¶¶ 492-507 above, the Mormon Collection Enterprise (consisting of

 all Bishops, counselors and ward clerks, Branch presidents, counselors, and clerks, Stake

 presidents, counselors and clerks, and Mission District Presidents, counselors, and clerks)

 constituted an “enterprise,” within the meaning of 18 U.S.C.A. § 1961(4) & 1962(c), in that

 they are “a group of individuals associated in fact.”

 509. The members of the Mormon Collection Enterprise shared the common purpose(s) of

 (among other things) collecting tithing from Plaintiffs and remitting all of that tithing to

 Defendant COP ) publishing and otherwise disseminating correlated propaganda, including

 speech, that misrepresented Mormon history including that the Book of Mormon was translated

 directly from gold plates, that Smith was married to just one woman, Emma Hale, that Abraham

 is the author of the Book of Abraham and is depicted in the facsimiles found within the Book of

 Abraham. The members of the Collection Enterprise, failed to disclose that Smith’s original

 account of his 1820 First Vision, written in 1832 was only that he spoke with the Lord (one

 personage) who told him that his sins were forgiven. And/or,

510.   The members of the Mormon Collection Enterprise shared the common purpose(s) of

(among other things) collecting tithing from Plaintiffs and remitting all of that tithing to

Defendant COP all the while representing that the Brethren sincerely believed the affirmative

representations set forth in ¶509, immediately above and affirming the correlated version of the

First Vision, without fully and fairly disclosing Smith’s 1832 account. (Missionaries and some


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local teachers were and are unwitting participants in the scheme, having also been told that the

Brethren would never lead them astray.) And/or,

511.   The members of the Mormon Collection Enterprise shared the common purpose(s) of

(among other things) collecting tithing from Plaintiffs and remitting all of that tithing to

Defendant COP without fully and fairly disclosing Smith’s treasure hunting, criminal and civil

fraud history, fraud convictions and participation in adulterous relationships; And/or,

512.   The members of the Mormon Collection Enterprise shared the common purpose(s) of

(among other things) collecting tithing from Plaintiffs and remitting all of that tithing collection

to Defendant COP without disclosing how that tithing would be used apart from disclosures

listed in ¶¶ 229-230, 233, 237-238, 244-245, 258, 260, 239, 273 & 283-284 above. And/or,

513.   COP engaged in a scheme or schemes to defraud Named Plaintiffs and other potential

class members by lying that no tithing was used to develop City Creek Mall

and by concealing the fact that tithing was used to bail our Beneficial Life Insurance company

and that tithing was used to invest, purchase, and even develop extensive commercial entities

across the U. S. and the world.

514.   The members of the Mormon Collection Enterprise are related in that they are all

involved in the collection and remittance of tithing, which acts are done while misrepresenting to

Plaintiffs material historical facts about LDS history, how its scripture was created and facts

about Smith’s criminal and civil fraud. And/or,

 515. The members of the Mormon Collection Enterprise are related in that they are all

 involved in the collection and remittance of tithing, which acts are done while misrepresenting




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 to Plaintiffs how tithing is used and/or without disclosure of the fact that tithing was and is used

 for investment and commercial development purposes.

 516. The Mormon Collection Enterprise possesses sufficient longevity for the members to

 carry out their purpose(s) in that the Mormon Collection Enterprise has existed (at a minimum)

 from the mid-twentieth century through the present.

 517. COP is a “person” within the meaning of 18 U.S.C.A. § 1961(3) & 1962(c), who

 conducted,0participated in, engaged in, and operated and managed the affairs of the Mormon

 Collection Enterprise through a pattern of racketeering activity within the meaning of 18

 U.S.C.§§1961(1), 1961(5) & 1962(c). This pattern of racketeering activity consisted of, but was

 not limited to, acts of mail and wire fraud as set forth in ¶¶140-290 above.

 518. At all relevant times, the corporate, educational and collection enterprises alleged in

 ¶¶ 492-517 above, were engaged in, and their activities affected, interstate commerce.

 519. All of the acts of racketeering described in paragraphs ¶¶291-301 above were related so

 as to establish a pattern of racketeering activity within the meaning of 18 U.S.C.§1962(c), in

 that their common result was to defraud Named Plaintiffs and potential class members of money

 and property; COP, through its employees, members, or agents, directly or indirectly,

 participated in the acts and employed the same or similar methods of commission; GADDY,

 SMALL and HARRIS and potential class members were the victims of the acts of racketeering;

 and/or the acts of racketeering were otherwise interrelated by distinguishing characteristics and

 were not isolated events.

 520. All of the acts of racketeering described in ¶¶ 291-301 above, were continuous so as to

 form a pattern of racketeering activity in that the COP engaged in the predicate acts over a


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 substantial period (at least from the Correlation Department’s creation in 1961 to the present) or

 in that the acts of racketeering are ongoing and threaten to continue indefinitely.

521.   As a direct and proximate result of, and by reason of, the activities of COP and its

 conduct in violation of 18 U.S.C.A. §1962(c), GADDY, SMALL and HARRIS and the other

 potential class members have been injured in their business or property, within the meaning of

 18 U.S.C.A. § 1964(c). Among other things, Plaintiffs and other potential class members

 suffered damages, i.e., damages to the extent they donated money, time and effort to the LDS

 Church in reliance upon Defendant’s affirmative misrepresentations concerning (among other

 things) the literal translation of the Book of Mormon from gold plates without the use of the

 brown stone, that the Hebrew prophet Abraham is depicted in the Book of Abraham facsimiles,

 that Joseph Smith did not practice polygamy but was married to just Emma Hale Smith and/or

 the Brethren’s lack of a sincere religious belief in those affirmative misrepresentations.

 Plaintiffs were further damaged due to Defendant’s concealment /lack of disclosure of

 important items, documents, and information (See ¶404 Table of Concealed Items) that a

 reasonable person would think material in deciding whether to commit to the COJCOLDS.

 And/or,

 522. As a direct and proximate result of, and by reason of the activities of COP and its conduct

 in violation of 18 U.S.C.A. §1962(c), GADDY, SMALL and HARRIS and the other potential

 class members have been injured in their business or property, within the meaning of 18

 U.S.C.A. § 1964(c). Among other things, Named Plaintiffs and other potential class members

 suffered damages, i.e., damages to the extent they donated money, time, and effort to the LDS

 Church in reliance upon Defendant COP’s misrepresentations concerning (among other things)


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 characterizing Smith as a victim of the legal system and failing to disclose his criminal history

 and civil fraud history, including his extensive adultery. COP engaged in this scheme while

 simultaneously urging members to trust the Brethren and COP leader-agents, and while

 teaching the principles of honesty, including full disclosure, and free agency. And/or,

523.   As a direct and proximate result of, and by reason of, the activities of COP and its

conduct in violation of 18 U.S.C.A. §1962(c), GADDY, SMALL and HARRIS and potential

Class members have been injured in their business or property, within the meaning of 18

U.S.C.A. § 1964(c). Among other things, GADDY, SMALL and HARRIS and other potential

class members suffered damages, i.e., damages to the extent they donated money, time, and

effort to the LDS Church in reliance upon Defendant COP’s misrepresentations concerning

(among other things) affirmative misrepresentations claiming that no tithing was used for City

Creek Mall, its omissions about tithing used to bailout Beneficial Life Insurance and for the use

of a substantial portion of tithing as investment in, purchase and development of numerous

commercial entities throughout the United States and the world.

524.   GADDY, SMALL and HARRIS and other class members are, therefore, entitled to

recover threefold damages which they sustained together with the cost of the suit, reasonable

attorneys’ fees, and reasonable experts’ fees.

525.   To the extent this complaint seeks damages for personal injuries and emotional distress,

such damages are not sought pursuant to this cause of action. Damages sought pursuant to this

count are limited to injuries to Named Plaintiffs and the other potential class members’ business

or property.




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526.   GADDY, SMALL and HARRIS and other potential Class members suffered, continue to

suffer, and will suffer substantial damage to their property by reason of COP’s acts of

racketeering.

527.   At all relevant times, the corporate, educational and collection enterprises alleged in

¶¶393-517 above, were engaged in, and their activities affected, interstate commerce.

528.   All of the acts of racketeering described in paragraphs ¶¶291-301, above were related so

as to establish a pattern of racketeering activity within the meaning of 18 U.S.C.§1962(c), in that

their common result was to defraud Named Plaintiffs and potential class members of money and

property; COP, through its employees, members, or agents, directly or indirectly, participated in

the acts and employed the same or similar methods of commission; GADDY, SMALL and

HARRIS and potential class members were the victims of the acts of racketeering; and/or the

acts of racketeering were otherwise interrelated by distinguishing characteristics and were not

isolated events.

529.   All of the acts of racketeering described in ¶¶291-301 above, were continuous so as to

form a pattern of racketeering activity in that the COP engaged in the predicate acts over a

substantial period (at least from the creation of Correlation in 1961 to the present) or in that the

acts of racketeering are ongoing and threaten to continue indefinitely.

530.   As a direct and proximate result of, and by reason of, the activities of COP and its

conduct in violation of 18 U.S.C.A. §1962(c), GADDY, SMALL and HARRIS and other

potential Class members have been injured in their business or property, within the meaning of

18 U.S.C.A. § 1964(c). Among other things, Named Plaintiffs and potential class members

suffered damages, i.e., damages to the extent they donated money, time, and effort to the LDS


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Church in reliance upon Defendant COP’s affirmative misrepresentations concerning (among

other things) that Smith translated the Book of Mormon directly from gold plates, that Smith was

married to one wife Emma Hale, that the Book of Abraham Facsimiles depict the Hebrew

Prophet Abraham, and that the Brethren believed all of the above as well as the correlated

narrative about the First Vision about full and fair disclosure of Smith’s 1832 handwritten

account that differs in key respects from that version. And/or,

531.   As a direct and proximate result of, and by reason of, the activities of COP and its

conduct in violation of 18 U.S.C.A. §1962(c), GADDY, SMALL and HARRIS and other

potential Class members have been injured in their business or property, within the meaning of

18 U.S.C.A. § 1964(c). Among other things, Named Plaintiffs and potential class members

suffered damages, i.e., damages to the extent they donated money, time, and effort to the LDS

Church in reliance upon Defendant COP’s failure to disclose (among other things) Smith’s

criminal and civil fraud history including his extensive secret adultery. And/or,

532.   As a direct and proximate result of, and by reason of, the activities of COP and its

conduct in violation of 18 U.S.C.A. §1962(c), GADDY, SMALL and HARRIS and other

potential Class members have been injured in their business or property, within the meaning of

18 U.S.C.A. § 1964(c). Among other things, Named Plaintiffs and potential class members

suffered damages, i.e., damages to the extent they donated money, time, and effort to the LDS

Church in reliance upon Defendant COP’s affirmative misrepresentations claiming that no

tithing was used for City Creek Mall, its omissions about commercial use of a substantial portion

of tithing to bailout Beneficial Life Insurance and for the investment in, purchase and

development of numerous commercial entities throughout the United States and the world.


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533.   GADDY, SMALL and HARRIS and potential class members are, therefore, entitled to

recover threefold damages which they sustained together with the cost of the suit, reasonable

attorneys’ fees, and reasonable experts’ fees.

534.   To the extent this complaint seeks damages for personal injuries and emotional distress,

such damages are not sought pursuant to this cause of action. Damages sought pursuant to this

count are limited to injuries to named Plaintiffs and the other class members’ business or

property.

535.   GADDY, SMALL and HARRIS and potential Class members suffered, continue to

suffer, and will suffer substantial damage to their property by reason of COP’s acts of

racketeering.

SEVENTH CAUSE OF ACTION: INTENTIONAL (RECKLESS) INFLICTION OF

EMOTIONAL DISTRESS

536.   GADDY, SMALL and HARRIS realleges and incorporates by reference her allegations

in paragraphs 1-535 above as though fully set forth herein.

537.   COP’s above-described conduct consisting of knowingly and repeatedly misrepresenting

key Mormon/LDS history, and the character of its founder, Smith, offends generally accepted

standards of decency and morality. Hiding Smith’s seer stone that was used to create the Book of

Mormon for over a century, and instead widely promulgating a distorted and ostensibly more

reasonable method of scriptural creation as one where Smith translated (in the ordinary sense of

the word), directly from ancient gold plates, teaching lay members a version of its history

through a tightly correlated narrative which its leaders do not sincerely believe, while omitting

and concealing or suppressing material stones, artifacts, original manuscripts, documents


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affidavits and information which were known to its leaders, continues to be so extreme as to

exceed all bounds of what is usually tolerated in a civilized community, and in this particular

case, especially by a religious organization that preaches attributes of honesty, including full

disclosure and the doctrine of “free agency,” and denies that it practices and or has a religious

belief in “Lying for the Lord.” (¶228, above.)

538.    COP’s misrepresentation of LDS history, Smith’s character, and concealment of stones,

artifacts, original manuscripts, documents, and information material to that history, all the while

not believing what they taught, was and is more than merely unreasonable, unkind, or unfair. It is

the height of hypocrisy and abuse, encompassing not only a pious, but an ongoing, pervasive

secular fraud which has damaged GADDY, SMALL, and HARRIS and potential class Plaintiffs

at an existential level.

539.    But for Defendant’s misrepresentations as to all but its tithing use, Plaintiffs would not

have committed to the COJCOLDS, nor paid tithing. COP’s misrepresentations re tithing use

was a substantial factor in bringing about Plaintiffs’ injuries. Damages for both types of

misrepresentations are of a type that a reasonable person would see as a likely result of his or her

conduct, including cognitive dissonance leading to depression and other emotional distress.

540.    The significant injuries to Plaintiffs who only discovered the misrepresentations after a

lifetime of service to the LDS Church have been documented in the aforementioned LDSPFCR.

541.    As of at least the date the LDSPFCR was published, COP had actual and comprehensive

knowledge of the devastating effect of its fraudulent conduct. COP made some limited effort to

address the inaccuracies of the long-standing traditional narrative through the serial publication

of its essays. However, the failure to announce the publication of those essays to the general


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membership, and indeed the concealing of their very existence as well as the content of the

essays due to a desire to ‘inoculate’ true believers, along with the continuation to spin the

foundational facts amidst quasi-corrective admissions with limited distribution, is so extreme as

to offend the very standards of decency and morality with which COP pretends to comply. That

is, which moral principles, in particular honest and free agency, it instructs its lay members to

practice. This is particularly true considering the continued promises that the GAs, the Brethren,

and the prophet will never lead members astray and, an instruction by Apostle Ballard in an

address at the Salt Lake Tabernacle to CES religious educators and missionaries, S & I

personnel, and stake-called seminary and institute teachers, broadcast on Feb. 26, 2016, to teach

students to avoid the internet as a source for Mormon research. 110

542.   Said infliction of emotional distress is continuing and ongoing since there are close

family and friends of Plaintiffs GADDY, SMALL and HARRIS, and upon information and

belief, friends and families of each potential class member who believe that Plaintiffs and

potential class members are evil, of the devil, spew Anti-Mormon lies, etc., due to their

questioning and/or disagreement with COP’s longstanding narrative divorced from the contents

of its archives. This schism among members and former members has led to a myriad of

emotional stressors, as listed above and as more fully documented in the LDSPFCR.




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   Apostle Russell M. Ballard, Address to the Church Educational System (CES) religious
\educators and missionaries, S & I personnel, and stake-called seminary and institute teachers,
broadcast on Feb. 26, 2016. https://www.churchofjesuschrist.org/broadcasts/article/evening-
with-a-general-authority/2016/02/the-opportunities-and-responsibilities-of-ces-teachers-in-the-
21st-century?lang=eng (Last accessed Feb. 23, 20212.)


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543.   Said damage will continue until and unless the Brethren, including the President of the

Church, make unequivocal statements owning their prior intentional and/or reckless

misrepresentations, and fully acknowledge their longstanding scheme to Named Plaintiffs,

potential members of the class, and all LDS members and former members. Only then will the

significant damage to the mental and emotional health of Plaintiffs, former and questioning

members, and to their relationships, both familial and collegial, begin to heal.

 PRAYER FOR RELIEF

544.   WHEREFORE, Plaintiffs GADDY, SMALL and HARRIS, individually and on behalf of

the potential class, pray for the following judgment:

545.   An order certifying the Class as defined above, appointing Plaintiffs LAURA A.

GADDY, LYLE D. SMALL and LEANNE R. HARRIS, Class representatives should that class

be certified, and appointing their attorney, Kay Burningham, as Class Counsel; and

546.   An award of special damages in the actual out-of-pocket monetary loss from such

violations in the sum of the amount that Plaintiffs and each class member has paid in tithing,

donations to the Church except for fast offering donations, tuition at LDS colleges and/or

universities, mission expense paid individually and for their children or others, and the value of

lost opportunities over the course of their affiliation with the LDS Church; and,

547.   An award of special damages for the time each class member spent on his or her mission

and MTC at the U.S. minimum wage rate during//9 the time of that service, for at least 75 hours

per week; and,

548.   An award of reasonable attorneys’ fees and non-taxable costs tobe paid out of the

common fund prayed for above; and,


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549.    Attorneys’ fees and litigation expenses as items of special damages; and,

550.    As to the RICO claim: Treble damages pursuant to 18 U.S.C.A. §1964(c); and Attorney

fees and costs pursuant to 18 U.S.C.A. §1964 (c);

551.    General damages, including damages for emotional distress, for causes of action other

than under RICO; and

552.    Punitive damages for common law and statutory fraud-based claims except RICO; and

553.    For prejudgment interest on all damages fixed as of a particular time and [that] can be

calculated with mathematical accuracy, which includes tithing, donations to Defendant or its

subsidiaries other than local fast offerings, hours spent in missionary service including the MTC,

out-of-pocket expenses for counseling due to their faith crisis or impending divorce caused largely

by one spouse’s faith crisis, and lost opportunity costs in accordance with Utah or other law: and,

554.    For post judgment interest at the judicial rate; and,

   555. For such other and further relief that the Court may deem reasonable and proper.

JURY DEMAND

Plaintiffs GADDY, SMALL and HARRIS, individually and on behalf of the prospective class,

request a trial by jury of all claims that can be so tried.

                                                               Respectfully Submitted,

          Dated: the 22nd day of October, 2021                by: /s/ Kay Burningham
                                                               Kay Burningham

                                                              Attorney for Laura A. Gaddy, Lyle D. Small
                                                              and Leanne R. Harris




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